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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                     )
      In re:                                                         )   Chapter 11
                                                                     )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            )   Case No. 19-34054-sgj11
                                                                     )
                                         Debtor.                     )
                                                                     )

               DISCLOSURE STATEMENT FOR THE FIFTH AMENDED PLAN OF
               REORGANIZATION OF HIGHLAND CAPITAL MANAGEMENT, L.P.

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                               Counsel for the Debtor and Debtor-in-Possession




                                                                                                Dondero Ex. 4
      1
        The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
      address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in
  the above-captioned cases (the “Debtor”), is sending you this document and the accompanying
  materials (the “Disclosure Statement”) because you are a creditor or interest holder in connection
  with the Fifth Amended Chapter 11 Plan of Reorganization of Highland Capital Management,
  L.P., dated November 24, 2020, as the same may be amended from time to time (the “Plan”).2
  The Debtor has filed a voluntary petition under chapter 11 of title 11 of the United States Code,
  as amended (the “Bankruptcy Code”).

         This Disclosure Statement has not yet been approved by the Bankruptcy Court as
  containing adequate information within the meaning of section 1125(a) of the Bankruptcy Code.
  The Debtor intends to seek an order or orders of the Bankruptcy Court (a) approving this
  Disclosure Statement as containing adequate information and (b) confirming the Plan.

           A copy of the Plan is attached hereto as Exhibit A.

         The Debtor believes that the Plan is fair and equitable, will maximize the value of the
  Debtor’s Estate, and is in the best interests of the Debtor and its constituents. Notably, the Plan
  provides for the transfer of the majority of the Debtor’s Assets to a Claimant Trust. The balance
  of the Debtor’s Assets, including the management of the Managed Funds, will remain with the
  Reorganized Debtor. The Reorganized Debtor will be managed by New GP LLC – a wholly-
  owned subsidiary of the Claimant Trust. This structure will allow for continuity in the Managed
  Funds and an orderly and efficient monetization of the Debtor’s Assets.

          The Claimant Trust, the Litigation Trust, or the Reorganized Debtor, as applicable, will
  institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
  Causes of Action without any further order of the Bankruptcy Court, and the Claimant Trust and
  Reorganized Debtor, as applicable, will sell, liquidate, or otherwise monetize all Claimant Trust
  Assets and Reorganized Debtor Assets and resolve all Claims, except as otherwise provided in
  the Plan, the Claimant Trust Agreement, or the Reorganized Limited Partnership Agreement.

                          IMPORTANT INFORMATION ABOUT THIS
                        DISCLOSURE STATEMENT FOR YOU TO READ
         The Debtor is providing the information in this Disclosure Statement to Holders of
  Claims and Equity Interests in connection with the Debtor’s Plan. Nothing in this
  Disclosure Statement may be relied upon or used by any Entity for any purpose other than
  with respect to confirmation of the Plan. The information contained in this Disclosure
  Statement is included for purposes of soliciting acceptances to, and confirmation of, the
  Plan and may not be relied on for any other purpose.

        This Disclosure Statement has not been filed for approval with the Securities and
  Exchange Commission (“SEC”) or any state authority and neither the SEC nor any state
  authority has passed upon the accuracy or adequacy of this Disclosure Statement or upon

  2
    All capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Plan. To the
  extent that a definition of a term in the text of this Disclosure Statement and the definition of such term in the Plan
  are inconsistent, the definition included in the Plan shall control and govern.


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  the merits of the Plan. Any representation to the contrary is a criminal offense. This
  Disclosure Statement does not constitute an offer to sell or the solicitation of an offer to buy
  securities in any state or jurisdiction.

         This Disclosure Statement contains “forward-looking statements” within the
  meaning of the Private Securities Litigation Reform Act of 1995. Such statements consist
  of any statement other than a recitation of historical fact and can be identified by the use of
  forward-looking terminology such as “may,” “expect,” “anticipate,” “estimate” or
  “continue” or the negative thereof or other variations thereon or comparable terminology.
  The Debtor considers all statements regarding anticipated or future matters to be forward-
  looking statements. Forward-looking statements may include statements about:

            the effects of insolvency proceedings on the Debtor’s business and relationships
             with its creditors;

            business strategy;

            financial condition, revenues, cash flows, and expenses;

            financial strategy, budget, projections, and operating results;

            variation from projected operating and financial data;

            substantial capital requirements;

            availability and terms of capital;

            plans, objectives, and expectations;

            the adequacy of the Debtor’s capital resources and liquidity; and

            the Claimant Trust’s or the Reorganized Debtor’s ability to satisfy future cash
             obligations.

         Statements concerning these and other matters are not guarantees of the Claimant
  Trust’s or Reorganized Debtor’s future performance. There are risks, uncertainties, and
  other important factors that could cause the Claimant Trust’s or Reorganized Debtor’s
  actual performance or achievements to be different from those that may be projected. The
  reader is cautioned that all forward-looking statements are necessarily speculative and
  there are certain risks and uncertainties that could cause actual events or results to differ
  materially from those referred to in such forward-looking statements. Therefore, any
  analyses, estimates, or recovery projections may or may not turn out to be accurate.

         This Disclosure Statement has been prepared pursuant to section 1125 of the
  Bankruptcy Code and Bankruptcy Rule 3016 and is not necessarily in accordance with
  federal or state securities laws or other similar laws.



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         No legal or tax advice is provided to you by this Disclosure Statement. The Debtor
  urges each Holder of a Claim or an Equity Interest to consult with its own advisers with
  respect to any legal, financial, securities, tax or business advice in reviewing this Disclosure
  Statement, the Plan and each of the proposed transactions contemplated thereby. Further,
  the Bankruptcy Court’s approval of the adequacy of disclosures contained in this
  Disclosure Statement does not constitute the Bankruptcy Court’s approval of the merits of
  the Plan or a guarantee by the Bankruptcy Court of the accuracy or completeness of the
  information contained herein.

         Pachulski Stang Ziehl & Jones LLP (“PSZ&J”) is general insolvency counsel to the
  Debtor. Development Specialists, Inc. (“DSI”) is the Debtor’s financial advisor. PSZ&J,
  DSI, and the Independent Board (as defined below) have relied upon information provided
  by the Debtor in connection with preparation of this Disclosure Statement. PSZ&J has not
  independently verified the information contained herein.

         This Disclosure Statement contains, among other things, summaries of the Plan, the
  management of the Reorganized Debtor, the Claimant Trust, certain statutory provisions,
  certain events in the Debtor’s Chapter 11 Case, and certain documents related to the Plan
  that are attached hereto and incorporated herein by reference or that may be filed later
  with the Plan Supplement. Although the Debtor believes that these summaries are fair and
  accurate, these summaries are qualified in their entirety to the extent that the summaries
  do not set forth the entire text of such documents or statutory provisions or every detail of
  such events. In the event of any conflict, inconsistency or discrepancy between a
  description in this Disclosure Statement and the terms and provisions of the Plan or any
  other documents incorporated herein by reference, the Plan or such other documents will
  govern and control for all purposes. Except where otherwise specifically noted, factual
  information contained in this Disclosure Statement has been provided by the Debtor’s
  management. The Debtor does not represent or warrant that the information contained
  herein or attached hereto is without any material inaccuracy or omission.

          In preparing this Disclosure Statement, the Debtor relied on financial data derived
  from the Debtor’s books and records and on various assumptions regarding the Debtor’s
  business. The Debtor’s management has reviewed the financial information provided in
  this Disclosure Statement. Although the Debtor has used its reasonable business judgment
  to ensure the accuracy of this financial information, the financial information contained in,
  or incorporated by reference into, this Disclosure Statement has not been audited (unless
  otherwise expressly provided herein) and no representations or warranties are made as to
  the accuracy of the financial information contained herein or assumptions regarding the
  Debtor’s business and its, the Reorganized Debtor’s, and the Claimant Trust’s future
  results. The Debtor expressly cautions readers not to place undue reliance on any forward-
  looking statements contained herein.

         This Disclosure Statement does not constitute, and may not be construed as, an
  admission of fact, liability, stipulation or waiver. Rather, this Disclosure Statement shall
  constitute a statement made in settlement negotiations related to potential contested
  matters, potential adversary proceedings and other pending or threatened litigation or
  actions.

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         No reliance should be placed on the fact that a particular litigation claim or
  projected objection to a particular Claim or Equity Interest is, or is not, identified in the
  Disclosure Statement. Except as provided under the Plan, the Debtor, the Reorganized
  Debtor, or the Claimant Trust, as applicable, may seek to investigate, file and prosecute
  Claims and Causes of Action and may object to Claims or Equity Interests after the
  Confirmation Date or Effective Date of the Plan irrespective of whether the Disclosure
  Statement identifies any such Claims or Equity Interests or objections to Claims or Equity
  Interests on the terms specified in the Plan.

          The Debtor is generally making the statements and providing the financial
  information contained in this Disclosure Statement as of the date hereof where feasible,
  unless otherwise specifically noted. Although the Debtor may subsequently update the
  information in this Disclosure Statement, the Debtor has no affirmative duty to do so.
  Holders of Claims and Equity Interests reviewing this Disclosure Statement should not
  infer that, at the time of their review, the facts set forth herein have not changed since the
  Disclosure Statement was sent. Information contained herein is subject to completion,
  modification, or amendment. The Debtor reserves the right to file an amended or modified
  Plan and related Disclosure Statement from time to time.

        The Debtor has not authorized any Entity to give any information about or
  concerning the Plan other than that which is contained in this Disclosure Statement. The
  Debtor has not authorized any representations concerning the Debtor or the value of its
  property other than as set forth in this Disclosure Statement.

         Holders of Claims or Equity Interests must rely on their own evaluation of the
  Debtor and their own analyses of the terms of the Plan in considering the Plan.
  Importantly, each Holder of a Claim should review the Plan in its entirety and consider
  carefully all of the information in this Disclosure Statement and any exhibits hereto,
  including the risk factors described in greater detail in ARTICLE IV herein, “Risk
  Factors.”

         If the Plan is confirmed by the Bankruptcy Court and the Effective Date occurs, all
  Holders of Claims against, and Holders of Equity Interests in, the Debtor will be bound by
  the terms of the Plan and the transactions contemplated thereby.

         The effectiveness of the Plan is subject to certain material conditions precedent
  described herein and set forth in Article IX of the Plan. There is no assurance that the
  Plan will be confirmed, or if confirmed, that the conditions required to be satisfied for the
  Plan to become effective will be satisfied (or waived).




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                                         EXHIBITS

  EXHIBIT A – Plan of Reorganization

  EXHIBIT B – Organizational Chart of the Debtor

  EXHIBIT C – Liquidation Analysis/Financial Projections

         THE DEBTOR HEREBY ADOPTS AND INCORPORATES EACH EXHIBIT
      ATTACHED TO THIS DISCLOSURE STATEMENT BY REFERENCE AS THOUGH
                          FULLY SET FORTH HEREIN.




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                                           ARTICLE I.
                                        EXECUTIVE SUMMARY

         This Disclosure Statement is provided for informational purposes only.

         In the opinion of the Debtor, the Plan is preferable to the alternatives described in
  this Disclosure Statement because it provides for the highest distributions to the Debtor’s
  creditors and interest holders. The Debtor believes that any delay in confirmation of the
  Plan would result in significant administrative expenses resulting in less value available to
  the Debtor’s constituents. In addition, any alternative other than confirmation of the Plan
  could result in extensive delays and increased administrative expenses resulting in smaller
  distributions to Holders of Allowed Claims and Equity Interests than that which is
  proposed under the Plan. Accordingly, the Debtor recommends that all Holders of Claims
  and Equity Interests support confirmation of the Plan.

          This Executive Summary is being provided to Holders of Allowed Claims and Equity
  Interests as an overview of the material items addressed in the Disclosure Statement and the
  Plan, which is qualified by reference to the entire Disclosure Statement and by the actual terms
  of the Plan (including all exhibits attached hereto and to the Plan and the Plan Supplement), and
  should not be relied upon for a comprehensive discussion of the Disclosure Statement and/or the
  Plan. Section 1125 of the Bankruptcy Code requires a debtor to prepare a disclosure statement
  containing information of a kind, and in sufficient detail, to enable a hypothetical reasonable
  investor to make an informed judgment regarding acceptance or rejection of the plan of
  reorganization or liquidation. As such, this Disclosure Statement is being submitted in
  accordance with the requirements of section 1125 of the Bankruptcy Code. This Disclosure
  Statement includes, without limitation, information about:

                the Debtor’s operating and financial history;

                the significant events that have occurred to date;

                the Confirmation process; and

                the terms and provisions of the Plan, including key aspects of the Claimant Trust
                 and the Reorganized Debtor, certain effects of Confirmation of the Plan, certain
                 risk factors relating to the Plan, and the manner in which distributions will be
                 made under the Plan.

          The Debtor believes that any alternative to Confirmation of the Plan would result in
  significant delays, litigation, and additional costs, and ultimately would diminish the Debtor’s
  value. Accordingly, the Debtor strongly supports confirmation of the Plan.

  A.     Summary of the Plan

         The Plan represents a significant achievement for the Debtor. As discussed herein, the
  Plan provides that the Claimant Trust will receive the majority of the Debtor’s assets, including
  Causes of Action. The assets being transferred to the Claimant Trust are referred to, collectively,
  as the Claimant Trust Assets. The Claimant Trust will – for the benefit of the Claimant Trust
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  Beneficiaries – monetize the Claimant Trust Assets, pursue the Causes of Action, and work to
  conclude the various lawsuits and litigation claims pending against the Estate.

          The Plan also provides for the reorganization of the Debtor. This will be accomplished
  by the cancellation of the Debtor’s current Equity Interests, which consist of partnership interests
  held by: The Dugaboy Investment Trust;3 the Hunter Mountain Investment Trust (“Hunter
  Mountain”); Mark Okada, personally and through family trusts; and Strand, the Debtor’s general
  partner. On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
  new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
  New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
  the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
  The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
  of the Reorganized Debtor. The Reorganized Debtor will be managed by the Claimant Trust, as
  the managing member of New GP LLC.

         The Reorganized Debtor will oversee the monetization of the Reorganized Debtor Assets,
  which consist of, among other Assets, the management of the Managed Funds. The net proceeds
  from the Reorganized Debtor Assets will ultimately be distributed to the Claimant Trust and
  available for distribution to the Claimant Trust Beneficiaries.

             The following is an overview of certain other material terms of the Plan:

                     Allowed Priority Non-Tax Claims will be paid in full;

                     Allowed Retained Employee Claims will be Reinstated;

                     Allowed Convenience Claims will receive the lesser of (i) 85% of their Allowed
                      Claim or (ii) such Holder’s Pro Rata share of the Convenience Claims Cash Pool
                      (i.e., $13,150,000). Holders of Convenience Claims can elect the treatment
                      provided to General Unsecured Claims by making the GUC Election on their
                      Ballots;

                     Allowed General Unsecured Claims and Allowed Subordinated Claims will
                      receive their Pro Rata share of Claimant Trust Interests. The Claimant Trust
                      Interests distributed to Allowed General Unsecured Claims will be senior to those
                      distributed to Allowed Subordinated Claims as set forth in the Claimant Trust
                      Agreement. Holders of General Unsecured Claims that are liquidated as of the
                      Confirmation Date can elect the treatment provided to Convenience Class
                      Election by reducing their Claims to $1,000,000 and making the Convenience
                      Class Election on their Ballots; and

                     Allowed Class B/C Limited Partnership Interests and Allowed Class A Limited
                      Partnership Interests will receive their Pro Rata share of the Contingent Claimant
                      Trust Interests.

  3
      The Dugaboy Investment Trust is a Delaware trust created to manage the assets of James Dondero and his family.


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  B.     An Overview of the Chapter 11 Process

           Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code.
  Pursuant to chapter 11 of the Bankruptcy Code, a debtor may remain in possession of its assets
  and business and attempt to reorganize its business for the benefit of such debtor, its creditors,
  and other parties in interest. A plan of reorganization sets forth the means for satisfying claims
  against and interests in a debtor. Confirmation of a plan of reorganization by a bankruptcy court
  makes the plan binding upon the debtor and any creditor of or interest holder in the debtor,
  whether or not such creditor or interest holder (i) is impaired under or has accepted the plan or
  (ii) receives or retains any property under the plan.

          The commencement of a Chapter 11 case creates an estate comprised of all of the legal
  and equitable interests of a debtor in property as of the date that the bankruptcy petition is filed.
  Sections 1107 and 1108 of the Bankruptcy Code provide that a debtor may continue to operate
  its business and remain in possession of its property as a “debtor-in-possession,” unless the
  bankruptcy court orders the appointment of a trustee. The filing of a bankruptcy petition also
  triggers the automatic stay provisions of section 362 of the Bankruptcy Code which provide,
  among other things, for an automatic stay of all attempts to collect prepetition claims from a
  debtor or otherwise interfere with its property or business. Except as otherwise ordered by the
  bankruptcy court, the automatic stay generally remains in full force and effect until the
  consummation of a plan of reorganization or liquidation, following confirmation of such plan of
  reorganization.

          The Bankruptcy Code provides that upon commencement of a chapter 11 bankruptcy
  case, the Office of the United States Trustee may appoint a committee of unsecured creditors and
  may, in its discretion, appoint additional committees of creditors or of equity interest holders if
  necessary to assure adequate representation. Please see ARTICLE II for a discussion of the U.S.
  Trustee and the statutory committees.

          Upon the commencement of a chapter 11 bankruptcy case, all creditors and equity
  interest holders generally have standing to be heard on any issue in the chapter 11 proceedings
  pursuant to section 1109(b) of the Bankruptcy Code.

         The formulation and confirmation of a plan is the principal objective of a chapter 11 case.
  The plan sets forth the means of satisfying the claims against and equity interests in the debtor.

  C.     Purpose and Effect of the Plan

         1.      The Plan of Reorganization

          The Debtor is reorganizing pursuant to chapter 11 of the Bankruptcy Code. As a result,
  the Confirmation of the Plan means that the Debtor’s business will continue to operate following
  confirmation of the Plan through the Claimant Trust and the Reorganized Debtor to monetize
  assets for distribution to Holders of Allowed Claims. The Claimant Trust will hold the Claimant
  Trust Assets and manage the efficient monetization of, the Claimant Trust Assets. The Claimant
  Trust will also manage the Reorganized Debtor through the Claimant Trust’s ownership of the
  Reorganized Debtor’s general partner, New GP LLC. The Claimant Trust will also be the sole
  limited partner in the Reorganized Debtor. The Reorganized Debtor will manage the wind down
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  of the Managed Funds as well as the monetization of the balance of the Reorganized Debtor
  Assets. The Claimant Trust will also establish a Litigation Sub-Trust in accordance with the
  Plan, which will also be for the benefit of the Claimant Trust Beneficiaries. The Litigation Sub-
  Trust will receive the Estate Claims. The Litigation Trustee shall be the exclusive trustee of the
  Estate Claims included in the Claimant Trust Assets subject to oversight by the Claimant Trust
  Oversight Committee

          A bankruptcy court’s confirmation of a plan binds the debtor, any entity acquiring
  property under the plan, any holder of a claim or an equity interest in a debtor and all other
  entities as may be ordered by the bankruptcy court in accordance with the applicable provisions
  of the Bankruptcy Code to the terms and conditions of the confirmed plan, whether or not such
  Entity voted on the plan or affirmatively voted to reject the plan.

          2.       Plan Overview

          The Plan provides for the classification and treatment of Claims against and Equity
  Interests in the Debtor. For classification and treatment of Claims and Equity Interests, the Plan
  designates Classes of Claims and Classes of Equity Interests. These Classes and Plan treatments
  take into account the differing nature and priority under the Bankruptcy Code of the various
  Claims and Equity Interests.

         The following chart briefly summarizes the classification and treatment of Claims and
  Equity Interests under the Plan.4 Amounts listed below are estimated.

         In accordance with section 1122 of the Bankruptcy Code, the Plan provides for eight
  Classes of Claims against and/or Equity Interests in the Debtor.

         The projected recoveries set forth in the table below are estimates only and
  therefore are subject to change. For a complete description of the Debtor’s classification
  and treatment of Claims or Equity Interests, reference should be made to the entire Plan
  and the risk factors described in ARTICLE IV below. For certain classes of Claims, the
  actual amount of Allowed Claims could be materially different than the estimated amounts
  shown in the table below.




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   This chart is only a summary of the classification and treatment of Claims and Equity Interests under the Plan.
  References should be made to the entire Disclosure Statement and the Plan for a complete description.


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                                                 Estimated
                      Type of Claim or        Prepetition Claim                    Entitled to        Estimated
     Class                 Interest              Amount [1]         Impaired         Vote             Recovery
       1         Jefferies Secured Claim            $0.00             No              No                100%
       2         Frontier Secured Claim[2]       $5,209,964           Yes             Yes               100%
       3         Other Secured Claims             $551,116            No              No                100%

       4         Priority Non-Tax Claim             $16,489             No             No                100%

       5         Retained Employee Claim               $0               No             No                100%

       6         PTO Claims [3]                   $1,181,886            No             No                100%

       7         Convenience Claims[4]            $12,064,333           Yes            Yes              85.00%

       8         General Unsecured               $180,442,199           Yes            Yes              85.31%
                 Claims[5]
       9         Subordinated Claims             Undetermined           Yes            Yes           Undetermined
       10        Class B/C Limited                   N/A                Yes            Yes           Undetermined
                 Partnership Interests
       11        Class A Limited                      N/A               Yes            Yes           Undetermined
                 Partnership Interests

   [1] Excludes Priority Tax Claims and certain other unclassified amounts totaling approximately $1.1 million owed
   to Joshua and Jennifer Terry and Acis under a settlement agreement.
   [2] Excludes interest accrued postpetition estimated at $318,000, which will be paid on the Effective Date. The
   Liquidation Analysis/Financial Projections provide for the payment of postpetition interest.
   [3] Represents outstanding PTO Claims as of September 30, 2020. PTO Claims are subject to adjustment
   depending on the amount of actual prepetition PTO Claims outstanding as of the Effective Date. PTO claims are
   accounted for in the Liquidation Analysis/Financial Projections as an administrative claim and will be paid out in
   ordinary courses pursuant to applicable state law.
   [4] Represents the estimated gross prepetition amount of Convenience Claims with a total payout amount
   estimated at 85% of $12.06 million, or $10.25 million. This number includes approximately $1.113 million of
   potential Rejection Claims and assumes that Holders of Allowed General Unsecured Claims that are each less
   than $2.50 million opt into the Convenience Class.
   [5] Assumes no recovery for UBS, the HarbourVest Entities, IFA, Hunter Mountain, and an Allowed Claim of
   only $3,722,019 for Mr. Daugherty (each as discussed further below). Assumes $1.440 million of potential
   rejection damage claims. The Liquidation Analysis/Financial Projections assume Highland RCP, LP and
   Highland RCP Offshore, LP offset their Claim of $4.4 million against amounts owed to the Debtor.
            3.      Voting on the Plan

          Under the Bankruptcy Code, acceptance of a plan by a Class of Claims or Equity
  Interests is determined by calculating the number and the amount of Claims voting to accept,
  based on the actual total Allowed Claims or Equity Interests voting on the Plan. Acceptance by a
  Class of Claims requires more than one-half of the number of total Allowed Claims in the Class
  to vote in favor of the Plan and at least two-thirds in dollar amount of the total Allowed Claims
  in the Class to vote in favor of the Plan. Acceptance by a Class of Equity Interests requires at
  least two-thirds in amount of the total Allowed Equity Interests in the Class to vote in favor of
  the Plan.


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          Under the Bankruptcy Code, only Classes of Claims or Equity Interests that are
  “Impaired” and that are not deemed as a matter of law to have rejected a plan under Section 1126
  of the Bankruptcy Code are entitled to vote to accept or reject the Plan. Any Class that is
  “Unimpaired” is not entitled to vote to accept or reject a plan and is conclusively presumed to
  have accepted the Plan. As set forth in Section 1124 of the Bankruptcy Code, a Class is
  “Impaired” if the legal, equitable, or contractual rights attaching to the claims or equity interests
  of that Class are modified or altered.

          Pursuant to the Plan, Claims and Equity Interests in Class 2 and Class 7 through Class 11
  are Impaired by the Plan, and only the Holders of Claims and Equity Interests in those Classes
  are entitled to vote to accept or reject the Plan. Whether a Holder of a Claim or Equity Interest
  in Class 2 and Class 7 through Class 11 may vote to accept or reject the Plan will also depend on
  whether the Holder held such Claim or Equity Interest as of November 23, 2020 (the “Voting
  Record Date”). The Voting Record Date and all of the Debtor’s solicitation and voting
  procedures shall apply to all of the Debtor’s Creditors and other parties in interest.

         Pursuant to the Plan, Claims in Class 1 and Class 3 through Class 6 are Unimpaired by
  the Plan, and such Holders are deemed to have accepted the Plan and are therefore not entitled to
  vote on the Plan.

         Pursuant to the Plan, there are no Classes that will not receive or retain any property and
  no Classes are deemed to reject the Plan.

         4.      Confirmation of the Plan

          (a)     Confirmation Generally

         “Confirmation” is the technical term for the Bankruptcy Court’s approval of a plan of
  reorganization or liquidation. The timing, standards and factors considered by the Bankruptcy
  Court in deciding whether to confirm a plan of reorganization are discussed below.

          The confirmation of a plan by the Bankruptcy Court binds the debtor, any issuer of
  securities under a plan, any person acquiring property under a plan, any creditor or equity
  interest holder of a debtor, and any other person or entity as may be ordered by the Bankruptcy
  Court in accordance with the applicable provisions of the Bankruptcy Code. Subject to certain
  limited exceptions, the order issued by the Bankruptcy Court confirming a plan discharges a
  debtor from any debt that arose before the confirmation of such plan and provides for the
  treatment of such debt in accordance with the terms of the confirmed plan.

          (b)     The Confirmation Hearing

          Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
  hold a hearing on Confirmation of the Plan. Section 1128(b) of the Bankruptcy Code provides
  that any party in interest may object to Confirmation of the Plan.

         The Debtor will provide notice of the Confirmation Hearing to all necessary parties. The
  Confirmation Hearing may be adjourned from time to time without further notice except for an


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  announcement of the adjourned date made at the Confirmation Hearing of any adjournment
  thereof.

         5.      Confirming and Effectuating the Plan

         It is a condition to the Effective Date of the Plan that the Bankruptcy Court shall have
  entered the Confirmation Order in form and substance reasonably acceptable to the Debtor and
  the Official Committee of Unsecured Creditors (the “Committee”). Certain other conditions
  contained in the Plan must be satisfied or waived pursuant to the provisions of the Plan.

         6.      Rules of Interpretation

          The following rules for interpretation and construction shall apply to this Disclosure
  Statement: (1) capitalized terms used in the Disclosure Statement and not otherwise defined
  shall have the meaning ascribed to such terms in the Plan; (2) unless otherwise specified, any
  reference in this Disclosure Statement to a contract, instrument, release, indenture, or other
  agreement or document shall be a reference to such document in the particular form or
  substantially on such terms and conditions described; (3) unless otherwise specified, any
  reference in this Disclosure Statement to an existing document, schedule, or exhibit, whether or
  not filed, shall mean such document, schedule, or exhibit, as it may have been or may be
  amended, modified, or supplemented; (4) any reference to an entity as a Holder of a Claim or
  Equity Interest includes that Entity’s successors and assigns; (5) unless otherwise specified, all
  references in this Disclosure Statement to Sections are references to Sections of this Disclosure
  Statement; (6) unless otherwise specified, all references in this Disclosure Statement to exhibits
  are references to exhibits in this Disclosure Statement; (7) unless otherwise set forth in this
  Disclosure Statement, the rules of construction set forth in section 102 of the Bankruptcy Code
  shall apply; and (8) any term used in capitalized form in this Disclosure Statement that is not
  otherwise defined in this Disclosure Statement or the Plan but that is used in the Bankruptcy
  Code or the Bankruptcy Rules shall have the meaning assigned to such term in the Bankruptcy
  Code or the Bankruptcy Rules, as applicable.

         7.      Distribution of Confirmation Hearing Notice and Solicitation Package to Holders
                 of Claims and Equity Interests

          As set forth above, Holders of Claims in Class 1 and Class 3 through Class 6 are not
  entitled to vote on the Plan. As a result, such parties will not receive solicitation packages or
  ballots but, instead, will receive this a notice of non-voting status, a notice of the Confirmation
  Hearing, and instructions on how to receive a copy of the Plan and Disclosure Statement.

          The Debtor, with the approval of the Bankruptcy Court, has engaged Kurtzman Carson
  Consultants LLC (the “Voting Agent”) to serve as the voting agent to process and tabulate
  Ballots for each Class entitled to vote on the Plan and to generally oversee the voting process.
  The following materials shall constitute the solicitation package (the “Solicitation Package”):

                This Disclosure Statement, including the Plan and all other Exhibits annexed
                 thereto;



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                The Bankruptcy Court order approving this Disclosure Statement (the “Disclosure
                 Statement Order”) (excluding exhibits);

                The notice of, among other things, (i) the date, time, and place of the hearing to
                 consider Confirmation of the Plan and related matters and (ii) the deadline for
                 filing objections to Confirmation of the Plan (the “Confirmation Hearing
                 Notice”);

                A single Ballot, to be used in voting to accept or to reject the Plan and applicable
                 instructions with respect thereto (the “Voting Instructions”);

                A pre-addressed, postage pre-paid return envelope; and

                Such other materials as the Bankruptcy Court may direct or approve.

         The Debtor, through the Voting Agent, will distribute the Solicitation Package in
  accordance with the Disclosure Statement Order. The Solicitation Package is also available at
  the Debtor’s restructuring website at www.kccllc.net/hcmlp.

         On November 13, 2020, the Debtor filed the Plan Supplement [D.I. 1389] that included,
  among other things, the form of Claimant Trust Agreement, the Litigation Sub-Trust Agreement,
  the Reorganized Limited Partnership Agreement, New GP LLC Documents, the New Frontier
  Note, the Senior Employee Stipulation, and the identity of the initial members of the Claimant
  Trust Oversight Committee. The Plan Supplement also includes a schedule of the Causes of
  Action that will be retained after the Effective Date. The Plan Supplement may be supplemented
  or amended through and including December 18, 2020. If the Plan Supplement is supplemented,
  such supplemented documents will be made available on the Debtor’s restructuring website at
  www.kccllc.net/hcmlp.

          If you are the Holder of a Claim or Equity Interest and believe that you are entitled to
  vote on the Plan, but you did not receive a Ballot or your Ballot is damaged or illegible, or if you
  have any questions concerning voting procedures, you should contact the Voting Agent by
  writing to Kurtzman Carson Consultants LLC, via email at HighlandInfo@kccllc.com and
  reference “Highland Capital Management, L.P.” in the subject line or by telephone at toll free:
  (877) 573-3984, or international: (310) 751-1829. If your Claim or Equity Interest is subject to a
  pending claim objection and you wish to vote on the Plan, you must file a motion pursuant to
  Bankruptcy Rule 3018 with the Bankruptcy Court for the temporary allowance of your Claim or
  Equity Interest for voting purposes or you will not be entitled to vote to accept or reject the Plan.
  Any such motion must be filed so that it is heard in sufficient time prior to the Voting Deadline
  to allow for your vote to be tabulated.

       THE DEBTOR, THE REORGANIZED DEBTOR, AND THE CLAIMANT
  TRUSTEE, AS APPLICABLE, RESERVE THE RIGHT THROUGH THE CLAIM
  OBJECTION PROCESS TO OBJECT TO OR SEEK TO DISALLOW ANY CLAIM OR
  EQUITY INTEREST FOR DISTRIBUTION PURPOSES.



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         8.      Instructions and Procedures for Voting

          All votes to accept or reject the Plan must be cast by using the Ballots enclosed with the
  Solicitation Packages or otherwise provided by the Debtor or the Voting Agent. No votes other
  than ones using such Ballots will be counted, except to the extent the Bankruptcy Court orders
  otherwise. The Bankruptcy Court has fixed November 23, 2020, as the Voting Record Date for
  the determination of the Holders of Claims and Equity Interests who are entitled to (a) receive a
  copy of this Disclosure Statement and all of the related materials and (b) vote to accept or reject
  the Plan. The Voting Record Date and all of the Debtor’s solicitation and voting procedures
  shall apply to all of the Debtor’s Creditors and other parties in interest.

          After carefully reviewing the Plan, this Disclosure Statement, and the detailed
  instructions accompanying your Ballot, you are asked to indicate your acceptance or rejection of
  the Plan by voting in favor of or against the Plan on the accompanying Ballot.

          The deadline to vote on the Plan is January 5, 2021 at 5:00 p.m. (prevailing Central
  Time) (the “Voting Deadline”). In order for your vote to be counted, your Ballot must be
  properly completed in accordance with the Voting Instructions on the Ballot, and received no
  later than the Voting Deadline at the following address, as applicable:

  If by first class mail, personal delivery, or overnight mail to:

                                 HCMLP Ballot Processing Center
                                              c/o KCC
                              222 N. Pacific Coast Highway, Suite 300
                                      El Segundo, CA 90245


  If by electronic voting:

          You may submit your Ballot via the Balloting Agent’s online portal. Please visit
  http://www.kccllc.net/hcmlp and click on the “Submit Electronic Ballot” section of the
  website and follow the instructions to submit your Ballot. IMPORTANT NOTE: You will
  need the Unique Electronic Ballot ID Number and the Unique Electronic Ballot PIN
  Number set forth on your customized ballot in order to vote via the Balloting Agent’s
  online portal. Each Electronic Ballot ID Number is to be used solely for voting on those
  Claims or Interests on your electronic ballot. You must complete and submit an electronic
  ballot for each Electronic Ballot ID Number you receive, as applicable. Parties who cast a
  Ballot using the Balloting Agent’s online portal should NOT also submit a paper Ballot.

          Only the Holders of Claims and Equity Interests in Class 2 and Class 7 through Class 11
  as of the Voting Record Date are entitled to vote to accept or reject the Plan, and they may do so
  by completing the appropriate Ballots and returning them in the envelope provided to the Voting
  Agent so as to be actually received by the Voting Agent by the Voting Deadline. Each Holder of
  a Claim and Equity Interest must vote its entire Claim or Equity Interest, as applicable, within a
  particular Class either to accept or reject the Plan and may not split such votes. If multiple
  Ballots are received from the same Holder with respect to the same Claim or Equity Interest prior
  to the Voting Deadline, the last timely received, properly executed Ballot will be deemed to
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  reflect that voter’s intent and will supersede and revoke any prior Ballot. The Ballots will clearly
  indicate the appropriate return address. It is important to follow the specific instructions
  provided on each Ballot.

       ALL BALLOTS ARE ACCOMPANIED BY VOTING INSTRUCTIONS. IT IS
  IMPORTANT THAT THE HOLDER OF A CLAIM OR EQUITY INTEREST IN THE
  CLASSES ENTITLED TO VOTE FOLLOW THE SPECIFIC INSTRUCTIONS
  PROVIDED WITH EACH BALLOT.

          If you have any questions about (a) the procedure for voting your Claim or Equity
  Interest, (b) the Solicitation Package that you have received, or (c) the amount of your Claim or
  Equity Interest, or if you wish to obtain an additional copy of the Plan, this Disclosure Statement,
  or any appendices or Exhibits to such documents, please contact the Voting Agent at the address
  specified above. Copies of the Plan, Disclosure Statement and other documents filed in these
  Chapter 11 Case may be obtained free of charge on the Voting Agent’s website at
  www.kccllc.net/hcmlp or by calling toll free at: (877) 573-3984, or international at: (310) 751-
  1829. You may also obtain copies of pleadings filed in the Debtor’s case for a fee via PACER at
  pacer.uscourts.gov. Subject to any rules or procedures that have or may be implemented by the
  Court as a result of the COVID 19 Pandemic, documents filed in this case may be examined
  between the hours of 8:00 a.m. and 4:00 p.m., prevailing Central Time, Monday through Friday,
  at the Office of the Clerk of the Bankruptcy Court, Earle Cabell Federal Building, 1100
  Commerce Street, Room 1254, Dallas, Texas 75242-1496.

         The Voting Agent will process and tabulate Ballots for the Classes entitled to vote to
  accept or reject the Plan and will file a voting report (the “Voting Report”) by January 11, 2021.
  The Voting Report will, among other things, describe every Ballot that does not conform to the
  Voting Instructions or that contains any form of irregularity, including, but not limited to, those
  Ballots that are late, illegible (in whole or in material part), unidentifiable, lacking signatures,
  lacking necessary information, or damaged.

       THE DEBTOR URGES HOLDERS OF CLAIMS AND EQUITY INTERESTS
  WHO ARE ENTITLED TO VOTE TO TIMELY RETURN THEIR BALLOTS AND TO
  VOTE TO ACCEPT THE PLAN BY THE VOTING DEADLINE.

         9.      The Confirmation Hearing

          The Bankruptcy Court has scheduled Confirmation Hearing Dates on January 13,
  2021, and January 14, 2021, at 9:30 a.m. prevailing Central time. The Confirmation Hearing
  may be continued from time to time by the Bankruptcy Court or the Debtor without further
  notice other than by such adjournment being announced in open court or by a notice of
  adjournment filed with the Bankruptcy Court and served on such parties as the Bankruptcy Court
  may order. Moreover, the Plan may be modified or amended, if necessary, pursuant to section
  1127 of the Bankruptcy Code, prior to, during or as a result of the Confirmation Hearing, without
  further notice to parties-in-interest.




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         10.     The Deadline for Objecting to Confirmation of the Plan

          The Bankruptcy Court has set a deadline of January 5, 2021, at 5:00 p.m. prevailing
  Central time, for the filing of objections to confirmation of the Plan (the “Confirmation
  Objection Deadline”). Any objection to confirmation of the Plan must: (i) be in writing; (ii)
  conform to the Bankruptcy Rules and the Local Rules; (iii) state the name of the objecting party
  and the amount and nature of the Claim of such Entity or the amount of Equity Interests held by
  such Entity; (iv) state with particularity the legal and factual bases and nature of any objection to
  the Plan and, if practicable, a proposed modification to the Plan that would resolve such
  objection; and (v) be filed, contemporaneously with a proof of service, with the Bankruptcy
  Court and served so that it is actually received no later than the Confirmation Objection
  Deadline by the parties set forth below (the “Notice Parties”).

       CONFIRMATION OBJECTIONS NOT TIMELY FILED AND SERVED IN THE
  MANNER SET FORTH HEREIN MAY NOT BE CONSIDERED BY THE
  BANKRUPTCY COURT AND MAY BE OVERRULED WITHOUT FURTHER
  NOTICE. INSTRUCTIONS WITH RESPECT TO THE CONFIRMATION HEARING
  AND DEADLINES WITH RESPECT TO CONFIRMATION WILL BE INCLUDED IN
  THE NOTICE OF CONFIRMATION HEARING APPROVED BY THE BANKRUPTCY
  COURT.

         11.     Notice Parties

                Debtor: Highland Capital Management, L.P., 300 Crescent Court, Suite 700,
                 Dallas, Texas 75201 (Attn: James P. Seery, Jr.);

                Counsel to the Debtor: Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica
                 Boulevard, 13th Floor, Los Angeles, California 90067-4003 (Attn: Jeffrey
                 Pomerantz, Esq.; Ira Kharasch, Esq., and Gregory Demo, Esq.);

                Counsel to the Committee: Sidley Austin, LLP, One South Dearborn, Chicago,
                 Illinois 60603 (Attn: Matthew Clemente, Esq., and Alyssa Russell, Esq.); and

                Office of the United States Trustee, 1100 Commerce Street, Room 976, Dallas,
                 Texas 75242 (Attn: Lisa Lambert, Esq.).

         12.     Effect of Confirmation of the Plan

          The Plan contains certain provisions relating to (a) the compromise and settlement of
  Claims and Equity Interests; (b) exculpation of certain parties; and (c) the release of claims
  against certain parties by the Debtor.

          The Plan shall bind all Holders of Claims against and Equity Interests in the Debtor
  to the maximum extent permitted by applicable law, notwithstanding whether or not such
  Holder (i) will receive or retain any property or interest in property under the Plan, (ii) has
  filed a proof of claim in the Chapter 11 Case, or (iii) did not vote to accept or reject the
  Plan.


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  D.     Effectiveness of the Plan

          It will be a condition to the Effective Date of the Plan that all provisions, terms and
  conditions of the Plan are approved in the Confirmation Order unless otherwise satisfied or
  waived pursuant to the provisions of Article IX of the Plan. Following confirmation, the Plan
  will go into effect on the Effective Date.

  E.     RISK FACTORS

        Each Holder of a Claim or an Equity Interest is urged to consider carefully all of the
  information in this Disclosure Statement, including the risk factors described in ARTICLE
  IV herein titled, “Risk Factors.”

                                 ARTICLE II.
                BACKGROUND TO THE CHAPTER 11 CASE AND SUMMARY OF
                       BANKRUPTCY PROCEEDINGS TO DATE

  A.     Description and History of the Debtor’s Business

         Prior to the Petition Date, the Debtor was a multibillion-dollar global alternative
  investment manager founded in 1993 by James Dondero and Mark Okada. A pioneer in the
  leveraged loan market, the firm evolved over twenty-five years, building on its credit expertise
  and value-based approach to expand into other asset classes.

           As of the Petition Date, the Debtor operated a diverse investment platform, serving both
  institutional and retail investors worldwide. In addition to high-yield credit, the Debtor’s
  investment capabilities include public equities, real estate, private equity and special situations,
  structured credit, and sector- and region-specific verticals built around specialized teams.
  Additionally, the Debtor provided shared services to its affiliated registered investment advisers.

  B.     The Debtor’s Corporate Structure

         The Debtor is headquartered in Dallas, Texas. The Debtor itself is a Delaware limited
  partnership and one of the principal operating arms of the Debtor’s business. As of the Petition
  Date, the Debtor employed approximately 76 people, including executive-level management
  employees, finance and legal staff, investment professionals, and back-office accounting and
  administrative personnel.

          Pursuant to various contractual arrangements, the Debtor, as of the Petition Date,
  provided money management and advisory services for approximately $2.5 billion of assets
  under management shared services for approximately $7.5 billion of assets managed by a variety
  of affiliated and unaffiliated entities, including other affiliated registered investment advisors.
  None of these affiliates filed for Chapter 11 protection. As of September 30, 2020, the Debtor
  provided money management and advisory services for approximately $1.641 billion of assets
  under management and shared services for approximately $7.136 billion of assets managed by a
  variety of affiliated and unaffiliated entities, including other affiliated registered investment
  advisors. Further, on the Petition Date, the value of the Debtor’s Assets was approximately


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  $566.5 million. As of September 30, 2020, the total value of Debtor’s Assets totaled
  approximately $328.3 million.

          The drop in the value of the Debtor’s Assets and assets under management was caused, in
  part, by the COVID-19 global pandemic. Specifically, the decline was the result of, among other
  things, the drop in value of the Debtor’s assets generally, the loss of value in the Prime Accounts
  discussed below, the professional and other costs associated with the Chapter 11 Case, and the
  reserve of approximately $59 million against a loan receivable listed as an asset.

                      Asset                             10/16/2019                           9/30/2020
       Investments (FV)[1]                             $232,620,000                         $109,479,000
       Investments (Equity)                            $161,819,000                         $101,213,000
       Cash/Cash Equivalents                            $2,529,000                           $5,888,000
       Management/Incentive          Fees               $2,579,000                           $3,350,000
       Receivable
       Fixed Assets, net                                $3,754,000                           $2,823,000
       Loan Receivables                                $151,901,000                        $93,445,000[2]
       Other Assets                                    $11,311,000                          $12,105,000
                                   Totals              $566,513,000                         $328,302,000
       [1] Includes decrease in value of assets, costs of Chapter 11 Cases, and assets sold to satisfy liabilities.
       [2] Net of reserve of $59 million.


          The Debtor’s organizational chart is attached hereto as Exhibit B. The organizational
  chart is not all inclusive and certain entities have been excluded for the sake of brevity.

  C.     Business Overview

          The Debtor’s primary means of generating revenue has historically been from fees
  collected for the management and advisory services provided to funds that it manages, plus fees
  generated for services provided to its affiliates. For additional liquidity, the Debtor, prior to the
  Petition Date, would sell liquid securities in the ordinary course held through its prime brokerage
  account at Jefferies, LLC (“Jefferies”), as described in additional detail below. The Debtor
  would also, from time to time, sell assets at non-Debtor subsidiaries and distribute those
  proceeds to the Debtor in the ordinary course of business. During calendar year 2018, the
  Debtor’s stand-alone annual revenue totaled approximately $50 million. During calendar year
  2019, the Debtor’s stand-alone revenue totaled approximately $36.1 million.

  D.     Prepetition Capital Structure

         1.       Jefferies Margin Borrowings (Secured)

        The Debtor is party to that certain Prime Brokerage Customer Agreement with Jefferies
  dated May 24, 2013 (the “Brokerage Agreement”). Pursuant to the terms of the Brokerage
  Agreement and related documents, the Debtor maintains a prime brokerage account with

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  Jefferies (the “Prime Account”). A prime brokerage account is a unique type of brokerage
  account that allows sophisticated investors to, among other things, borrow both money on
  margin to purchase securities and common stock to facilitate short positions. A prime brokerage
  account also serves as a custodial account and holds client securities in the prime broker’s street
  name.

          As of the Petition Date, the Debtor held approximately $57 million of equity in liquid and
  illiquid securities (the “Securities”) in the Prime Account. Pursuant to the Brokerage
  Agreement, the Debtor granted a lien in favor of Jefferies in the Securities and all of the proceeds
  thereof.

          However, because of the economic distress caused by the COVID-19 global pandemic,
  the value of the Securities held in the Prime Account dropped since the Petition Date, and
  Jefferies has exerted significant pressure on the Debtor to liquidate the Securities to satisfy
  margin calls. As of September 30, 2020, the equity value of the Securities in the Prime Account
  was approximately $23.3 million, and the Debtor owed no amounts to Jefferies. The Debtor has
  been actively selling Securities to cover operating expenses and professional fees.

         2.      The Frontier Bank Loan (Secured)

         The Debtor and Frontier State Bank (“Frontier Bank”) are parties to that certain Loan
  Agreement dated as of August 17, 2015 (the “Original Frontier Loan Agreement”), pursuant to
  which Frontier Bank loaned to the Debtor the aggregate principal amount of $9.5 million. On
  March 29, 2018, the Debtor and Frontier Bank entered into that certain First Amended and
  Restated Loan Agreement (the “Amended Frontier Loan Agreement”), amending and
  superseding the Original Frontier Loan Agreement. Pursuant to the Amended Frontier Loan
  Agreement, Frontier Bank made an additional $1 million loan to the Debtor (together with the
  borrowings under the Original Frontier Loan Agreement, the “Frontier Loan”). The Frontier
  Loan matures on August 17, 2021.

         Pursuant to that certain Security and Pledge Agreement dated August 17, 2015, between
  Frontier Bank and the Debtor, as amended by the Amended Frontier Loan Agreement, the
  Debtor’s obligations under the Frontier Loan are secured by 171,724 shares of voting common
  stock of MGM Holdings, Inc. (collectively, the “Frontier Collateral”).

         The aggregate principal balance of the Frontier Loan was approximately $5.2 million. As
  of September 30, 2020, the value of the Frontier Collateral was approximately $13.1 million, and
  approximately $318,000 in postpetition interest had accrued.

         3.      Other Unsecured Obligations

         As discussed below, the Plan provides for four Classes of unsecured claims: (i) PTO
  Claims, (ii) the Convenience Claims, (iii) the General Unsecured Claims, and (iv) the
  Subordinated Claims.

          The Debtor has various substantial litigation claims asserted against it, which have been
  classified as General Unsecured Claims. In addition, as of the Petition Date, the Debtor had
  ordinary course trade debt, unaccrued employee bonus obligations and loan repayment, and

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  contractual commitments to various affiliated and unaffiliated non-Debtor entities for capital
  calls, contributions, and other potential reimbursement or funding obligations that were
  potentially in the tens of millions of dollars. The Debtor is still assessing these claims and its
  liability for such amounts. These Claims have been classified as Convenience Claims and
  Subordinated Claims.

         4.      Equity Interests

          The Debtor is a Delaware limited partnership. As of the Petition Date, the Debtor had
  three classes of limited partnership interest (Class A, Class B, and Class C). The Class A
  interests were held by The Dugaboy Investment Trust, Mark Okada, personally and through
  family trusts, and Strand, the Debtor’s general partner. The Class B and C interests were held by
  Hunter Mountain.

         In the aggregate, the Debtor’s limited partnership interests were held: (a) 99.5% by
  Hunter Mountain; (b) 0.1866% by The Dugaboy Investment Trust, (c) 0.0627% by Mark Okada,
  personally and through family trusts, and (d) 0.25% by Strand.

  E.     SEC Filings

          The Debtor is an investment adviser registered with the SEC as required by the
  Investment Advisers Act of 1940. As a registered investment adviser, the Debtor is required to
  file (at least annually) a Form ADV. The Debtor’s current Form ADV is available at
  https://adviserinfo.sec.gov/.

           Following the Effective Date, it is anticipated that the Reorganized Debtor will maintain
  its registration with the SEC as a registered investment adviser.

  F.     Events Leading Up to the Debtor’s Bankruptcy Filings

         The Chapter 11 Case was precipitated by the rendering of an Arbitration Award (as that
  term is defined below) against the Debtor on May 9, 2019, by a panel of the American
  Arbitration Association (the “Panel”), in favor of the Redeemer Committee of the Highland
  Crusader Fund (the “Redeemer Committee”).

          The Debtor was formerly the investment manager for the Highland Crusader Funds (the
  “Crusader Funds”) that were formed between 2000 and 2002. In September and October 2008,
  as the financial markets in the United States began to fail, the Debtor was flooded with
  redemption requests from Crusader Funds’ investors, as the Crusader Funds’ assets lost
  significant value.

          On October 15, 2008, the Debtor placed the Crusader Funds in wind-down, thereby
  compulsorily redeeming the Crusader Funds’ limited partnership interests. The Debtor also
  declared that it would liquidate the Crusader Funds’ remaining assets and distribute the proceeds
  to investors.

         However, disputes concerning the distribution of the assets arose among certain
  investors. After several years of negotiations, a Joint Plan of Distribution of the Crusader Funds

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  (the “Crusader Plan”), and the Scheme of Arrangement between Highland Crusader Fund and its
  Scheme Creditors (the “Crusader Scheme”), were adopted in Bermuda and became effective in
  August 2011. As part of the Crusader Plan and the Crusader Scheme, the Redeemer Committee
  was elected from among the Crusader Funds’ investors to oversee the Debtor’s management of
  the Crusader Funds.

         Between October 2011 and January 2013, in accordance with the Crusader Plan and the
  Crusader Scheme, the Debtor distributed in excess of $1.2 billion to the Crusader Funds’
  investors. The Debtor distributed a further $315.3 million through June 2016.

          However, disputes subsequently arose between the Redeemer Committee and the Debtor.
  On July 5, 2016, the Redeemer Committee (a) terminated and replaced the Debtor as investment
  manager of the Crusader Fund, (b) commenced an arbitration against the Debtor (the
  “Arbitration”), and (c) commenced litigation in Delaware Chancery Court, to, among other
  things, obtain a status quo order in aid of the arbitration, which order was subsequently entered.

          Following an evidentiary hearing, the Panel issued (a) a Partial Final Award, dated
  March 6, 2019 (the “March Award”), (b) a Disposition of Application for Modification of Award,
  dated March 14, 2019 (the “Modification Award”), and (c) a Final Award, dated May 9, 2019
  (the “Final Award” and together with the March Award and the Modification Award, the
  “Arbitration Award”). Pursuant to the Arbitration Award, the Redeemer Committee was
  awarded gross damages against the Debtor in the aggregate amount of $136,808,302; as of the
  Petition Date, the total value of the Arbitration Award was $190,824,557, inclusive of interest

         Prior to the Petition Date, the Redeemer Committee moved in the Chancery Court to
  confirm the Arbitration Award. For its part, the Debtor moved to vacate parts of the Final
  Award contending that certain aspects were procedurally improper. The Redeemer Committee’s
  motion to confirm the Arbitration Award and the Debtor’s motion to vacate were fully briefed
  and were scheduled to be heard by the Chancery Court on the day the Debtor filed for
  bankruptcy

         On the Petition Date, the Debtor believed that the aggregate value of its assets exceeded
  the amount of its liabilities; however, the Debtor filed the Chapter 11 Case because it did not
  have sufficient liquidity to immediately satisfy the Award or post a supersedeas bond necessary
  to pursue an appeal.

  G.     Additional Prepetition Litigation

           In addition to the litigation with the Redeemer Committee described above, the Debtor,
  both directly and through certain subsidiaries, affiliates, and related entities, was party to
  substantial prepetition litigation. Although the Debtor disputes the allegations raised in this
  litigation and believes it has substantial defenses, this litigation has resulted in substantial Claims
  against the Debtor’s Estate, each of which has been classified as a General Unsecured Claim. To
  the extent that these litigation Claims cannot be resolved consensually, they will be litigated by
  the Claimant Trustee or Reorganized Debtor, as applicable. The Debtor’s major prepetition
  litigation is as follows:


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              Redeemer Committee: The dispute with the Redeemer Committee is described in
               ARTICLE II.F above. As discussed in ARTICLE II.R, the Bankruptcy Court
               entered an order approving a settlement that resolves the Redeemer Committee’s
               claims against the Estate; however, that order is currently subject to appeal.

              Acis Capital Management, L.P., & Acis Capital Management GP, LLC: On
               January 30, 2018, Joshua Terry filed involuntary bankruptcy petitions against
               both Acis Capital Management, L.P. (“Acis LP”) and its general partner, Acis
               Capital Management GP, LLC (“Acis GP,” and collectively with Acis LP,
               “Acis”) in the Bankruptcy Court for the Northern District of Texas, Dallas
               Division, the Honorable Judge Jernigan presiding (the same judge presiding over
               the Chapter 11 Case), Case No. 18-30264-SGJ (the “Acis Case”). Mr. Terry had
               been an employee of the Debtor and a limited partner of Acis LP. Mr. Terry was
               terminated in June 2016, and obtained a multi-million dollar arbitration award
               against Acis. Overruling various objections, the Bankruptcy Court entered the
               orders for relief for the Acis debtors in April 2018, and a chapter 11 trustee was
               appointed. The Debtor filed a proof of claim against Acis and an administrative
               claim. Acis disputes the Debtor’s claim, and the Debtor has not received any
               distributions on its claim to date. On January 31, 2019, Acis’s chapter 11 plan
               was confirmed, and Mr. Terry become the sole owner of reorganized Acis.
               Several appeals remain pending, including an appeal of the entry of the Acis
               orders for relief and the Acis confirmation order.

               The Acis trustee commenced a lawsuit against the Debtor, among others, alleging
               fraudulent conveyance and other causes of action in relation to the Debtor’s
               alleged prepetition effort to control and transfer away Acis’s assets to avoid
               paying Mr. Terry’s claim. After the confirmation of the Acis plan, reorganized
               Acis allegedly supplanted the Acis Trustee as plaintiff and filed an amended
               complaint against the Debtor and other defendants, which claims comprise Acis’s
               pending proof of claim against the Debtor.

               As discussed in ARTICLE II.R, the Bankruptcy Court entered an order approving
               a settlement that resolves Acis’s claims against the Estate; however, that order is
               currently subject to appeal.

              UBS Securities LLC and UBS AG London Branch: UBS Securities LLC (“UBS
               Securities”) filed a proof of claim in the amount of $1,039,957,799.40 [Claim No.
               190] (the “UBS Securities Claim”), and UBS AG, London Branch (“UBS
               London,” and together with UBS Securities, “UBS”) filed a substantively
               identical proof of claim in the amount of $1,039,957,799.40 [Claim No. 191] (the
               “UBS London Claim” and together with the UBS Securities Claim, the “UBS
               Claim”). The UBS Claim was based on the amount of a judgment UBS received
               on a breach of contract claim against funds related to the Debtor that were unable
               to honor margin calls in 2008. Although the Debtor had no obligation under
               UBS’s contracts with the funds, UBS alleges the Debtor is liable for the judgment
               because it (i) breached an alleged duty to ensure that the funds could pay UBS,
               (ii) caused or permitted $233 million in alleged fraudulent transfers to be made by

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                   Highland Financial Partners, L.P. (“HFP”) in March 2009, and (iii) is an alter ego
                   of the funds. The Debtor believes there are meritorious defenses to most, if not
                   all, of the UBS Claim for numerous reasons, including: (i) decisions by the New
                   York Appellate Division that limited UBS’s claims to the March 2009 transfers
                   that it alleges were fraudulent; (ii) those decisions should also apply to any alter
                   ego claim (which at this time has not been formally asserted against the Debtor);
                   (iii) UBS settled claims relating to $172 million of the $233 million in alleged
                   fraudulent transfers and the Debtor is covered by the release; and (iv) the March
                   2009 transfers were in any event part of a wholly legitimate transaction that did
                   not target UBS and for which HFP received fair consideration. Those and several
                   additional defenses are described in the Debtor’s Objection to Proofs of Claim
                   190 and 191 of UBS Securities LLC and UBS AG, London Branch [D.I. 928].

                   On October 19, 2020, both the Debtor and the Redeemer Committee filed motions
                   seeking partial summary judgment of the UBS Claim, which, if granted, will
                   significantly decrease the UBS Claim.5 UBS responded to these motions on
                   November 6, 2020 [D.I. 1341]. On November 20, 2020, the Bankruptcy Court
                   granted partial summary judgment in favor of the Debtor and the Redeemer
                   Committee. It is anticipated that the Bankruptcy Court will enter a formal order
                   within the next couple of weeks.

                  Patrick Daugherty: Patrick Daugherty has Filed a Proof of Claim for “at least
                   $37,483,876.62” [Claim Nos. 67; 77] (the “Daugherty Claim”).6 Mr. Daugherty
                   is a former limited partner and employee of the Debtor. The Daugherty Claim has
                   three components, and Mr. Daugherty asserts claims: (1) for indemnification for
                   any taxes Mr. Daugherty is required to pay as a result of the IRS audit of the
                   Debtor’s 2008-2009 tax return; (2) for defamation arising from a 2017 press
                   release posted by the Debtor; and (3) arising from a pending Delaware lawsuit
                   against the Debtor, which seeks to recover a judgment of $2.6 million in respect
                   of Highland Employee Retention Assets (“HERA”), plus interest, from assets Mr.
                   Daugherty claims were fraudulently transferred to the Debtor. The Daugherty
                   Claim also seeks (a) the value of Mr. Daugherty’s asserted interest in HERA,
                   which he values at approximately $26 million; and (b) indemnification for fees
                   incurred in the Delaware action and in previous litigation in Texas State Court.
                   The Debtor believes that the Daugherty Claim should be allowed in the amount of
  5
    See Debtor’s Motion for Partial Summary Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC
  and UBS AG, London Branch [D.I. 1180]; Debtor’s Opening Brief in Support of Motion for Partial Summary
  Judgment on Proof of Claim Nos. 190 and 191 of UBS Securities LLC and UBS AG, London Branch [D.I. 1181];
  Redeemer Committee of the Highland Crusader Fund and the Crusaders Funds’ Motion for Partial Summary
  Judgment on Proof of Claim Nos. 190 and 191 of UBS AG, London Branch and UBS Securities LLC [D.I. 1183];
  and Redeemer Committee of the Highland Crusader Fund and the Crusaders Funds’ Brief in Support of Motion for
  Partial Summary Judgment and Joinder in the Debtor’s Motion for Partial Summary Judgment on Proof of Claim
  No. 190 and 191 of UBS AG, London Branch and UBS Securities LLC [D.I. 1186].
  6
    On October 23, 2020, Mr. Daugherty filed Patrick Hagaman Daugherty’s Motion for Leave to Amend Proof of
  Claim No. 77 [D.I. 1280] pursuant to which Mr. Daugherty has asked leave to amend the Daugherty Claim to assert
  damages of $40,710,819.42. On November 17, 2020, the Bankruptcy Court approved Mr. Daugherty’s request to
  amend the Daugherty Claim from the bench.


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                      $3,722,019; however, the Debtor believes, for various reasons, that the balance of
                      the Daugherty Claim lacks merit. The Debtor’s defenses to the Daugherty Claim
                      are described in the Debtor’s (i) Objection to Claim No. 77 of Patrick Hagaman
                      Daugherty and (ii) Complaint to Subordinate Claim of Patrick Hagaman
                      Daugherty [D.I. 1008].

  H.         The Debtor’s Bankruptcy Proceeding

          On October 16, 2019, the Debtor commenced a voluntary case under chapter 11 of the
  Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the
  “Delaware Bankruptcy Court”). On December 4, 2019, the Delaware Bankruptcy Court entered
  an order transferring venue of the Chapter 11 Case to the Bankruptcy Court for the Northern
  District of Texas, Dallas Division (the “Bankruptcy Court”).7 The Debtor continues to operate
  its business and manage its properties as debtor-in-possession under the jurisdiction of the
  Bankruptcy Court and in accordance with the applicable provisions of the Bankruptcy Code and
  orders of the Bankruptcy Court.

         An immediate effect of commencement of the Chapter 11 Case was the imposition of the
  automatic stay under the Bankruptcy Code which, with limited exceptions, enjoins the
  commencement or continuation of all collection efforts, the enforcement of liens against property
  of the Debtor, and the continuation of litigation against the Debtor during the pendency of the
  Chapter 11 Case. The automatic stay will remain in effect, unless modified by the Bankruptcy
  Court, until the later of the Effective Date and the date indicated in any order providing for the
  implementation of such stay or injunction.

  I.         First Day Relief

          On or about the Petition Date, the Debtor filed certain “first day” motions and
  applications (the “First Day Motions”) with the Delaware Bankruptcy Court seeking certain
  immediate relief to aid in the efficient administration of this Chapter 11 Case and to facilitate the
  Debtor’s transition to debtor-in-possession status. A brief description of each of the First Day
  Motions and the evidence in support thereof is set forth in the Declaration of Frank Waterhouse
  in Support of First Day Motions [D.I. 11] (the “First Day Declaration”). At a hearing on October
  19, 2019, the Delaware Bankruptcy Court granted virtually all of the relief initially requested in
  the First Day Motions [D.I. 39, 40, 42-44].

          The Delaware Bankruptcy Court subsequently entered an order authorizing the Debtor to
  pay critical vendor claims on a final basis [D.I. 168]. Following the transfer of the Chapter 11
  Case to the Bankruptcy Court, the Bankruptcy Court entered an order authorizing the Debtor to
  continue its cash management system on a final basis [D.I. 379]

         The First Day Motions, the First Day Declaration, and all orders for relief granted in this
  case can be viewed free of charge at https://www.kccllc.net/hcmlp.



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      All docket reference numbers refer to the docket maintained by the Bankruptcy Court.


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  J.     Other Procedural and Administrative Motions

          On and after the Petition Date, the Debtor also filed a number of motions and applications
  to retain professionals and to streamline the administration of the Chapter 11 Case, including:

                Interim Compensation Motion. On October 29, 2019, the Debtor filed the
                 Debtor’s Motion Pursuant o Sections 105(a), 330 and 331 of the Bankruptcy
                 Code for Administrative Order Establishing Procedures for Interim
                 Compensation and Reimbursement of Expenses of Professionals [D.I. 72] (the
                 “Interim Compensation Motion”). The Interim Compensation Motion sought to
                 establish procedures for the allowance and payment of compensation and
                 reimbursement of expenses for attorneys and other professionals whose retentions
                 are approved by the Bankruptcy Court pursuant to section 327 or 1103 of the
                 Bankruptcy Code and who will be required to file applications for allowance of
                 compensation and reimbursement of expenses pursuant to section 330 and 331 of
                 the Bankruptcy Code. On November 14, 2019, the Delaware Bankruptcy Court
                 entered an order granting the Interim Compensation Motion [D.I. 141].

                Ordinary Course Professionals. On October 29, 2019, the Debtor filed the Motion
                 of the Debtor for an Order Authorizing the Debtor to Retain, Employ, and
                 Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
                 of Business [D.I. 75] (the “OCP Motion”). The OCP Motion sought authority for
                 the Debtor to retain and compensate certain professionals in the ordinary course
                 of its business. On November 26, 2019, the Delaware Bankruptcy Court entered
                 an order granting the OCP Motion [D.I. 176].

                Retention Applications. During the course of the chapter 11 case, the Delaware
                 Bankruptcy Court or Bankruptcy Court, as applicable, have approved a number of
                 applications by the Debtor seeking to retain certain professionals pursuant to
                 sections 327, 328 and/or 363 of the Bankruptcy Code, including Pachulski Stang
                 Ziehl & Jones LLP as legal counsel [D.I. 183], Development Specialists, Inc. as
                 chief restructuring officer and financial advisor [D.I. 342], Kurtzman Carson
                 Consultants LLC as administrative advisor [D.I. 74], Mercer (US) Inc. as
                 compensation consultant [D.I. 381], Hayward & Associates PLLC as local
                 counsel [D.I. 435], Foley Gardere, Foley & Lardner LLP as special Texas counsel
                 [D.I. 513], Deloitte Tax LLP as tax services provider [D.I. 551], Wilmer Cutler
                 Pickering Hale and Dorr LLP as regulatory and compliance counsel [D.I. 669],
                 and Hunton Andrews Kurth LLP as special tax counsel [D.I. 763].

  K.     United States Trustee

          While the Chapter 11 Case was pending in the Delaware Bankruptcy Court, the U.S.
  Trustee for Region 3 appointed Jane Leamy as the attorney for the U.S. Trustee in connection
  with this Chapter 11 Case (the “Delaware U.S. Trustee”). Following the transfer of the Chapter
  11 Case to the Bankruptcy Court, the Delaware U.S. Trustee no longer represented the U.S.
  Trustee, and the U.S. Trustee for Region 6 appointed Lisa Lambert as the attorney for the U.S.
  Trustee in connection with this Chapter 11 Case (the “Texas U.S. Trustee,” and together with the

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  Delaware U.S. Trustee, the “U.S. Trustee”). The Debtor has worked cooperatively to address
  concerns and comments from the U.S. Trustee’s office during this Chapter 11 Case.

  L.      Appointment of Committee

          On October 29, 2019, the Delaware U.S. Trustee appointed the Committee in this
  Chapter 11 Case [D.I. 65]. The members of the Committee are (a) Redeemer Committee of
  Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities LLC and UBS AG London
  Branch, and (d) Acis Capital Management, L.P. and Acis Capital Management GP, LLP. Meta-
  E Discovery is a vendor to the Debtor. The other members of the Committee are litigants in
  prepetition litigation with the Debtor as described in ARTICLE II.G. The Bankruptcy Court
  approved the retention of Sidley Austin LLP as counsel to the Committee [D.I. 334], Young
  Conaway Stargatt & Taylor, LLP as Delaware co-counsel to the Committee [D.I. 337], and FTI
  Consulting, Inc. as financial advisor to the Committee [D.I. 336].

  M.      Meeting of Creditors

          The meeting of creditors under section 341(a) of the Bankruptcy Code was initially
  scheduled for November 20, 2019, at 9:30 a.m. (prevailing Eastern Time) at the J. Caleb Boggs
  Federal Building, 844 N. King Street, Room 3209, Wilmington, Delaware 19801, and was
  rescheduled to December 3, 2019, at 10:30 a.m. (prevailing Eastern Time). At the meeting of
  creditors, the Delaware U.S. Trustee and creditors asked questions of a representative of the
  Debtor.

         Following the transfer of the Chapter 11 Case to the Bankruptcy Court, the Texas U.S.
  Trustee scheduled an additional meeting of creditors under section 341(a) for January 9, 2020, at
  11:00 a.m. (prevailing Central Time) at the Office of the U.S. Trustee, 1100 Commerce Street,
  Room 976, Dallas, Texas 75242, at the conclusion of that meeting, the Texas U.S. Trustee
  continued the meeting to January 22, 2020. The Texas U.S. Trustee and creditors asked
  questions of a representative of the Debtor at the January 9 and January 22, 2020 meetings.

  N.      Schedules, Statements of Financial Affairs, and Claims Bar Date

          The Debtor filed its Schedules of Assets and Liabilities and Statements of Financial
  Affairs (the “Schedules”) on December 19, 2019 [D.I. 247-248]. A creditor whose Claim is set
  forth in the Schedules and not identified as contingent, unliquidated or disputed may have
  elected to file a proof of claim against the Debtor.

         The Bankruptcy Court established (i) April 8, 2020 as the deadline for Creditors (other
  than governmental units) to file proofs of claim against the Debtor; (ii) April 13, 2020, as the
  deadline for any governmental unit (as such term is defined in section 101(27) of the Bankruptcy
  Code), (iii) April 23, 2020, and as the deadline for any investors in any fund managed by the
  Debtor to file proofs of claim against the Debtor; and (iv) May 26, 2020 as the deadline for the
  Debtor’s employees to file proofs of claim against the Debtor pursuant to and accordance with
  Court’s order entered on April 3, 2020 [D.I. 560].8 Consequently, the bar date for filing proofs
  8
    During the course of its Chapter 11 Case, the Debtor entered into stipulations to extend the Bar Date for certain
  other claimants or potential claimants.


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  of claims has passed and any claims filed after the applicable bar date will be considered late
  filed.

  O.     Governance Settlement with the Committee

          On January 9, 2020, the Bankruptcy Court entered the Order Approving Settlement with
  Official Committee of Unsecured Creditors Regarding Governance of the Debtor and
  Procedures for Operations in the Ordinary Course [D.I. 339] (the “Settlement Order”).

          Among other things, the Settlement Order approved a term sheet (the “Term Sheet”)
  agreed to by the Debtor and the Committee pursuant to which the Debtor agreed to abide by
  certain protocols governing the production of documents and certain protocols governing the
  operation of the Debtor’s business (the “Operating Protocols”). Under the Operating Protocols,
  the Debtor agreed to seek consent from the Committee prior to entering into certain
  “Transactions” (as defined in the Operating Protocols. The Operating Protocols were amended
  on February 21, 2020, with the consent of the Committee [D.I. 466].

          Pursuant to the Term Sheet, the Debtor also granted the Committee standing to pursue
  certain estate claims and causes of action against Mr. Dondero, Mr. Okada, other insiders of the
  Debtor, and the Related Entities (as defined in the Operating Protocols) (collectively, the “Estate
  Claims”). To the extent permitted, the Estate Claims and the ability to pursue the Estate Claims
  are being transferred to either the Claimant Trust or Litigation Sub-Trust pursuant to the Plan.

         In connection with the Settlement Order, an independent board of directors was also
  appointed at Strand, the Debtor’s general partner (the “Independent Board”). The members of
  the Independent Board are John S. Dubel, James P. Seery, Jr., and Russell Nelms. The
  Independent Board was tasked with managing the Debtor’s operations during the Chapter 11
  Case and facilitating a reorganization or orderly liquidation of the Debtor’s Estate.

  P.     Appointment of James P. Seery, Jr., as Chief Executive Officer and Chief
         Restructuring Officer

          Following their appointment in January 2020, the Independent Board determined that it
  would be more efficient for the Debtor to have a traditional corporate management structure, i.e.
  a fully engaged chief executive officer supervised by the Independent Board. The Independent
  Board ultimately determined that Mr. Seery – a member of the Independent Board – had the
  requisite experience and expertise to lead the Debtor. On June 23, 2020, the Debtor filed
  Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to Retain
  James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and Foreign
  Representative Nunc Pro Tunc to March 15, 2020 [D.I. 774] (the “Seery Retention Motion”) to
  retain Mr. Seery as chief executive officer, chief restructuring officer, and foreign representative.

         The Bankruptcy Court entered an order approving the Seery Retention Motion on July
  16, 2020 [D.I. 854]. Mr. Seery was retained as the Debtor’s chief executive officer and the
  duties of Bradley Sharp of DSI as the Debtor’s chief restructuring officer and foreign
  representative were transferred to Mr. Seery.



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  Q.     Mediation

           On August 3, 2020, the Bankruptcy Court entered the Order Directing Mediation [D.I.
  912] pursuant to which the Bankruptcy Court ordered the Debtor, the Committee, UBS, Acis, the
  Redeemer Committee, and Mr. Dondero into mediation and appointed Sylvia Mayer and Allan
  Gropper as the mediators (the “Mediators”). The mediation began on August 27, 2020, and is
  still open as of the date of this Disclosure Statement

  R.     Postpetition Settlements

         1.      Settlement with Acis and the Terry Parties

          With the assistance of the Mediators, on September 9, 2020, (i) the Debtor, (ii) Acis LP,
  (iii) Acis GP, and (iv) Joshua N. Terry, individually and for the benefit of his individual retirement
  accounts, and Jennifer G. Terry, individually and for the benefit of her individual retirement
  accounts and as trustee of the Terry Family 401-K Plan (together, the “Terry Parties”) executed
  that certain Settlement Agreement and General Release. On September 23, 2020, the Debtor filed
  the Debtor’s Motion for Entry of an Order Approving Settlement with (a) Acis Capital
  Management, L.P. and Acis Capital Management GP LLC (Claim No. 23), (b) Joshua N. Terry
  and Jennifer G. Terry (Claim No. 156), and (c) Acis Capital Management, L.P. (Claim No. 159)
  and Authorizing Actions Consistent Therewith [D.I. 1087] (the “Acis Settlement Motion”).

        The Settlement Agreement and General Release contain the following material terms,
  among others:

                The proof of claim filed by Acis [Claim No. 23] will be Allowed in the amount of
                 $23,000,000 as a General Unsecured Claim.

                On the Effective Date of the Plan (or any other plan of reorganization confirmed
                 by the Bankruptcy Court), the Debtor will pay in cash to:

                 o       Mr. and Mrs. Terry in the amount of $425,000 plus 10% simple interest
                         (calculated on the basis of a 360-day year from and including June 30,
                         2016), in full and complete satisfaction of the proof of claim filed by the
                         Terry Parties [Claim No. 156];

                 o       Acis LP in the amount of $97,000, which amount represents the legal fees
                         incurred by Acis LP with respect to the NWCC, LLC v. Highland CLO
                         Management, LLC, et al., Index No. 654195/2018 (N.Y. Sup. Ct. 2018), in
                         full and complete satisfaction of the proof of claim filed by Acis LP
                         [Claim No. 159]; and

                 o       Mr. Terry in the amount of $355,000 in full and complete satisfaction of
                         the legal fees assessed against Highland CLO Funding, Ltd., in Highland
                         CLO Funding v. Joshua Terry, [No Case Number], pending in the Royal
                         Court of the Island of Guernsey;



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  The Settlement Agreement also provides that within five days of the Bankruptcy Court’s
  approval of the Settlement Agreement and the General Release, the Debtor will move to
  withdraw, with prejudice, the proofs of claim that the Debtor filed in the Acis bankruptcy cases
  and the motion filed by the Debtor in the Acis bankruptcy cases seeking an administrative claim
  for postpetition services provided to Acis.

          On October 5, 2020, James Dondero filed an objection to the Acis Settlement Motion
  [D.I. 1121] (the “Dondero Objection”). On October 28, 2020, the Bankruptcy Court entered an
  order approving the Acis Settlement Motion and overruling the Dondero Objection in its entirety
  [DI.I. 1347]. On November 9, 2020, Mr. Dondero filed a notice of his intent to appeal the order
  approving the Acis Settlement Motion.

         The foregoing is a summary only, and all parties are encouraged to review the Acis
  Settlement Motion and related documents for additional information on the Settlement
  Agreement and General Release.

         2.     Settlement with the Redeemer Committee

          The Debtor, Eames, Ltd., the Redeemer Committee, and the Crusader Funds (collectively,
  the “Settling Parties”) executed a settlement (the “Redeemer Stipulation”). The Redeemer
  Stipulation was also executed, solely with respect to paragraphs 10 through 15 thereof, by
  Hockney, Ltd., Strand, Highland CDO Opportunity Master Fund, L.P., Highland Credit
  Strategies Master Fund, L.P., Highland Credit Opportunities CDO, L.P., House Hanover, LLC,
  and Alvarez & Marsal CRF Management, LLC (collectively, the “Additional Release Parties”).
  On September 23, 2020, the Debtor filed Debtor’s Motion for Entry of an Order Approving
  Settlements with (A) the Redeemer Committee of the Highland Crusader Funds (Claim No. 72),
  and (B) the Highland Crusader Funds (Claim No. 81), and Authorizing Actions Consistent
  Therewith [D.I. 1089] seeking approval of the Redeemer Stipulation (the “Redeemer Settlement
  Motion”).

         The Redeemer Stipulation contains the following material terms, among others:

               The proof of claim filed by the Redeemer Committee [Claim No. 72] will be
                Allowed in the amount of $137,696,610 as a General Unsecured Claim;

               The proof of claim filed by the Crusader Funds [Claim No. 81] will be Allowed in
                the amount of $50,000 as a General Unsecured Claim;

               The Debtor and Eames, Ltd., each (a) consented to the cancellation of certain
                interests in the Crusader Funds held by them, and (b) agreed that they will not
                object to the cancellation of certain interests in the Crusader Funds held by the
                Charitable Donor Advised Fund;4

               The Debtor and Eames each acknowledged that they will not receive any portion
                of certain reserved distributions, and the Debtor further acknowledged that it will
                not receive any payments from the Crusader Funds in respect of any deferred fees,
                distribution fees, or management fees;

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                 The Debtor and the Redeemer Committee agreed to a form of amendment to the
                  shareholders’ agreement for Cornerstone Healthcare Group and to a process to
                  monetize Cornerstone Healthcare Group;

                 Upon the effective date of the Redeemer Stipulation, the Settling Parties and the
                  Additional Release Parties shall exchange releases as set forth in the Redeemer
                  Stipulation; and

                 All litigation between the Debtor, Eames, Ltd., and the Additional Highland
                  Release Parties (as defined in the Redeemer Stipulation) on the one hand, and the
                  Redeemer Committee and the Crusader Funds, on the other hand, will cease.

          On October 16, 2020, UBS filed an objection to the Redeemer Settlement Motion [D.I.
  1190] (the “UBS Objection”). On October 22, 2020, the Bankruptcy Court entered an order
  approving the Redeemer Settlement Motion and overruling the UBS Objection in its entirety
  [DI.I. 1273]. On November 6, 2020, UBS filed a notice of its intent to appeal the order
  approving the Redeemer Settlement Motion.

          The foregoing is a summary only, and all parties are encouraged to review the Redeemer
  Settlement Motion and related documents for additional information on the Redeemer
  Stipulation.

  S.      Certain Outstanding Material Claims

         As discussed above, April 8, 2020, was the general bar date for filing proofs of claim.
  The Debtor has begun the process of resolving those Claims. Although each Claim represents a
  potential liability of the Estate, the Debtor believes that, in addition to UBS’s Claim, the Claims
  filed by Integrated Financial Associates, Inc. (“IFA”), the HarbourVest Entities,9 and Hunter
  Mountain represent the largest unresolved Claims against the Estate.

                 IFA Proof of Claim. IFA filed a proof of claim [Claim No. 93] (the “IFA Claim”)
                  seeking damages in the amount of $241,002,696.73 arising from the purported
                  joint control of the Debtor and NexBank, SSB, and the Debtor’s management of
                  various lenders to IFA. The Debtor believes that IFA’s claim should be
                  disallowed in its entirety. IFA’s claim and the Debtor’s defenses thereto are
                  described in greater detail in the Objection to Proof of Claim No. 93 of Integrated
                  Financial Associates, Inc. [D.I. 868]. On October 4, 2020, the Bankruptcy Court
                  entered the Order Approving Stipulation Regarding Proof of Claim No. 93 of
                  Integrated Financial Associates, Inc. [D.I. 1126], which capped the IFA Claim,
                  for all purposes, at $8,000,000.

                 HarbourVest Entities Proofs of Claim. The HarbourVest Entities are investors in
                  Highland CLO Funding, Ltd. (“HCLOF”) and filed proofs of claim against the

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    “HarbourVest Entities” means HarbourVest 2017 Global Fund, L.P., HarbourVest 2017 Global AIF L.P.,
  HarbourVest Dover Street IX Investment, L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF
  L.P., and HarbourVest Partners, L.P.


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                Debtor’s Estate [Claim No. 143, 147, 149, 150, 153, 154] (the “HarbourVest
                Claims”). The Debtor included an assertion of “no liability” in respect of the
                HarbourVest Claims in its Debtor’s First Omnibus Objection to Certain (a)
                Duplicate Claims; (b) Overstated Claims; (c) Late-Filed Claims; (d) Satisfied
                Claims; (e) No-Liability Claims; and (f) Insufficient Documentation Claims [D.I.
                906]. HarbourVest provided a response in its HarbourVest Response to Debtor’s
                First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated
                Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims;
                and (F) Insufficient-Documentation Claims [D.I. 1057]. The HarbourVest
                Entities’ response argued that the Debtor’s objection should be overruled, and set
                forth allegations in support of claims under federal and state law and Guernsey
                law, including claims for fraud, violations of securities laws, breaches of fiduciary
                duties, and RICO violations. The Debtor intends to vigorously defend the
                HarbourVest Claims on various grounds, including, among others, the failure to
                state a claim upon which relief can be granted, the lack of reasonable reliance, the
                lack of misrepresentations, the lack of reasonable reliance, the failure to mitigate
                damages, the parties’ agreements bar or otherwise limit the Debtor’s liability, and
                waiver and estoppel. The HarbourVest Entities invested approximately $80
                million in HCLOF but seek an allowed claim in excess of $300 million dollars
                (after giving effect to treble damages for the alleged RICO violations).

               Hunter Mountain Proof of Claim. Hunter Mountain is one of the Debtor’s limited
                partners. Hunter Mountain filed a proof of claim [Claim No. 152] seeking a
                $60,298,739 indemnification claim against the Debtor because of the Debtor’s
                alleged failures to make priority distributions to Hunter Mountain under the
                Debtor’s Partnership Agreement. The Debtor believes that it has meritorious
                defenses to Hunter Mountain’s claim. Hunter Mountain’s claim and the Debtor’s
                defenses to such claim are described in greater detail in the Debtor’s (i) Objection
                to Claim No. 152 of Hunter Mountain Investment Trust and (ii) Complaint to
                Subordinate Claim of Hunter Mountain Investment Trust and for Declaratory
                Relief [D.I. 995]. The Debtor believes that Hunter Mountain’s proof of claim
                should either be disallowed in its entirety or subordinated in its entirety.

  In addition to the foregoing, the UBS Claim (in the amount of $1,039,957,799.40) and the
  Daugherty Claim (in the amount of $40,710,819.42) remain outstanding. As set forth above,
  partial summary judgment on the UBS Claim was granted in favor of the Debtor and the
  Redeemer Committee on November 20, 2020, and a formal order is expected to be entered
  within the next couple of weeks.

         The Daugherty Claim has been allowed for voting purposes only in the amount of
  $9,134,019 [D.I. 1422]. In a bench ruling on November 20, 2020, the Bankruptcy Court allowed
  UBS Claims for voting purposes only in the amount of $94,761,076 [D.I. 1646].

  T.     Treatment of Shared Service and Sub-Advisory Agreements

        As discussed in the Plan, the Reorganized Debtor will manage the wind down of the
  Managed Funds. However, it is not anticipated that either the Reorganized Debtor or the

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  Claimant Trust will assume or assume and assign the contracts between the Debtor and certain
  Related Entities10 pursuant to which the Debtor provides shared services and sub-advisory
  services to those Related Entities.

          Currently, the Debtor receives approximately $2.2 million per month in revenue from
  such contracts. However, in order to service those contracts, the Debtor must maintain a full
  staff and the cost of providing services under such contracts, among other factors, has
  historically resulted in a net loss to the Debtor. As such, the Debtor does not believe that
  assuming these contracts would benefit the Estate.

          Further, the contracts generally contain anti-assignment provisions which the Debtor
  believes may be enforceable under 11 U.S.C. § 365(c). These provisions, therefore, would
  arguably prevent the assignment of such contracts without the consent of the Debtor’s contract
  counterparty. However, even if 11 U.S.C. § 365(c) would not prevent assignment, the contracts
  are generally terminable at will by either party. As such, assuming and assigning such contracts
  without the consent of the contract counterparty would be of nominal or no benefit to the Estate.
  It is doubtful that any assignee would provide consideration to the Debtor for the assignment of
  such contract as the contract counterparty could simply terminate the contract immediately
  following assignment. As such, the Debtor does not believe that there is any benefit to the Estate
  in attempting to assign these contracts.

         Notwithstanding the foregoing disclosure, the Debtor is currently assessing whether it is
  both possible and in the best interests of the Estate to assume and assign such shared services and
  sub-advisory agreements to a Related Entity.

          During the course of this Chapter 11 Case, Mr. Daugherty stated that he would be willing
  to assume the Debtor’s obligations under the shared service and sub-advisory contracts. The
  Independent Directors reviewed Mr. Daugherty’s proposal and for the foregoing reasons, among
  others, determined that it was not workable and would provide no benefit to the Estate.

  U.      Portfolio Managements with Issuer Entities

          The Debtor is party to certain portfolio management agreements (including any ancillary
  agreements relating thereto collectively being the “Portfolio Management Agreements” and each
  a “Portfolio Management Agreement”) with ACIS CLO 2017-7 Ltd., Brentwood CLO, Ltd.,
  Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1, Ltd., Highland Legacy
  Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding LP,
  PamCo Cayman Ltd., Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd.,
  Stratford CLO Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
  Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd., Jasper
  CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla
  CLO, Ltd. (each an “Issuer” and collectively the “Issuers”) wherein the Debtor agreed to
  generally provide certain services to each Issuer in the Debtor’s capacity as a portfolio manager
  in exchange for certain fees as described in the applicable Portfolio Management Agreement.

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    For the avoidance of doubt, the Debtor does not consider any of the Issuers (as defined herein) to be a Related
  Entity.


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          The Issuers filed proofs of claim [Claim No. 165, 168, and 169] asserting claims against
  the Debtor for damages arising from, relating to or otherwise concerning (i) such Issuer’s
  Portfolio Management Agreement(s) with the Debtor, including, without limitation, failure to
  perform or other breach of the Portfolio Management Agreement(s), rejection of the Portfolio
  Management Agreement(s), any cure amount as a result of assumption of the Portfolio
  Management Agreement(s), any adequate assurance of future performance as a result of
  assumption of the Portfolio Management Agreement(s), and any failure to provide and pay for
  indemnification or other obligations under the Portfolio Management Agreement(s); and (ii) the
  action or inaction of the Debtor to the detriment of such Issuer (collectively, the “Issuer
  Claims”). The Debtor believes that it has satisfied its obligations to the Issuers; that the Issuer
  Claims lack merit; and that the Debtor will have no liability with respect to the Issuer Claims.
  However, such proofs of claim remain outstanding.

          The Issuers have taken the position that the rejection of the Portfolio Management
  Agreements (including any ancillary documents) would result in material rejection damages and
  have encouraged the Debtor to assume such agreements. Nonetheless, the Issuers and the Debtor
  are working in good faith to address any outstanding issues regarding such assumption. The
  Portfolio Management Agreements may be assumed either pursuant to the Plan or by separate
  motion filed with the Bankruptcy Court.

        The Debtor is still assessing its options with respect to the Portfolio Management
  Agreements, including whether to assume the Portfolio Management Agreements.

  V.     Resignation of James Dondero

         On October 9, 2020, Mr. Dondero resigned as an employee and portfolio manager of the
  Debtor.

  W.     Exclusive Periods for Filing a Plan and Soliciting Votes

          Under the Bankruptcy Code, a debtor has the exclusive right to file and solicit acceptance
  of a plan or plans of reorganization for an initial period of 120 days from the date on which the
  debtor filed for voluntary relief. If a debtor files a plan within this exclusive period, then the
  debtor has the exclusive right for 180 days from the petition date to solicit acceptances to the
  plan. During these exclusive periods, no other party in interest may file a competing plan of
  reorganization; however, a court may extend these periods upon request of a party in interest and
  “for cause.”

         The Debtor filed motions to extend the exclusive period, and the Bankruptcy Court
  entered the following orders granting such applications:

                Order Granting Debtor’s Motion for Entry of an Order Pursuant to 11 U.S.C. §
                 1121(d) and Local Rule 3016-1 Extending the Exclusivity Periods for the Filing
                 and Solicitation of Acceptances of a Chapter 11 Plan [D.I. 460];

                Agreed Order Extending Exclusive Periods by Thirty Days [D.I. 668];



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                Order Granting Debtor’s Third Motion for Entry of an Order Pursuant to 11
                 U.S.C. § 1121(d) and Local Rule 3016-1 Further Extending the Exclusivity
                 Periods for the Filing and Solicitation of Acceptances of a Chapter 11 Plan [D.I.
                 820]; and

                Order Further Extending the Debtor’s Exclusive Period for Solicitation of
                 Acceptance of a Chapter 11 Plan [D.I. 1092].

  Pursuant to the foregoing orders, the Bankruptcy Court extended the exclusivity period through
  June 12, 2020, for the filing of a plan, which was subsequently extended through July 13, 2020,
  and again through August 12, 2020. The Bankruptcy Court also extended the exclusivity period
  for the solicitation of votes to accept such plan through August 11, 2020, which was
  subsequently extended through September 10, 2020, and again through October 13, 2020, and
  December 4, 2020.

  X.     Negotiations with Constituents

          The Debtor, Mr. Dondero, and certain of the creditors have been negotiating a consensual
  reorganization plan for the Debtor that contemplates the Debtor continuing its business largely in
  its current form. Those negotiations have yet to reach conclusion but are continuing, and the
  negotiations were part of the previously discussed mediation. There is no certainty that those
  negotiations will reach a consensual resolution of the Debtor’s bankruptcy case.

  Y.     Highland Capital Management, L.P. Retirement Plan and Trust

          The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
  single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461.

          The Debtor is the contributing sponsor of the Pension Plan. As such, the PBGC asserts
  that Debtor is liable to contribute to the Pension Plan the amounts necessary to satisfy the
  minimum funding standards in ERISA and the Internal Revenue Code of 1986, as amended
  (“IRC”). See 29 U.S.C. §§ 1082, 1083; 26 U.S.C. §§ 412, 430. As the sponsor of the Pension
  Plan, the PBGC asserts Debtor is also liable for insurance premiums owed to PBGC. See 29
  U.S.C. §§ 1306, 1307. The PBGC asserts that any members of the contributing sponsor’s
  controlled-group within the meaning of 29 U.S.C. §§ 1301(a)(13), (14) are also jointly and
  severally liable with the Debtor for such obligations relating to the Pension Plan.

           The Pension Benefit Guaranty Corporation (“PBGC”), the federal agency that
  administers the pension insurance program under Title IV of ERISA, filed contingent proofs of
  claims against the Debtors for (1) the Pension Plan’s potential underfunded benefit liabilities; (2)
  the potential unliquidated unpaid minimum funding contributions owed to the Pension Plan; and
  (3) the potential unliquidated insurance premiums owed to PBGC. The PBGC acknowledges
  that, as of the date of this Disclosure Statement, there is nothing currently owed by the Debtor to
  the PBGC.

         The Debtor reserves the right to contest any claims filed by the PBGC for any reason.


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           Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
  Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
  Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
  standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
  premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
  in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
  Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
  the Reorganized Debtor and each of its controlled group members will be responsible for the
  liabilities imposed by Title IV of ERISA.

          No provision contained in the Disclosure Statement, the Plan, the Confirmation Order, or
  the Bankruptcy Code (including section 1141 thereof), shall be construed as discharging,
  releasing, exculpating, or relieving any person or entity, including the Debtor, the Reorganized
  Debtor, or any person or entity in any capacity, from any liability or responsibility, if any, with
  respect to the Pension Plan under any law, government policy, or regulatory provision. PBGC
  and the Pension Plan shall not be enjoined or precluded from enforcing such liability or
  responsibility against any person or entity as a result of any of the provisions for satisfaction,
  release, injunction, exculpation, and discharge of claims in the Plan, Confirmation Order, or the
  Bankruptcy Code.

                                          ARTICLE III.
                                       SUMMARY OF THE PLAN


    THIS ARTICLE III IS INTENDED ONLY TO PROVIDE A SUMMARY OF THE
    MATERIAL TERMS OF THE PLAN AND IS QUALIFIED BY REFERENCE TO
   THE ENTIRE DISCLOSURE STATEMENT AND THE PLAN AND SHOULD NOT
    BE RELIED ON FOR A COMPREHENSIVE DISCUSSION OF THE PLAN. TO
      THE EXTENT THERE ARE ANY INCONSISTENCIES OR CONFLICTS
         BETWEEN THIS ARTICLE III AND THE PLAN, THE TERMS AND
    CONDITIONS SET FORTH IN THE PLAN SHALL CONTROL AND GOVERN.

  A.     Administrative and Priority Tax Claims

         1.      Administrative Expense Claims

          On the later of the Effective Date or the date on which an Administrative Expense Claim
  becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
  thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional
  Fee Claims) will receive, in full satisfaction, settlement, discharge and release of, and in
  exchange for, such Allowed Administrative Expense Claim either (i) payment in full in
  Available Cash for the unpaid portion of such Allowed Administrative Expense Claim; or
  (ii) such other less favorable treatment as agreed to in writing by the Debtor or the Reorganized
  Debtor, as applicable, and such Holder; provided, however, that Administrative Expense Claims
  incurred by the Debtor in the ordinary course of business may be paid in the ordinary course of
  business in the discretion of the Debtor in accordance with such applicable terms and conditions



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  relating thereto without further notice to or order of the Bankruptcy Court. All statutory fees
  payable under 28 U.S.C. § 1930(a) shall be paid as such fees become due.

         If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
  the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File,
  on or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
  Reorganized Debtor, as applicable, and such other Entities who are designated by the
  Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court, an
  application for allowance and payment of such Administrative Expense Claim.

          Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
  must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
  asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
  Deadline.

         2.      Professional Fee Claims

           Professionals or other Entities asserting a Professional Fee Claim for services rendered
  through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
  503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
  granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in
  full to the extent provided in such order.

          Professionals or other Entities asserting a Professional Fee Claim for services rendered on
  or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
  serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
  designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
  order of the Bankruptcy Court, an application for final allowance of such Professional Fee
  Claim.

          Objections to any Professional Fee Claim must be Filed and served on the Debtor or
  Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
  Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
  will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
  Days of entry of the order approving such Allowed Professional Fee Claim.

          On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
  The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
  Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant
  Trust shall fund the Professional Fee Reserve on the Effective Date in an estimated amount
  determined by the Debtor in good faith prior to the Confirmation Date and that approximates the
  total projected amount of unpaid Professional Fee Claims on the Effective Date. Following the
  payment of all Allowed Professional Fee Claims, any excess funds in the Professional Fee
  Reserve shall be released to the Claimant Trust to be used for other purposes consistent with the
  Plan and the Claimant Trust Agreement.




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         3.      Priority Tax Claims

          On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
  such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
  on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
  Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
  and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
  an amount equal to the amount of such Allowed Priority Tax Claim, or (b) such other less
  favorable treatment as agreed to in writing by the Debtor and such Holder. Payment of statutory
  fees due pursuant to 28 U.S.C. § 1930(a)(6) will be made at all appropriate times until the entry
  of a final decree; provided, however, that the Debtor may prepay any or all such Claims at any
  time, without premium or penalty.

  B.     Classification and Treatment of Classified Claims and Equity Interests

         1.      Summary

          All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
  Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of
  the Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
  classified.

          The categories of Claims and Equity Interests listed below classify Claims and Equity
  Interests for all purposes including, without limitation, confirmation and distribution pursuant to
  the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
  a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim
  or Equity Interest qualifies within the description of that Class and will be deemed classified in a
  different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
  the description of such different Class. A Claim or Equity Interest is in a particular Class only to
  the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
  released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the
  Effective Date.




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      Summary of Classification and Treatment of Classified Claims and Equity Interests

   Class    Claim                                           Status          Voting Rights
   1        Jefferies Secured Claim                         Unimpaired      Deemed to Accept
   2        Frontier Secured Claim                          Impaired        Entitled to Vote
   3        Other Secured Claims                            Unimpaired      Deemed to Accept
   4        Priority Non-Tax Claim                          Unimpaired      Deemed to Accept
   5        Retained Employee Claim                         Unimpaired      Deemed to Accept
   6        PTO Claims                                      Unimpaired      Deemed to Accept
   7        Convenience Claims                              Impaired        Entitled to Vote
   8        General Unsecured Claims                        Impaired        Entitled to Vote
   9        Subordinated Claims                             Impaired        Entitled to Vote
   10       Class B/C Limited Partnership Interests         Impaired        Entitled to Vote
   11       Class A Limited Partnership Interests           Impaired        Entitled to Vote

           2.    Elimination of Vacant Classes

          Any Class that, as of the commencement of the Confirmation Hearing, does not have at
  least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
  voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
  voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
  satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

           3.    Impaired/Voting Classes

         Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
  Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
  accept or reject the Plan.

          Please refer to “Distribution of Confirmation Hearing Notice and Solicitation Package to
  Holders of Claims and Equity Interests” and “Instructions and Procedures for Voting” in
  ARTICLE I.C.7 and ARTICLE I.C.8 for a discussion of how the how votes on the Plan will be
  solicited and tabulated.

           4.    Unimpaired/Non-Voting Classes

         Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
  Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

           5.    Impaired/Non-Voting Classes

         There are no Classes under the Plan that will not receive or retain any property and no
  Classes are deemed to reject the Plan.


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         6.      Cramdown

         If any Class of Claims or Equity Interests is deemed to reject the Plan or does not vote to
  accept the Plan, the Debtor may (i) seek confirmation of the Plan under section 1129(b) of the
  Bankruptcy Code or (ii) amend or modify the Plan in accordance with the terms of the Plan and
  the Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or
  any class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice
  and a hearing, determine such controversy on or before the Confirmation Date.

  C.     Classification and Treatment of Claims and Equity Interests

         1.      Class 1 – Jefferies Secured Claim

                       Classification: Class 1 consists of the Jefferies Secured Claim.

                       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 1 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 1 Claim, at the election of the Debtor: (A) Cash equal
                        to the amount of such Allowed Class 1 Claim; (B) such other less
                        favorable treatment as to which the Debtor and the Holder of such
                        Allowed Class 1 Claim will have agreed upon in writing; or (C) such other
                        treatment rendering such Claim Unimpaired. Each Holder of an Allowed
                        Class 1 Claim will retain the Liens securing its Allowed Class 1 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 1
                        Claim is made as provided herein.

                       Impairment and Voting: Class 1 is Unimpaired, and the Holders of
                        Class 1 Claims are conclusively deemed to have accepted the Plan
                        pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
                        Holders of Class 1 Claims are not entitled to vote to accept or reject the
                        Plan and will not be solicited.

         2.      Class 2 – Frontier Secured Claim

                       Classification: Class 2 consists of the Frontier Secured Claim.

                       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 2 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 2 Claim: (A) Cash in an amount equal to all accrued
                        but unpaid interest on the Frontier Claim through and including the
                        Effective Date and (B) the New Frontier Note. The Holder of an Allowed
                        Class 2 Claim will retain the Liens securing its Allowed Class 2 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 2
                        Claim is made as provided herein.



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                     Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                      Claims are entitled to vote to accept or reject the Plan.

                      The New Frontier Note will include the following terms: (i) an extension
                      of the maturity date to December 31, 2022; (ii) quarterly interest only
                      payments; (iii) a payment on the New Frontier Note equal to fifty percent
                      of the outstanding principal on December 31, 2021, if the New Frontier
                      Note is not paid in full on or prior to such date; (iv) mandatory
                      prepayments from the proceeds of the sale of any collateral securing the
                      New Frontier Note; and (v) the payment of fees and expenses incurred in
                      negotiating the terms of the New Frontier Note.

         3.    Class 3 – Other Secured Claims

                     Classification: Class 3 consists of the Other Secured Claims.

                     Allowance and Treatment: On or as soon as reasonably practicable after
                      the later of (i) the Initial Distribution Date if such Class 3 Claim is
                      Allowed on the Effective Date or (ii) the date on which such Class 3
                      Claim becomes an Allowed Class 3 Claim, each Holder of an Allowed
                      Class 3 Claim will receive in full satisfaction, settlement, discharge and
                      release of, and in exchange for, its Allowed Claim 3 Claim, at the option
                      of the Debtor, or following the Effective Date, the Reorganized Debtor or
                      Claimant Trustee, as applicable, (i) Cash equal to such Allowed Other
                      Secured Claim, (ii) the collateral securing its Allowed Other Secured
                      Claim, plus postpetition interest to the extent required under Bankruptcy
                      Code Section 506(b), or (iii) such other treatment rendering such Claim
                      Unimpaired.

                     Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class
                      3 Claims are conclusively deemed to have accepted the Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                      Claims are not entitled to vote to accept or reject the Plan and will not be
                      solicited.

         4.    Class 4 – Priority Non-Tax Claims

                     Classification: Class 4 consists of the Priority Non-Tax Claims.

                     Allowance and Treatment: On or as soon as reasonably practicable after
                      the later of (i) the Initial Distribution Date if such Class 4 Claim is
                      Allowed on the Effective Date or (ii) the date on which such Class 4
                      Claim becomes an Allowed Class 4 Claim, each Holder of an Allowed
                      Class 4 Claim will receive in full satisfaction, settlement, discharge and
                      release of, and in exchange for, its Allowed Claim 4 Claim Cash equal to
                      the amount of such Allowed Class 4 Claim.


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                    Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class
                     4 Claims are conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                     Claims are not entitled to vote to accept or reject the Plan and will not be
                     solicited.

         5.    Class 5 – Retained Employee Claims

                    Classification: Class 5 consists of the Retained Employee Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the Effective Date, each Allowed Class 5 Claim will be Reinstated.

                    Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class
                     5 Claims are conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                     Claims are not entitled to vote to accept or reject the Plan and will not be
                     solicited.

         6.    Class 6 – PTO Claims

                    Classification: Class 6 consists of the PTO Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 6 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 6
                     Claim becomes an Allowed Class 6 Claim, each Holder of an Allowed
                     Class 6 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 6 Claim Cash equal to
                     the amount of such Allowed Class 6 Claim.

                    Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class
                     6 Claims are conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6
                     Claims are not entitled to vote to accept or reject the Plan and will not be
                     solicited.

                     “PTO Claims” means any Claim for paid time off in favor of any Debtor
                     employee in excess of the amount that would qualify as a Priority Non-
                     Tax Claim under section 507(a)(4) of the Bankruptcy Code.

         7.    Class 7 – Convenience Claims

                    Classification: Class 7 consists of the Convenience Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 7 Claim is

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                     Allowed on the Effective Date or (ii) the date on which such Class 7
                     Claim becomes an Allowed Class 7 Claim, each Holder of an Allowed
                     Class 7 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Class 7 Claim (1) the
                     treatment provided to Allowed Holders of Class 8 General Unsecured
                     Claims if the Holder of such Class 7 Claim makes the GUC Election or (2)
                     an amount in Cash equal to the lesser of (a) 85% of the Allowed amount
                     of such Holder’s Class 7 Claim or (b) such Holder’s Pro Rata share of the
                     Convenience Claims Cash Pool.

                    Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                     Claims are entitled to vote to accept or reject the Plan.

                     “Convenience Claim” means any prepetition, liquidated, and unsecured
                     Claim against the Debtor that as of the Confirmation Date is less than or
                     equal to $1,000,000 or any General Unsecured Claim that makes the
                     Convenience Class Election. For the avoidance of doubt, the Reduced
                     Employee Claims will be Convenience Claims.

                     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
                     available upon the Effective Date for distribution to Holders of
                     Convenience Claims under the Plan as set forth herein. Any Cash
                     remaining in the Convenience Claim Pool after all distributions on account
                     of Convenience Claims have been made will be transferred to the
                     Claimant Trust and administered as a Claimant Trust Asset.

                     By making the GUC Election on their Ballots, each Holder of a
                     Convenience Claim can elect the treatment provided to General Unsecured
                     Claims.

         8.    Class 8 – General Unsecured Claims

                    Classification: Class 8 consists of the General Unsecured Claims.

                    Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 8 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive (i) its Pro Rata share of the Claimant Trust Interests, (ii) such other
                     less favorable treatment as to which such Holder and the Claimant Trustee
                     shall have agreed upon in writing, or (iii) the treatment provided to
                     Allowed Holders of Class 7 Convenience Claims if the Holder of such
                     Class 8 General Unsecured Claim is eligible and makes the Convenience
                     Class Election.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of the Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and

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                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any General
                     Unsecured Claim, except with respect to any General Unsecured Claim
                     Allowed by Final Order of the Bankruptcy Court.

                    Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                     Claims are entitled to vote to accept or reject the Plan.

                     “General Unsecured Claim” means any prepetition Claim against the
                     Debtor that is not Secured and is not a/an: (a) Administrative Expense
                     Claim; (b) Professional Fee Claim; (c) Priority Tax Claim; (d) Priority
                     Non-Tax Claim; or (e) Convenience Claim.

                     “Convenience Class Election” means the option provided to each Holder
                     of a General Unsecured Claim that is a liquidated Claim as of the
                     Confirmation Date on their Ballot to elect to reduce their claim to
                     $1,000,000 and receive the treatment provided to Convenience Claims.

         9.    Class 9 – Subordinated Claims

                    Classification: Class 9 consists of the Subordinated Claims.

                    Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 9 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive either (i) the treatment provided to Allowed Class 8 Claims or (ii)
                     if such Allowed Class 9 Claim is subordinated to the Convenience Claims
                     and General Unsecured Claims pursuant to 11 U.S.C. § 510 or Final Order
                     of the Bankruptcy Court, its Pro Rata share of the Subordinated Claimant
                     Trust Interests or (ii) such other less favorable treatment as to which such
                     Holder and the Claimant Trustee shall have agreed upon in writing.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of the Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any Subordinated
                     Claim, except with respect to any Subordinated Claim Allowed by Final
                     Order of the Bankruptcy Court.

                    Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                     Claims are entitled to vote to accept or reject the Plan.

                     “Subordinated Claim” means any Claim that (i) is or may be subordinated
                     to the Convenience Claims and General Unsecured Claims pursuant to 11
                     U.S.C. § 510 or Final Order of the Bankruptcy Court or (ii) arises from a



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                      Class A Limited Partnership Interest or a Class B/C Limited Partnership
                      Interest.

         10.   Class 10 – Class B/C Limited Partnership Interests

                     Classification: Class 10 consists of the Class B/C Limited Partnership
                      Interests.

                     Treatment: On or as soon as reasonably practicable after the Effective
                      Date, each Holder of an Allowed Class 10 Claim, in full satisfaction,
                      settlement, discharge and release of, and in exchange for, such Claim shall
                      receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                      (ii) such other less favorable treatment as to which such Holder and the
                      Claimant Trustee shall have agreed upon in writing.

                      Notwithstanding anything to the contrary herein, after the Effective Date
                      and subject to the other provisions of the Plan, the Debtor, the
                      Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                      will retain any and all rights and defenses under bankruptcy or
                      nonbankruptcy law that the Debtor had with respect to any Class B/C
                      Limited Partnership Interest Claim, except with respect to any Class B/C
                      Limited Partnership Interest Claim Allowed by Final Order of the
                      Bankruptcy Court.

                     Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                      Claims are entitled to vote to accept or reject the Plan.

         11.   Class 11 – Class A Limited Partnership Interests

                     Classification:   Class 11 consists of the Class A Limited Partnership
                      Interests.

                     Treatment: On or as soon as reasonably practicable after the Effective
                      Date, each Holder of an Allowed Class 11 Claim, in full satisfaction,
                      settlement, discharge and release of, and in exchange for, such Claim shall
                      receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                      (ii) such other less favorable treatment as to which such Holder and the
                      Claimant Trustee shall have agreed upon in writing.

                      Notwithstanding anything to the contrary herein, after the Effective Date
                      and subject to the other provisions of the Plan, the Debtor, the
                      Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                      will retain any and all rights and defenses under bankruptcy or
                      nonbankruptcy law that the Debtor had with respect to any Class A
                      Limited Partnership Interest, except with respect to any Class A Limited
                      Partnership Interest Allowed by Final Order of the Bankruptcy Court.


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                       Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                        Claims are entitled to vote to accept or reject the Plan.

  D.     Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
  rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
  legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

  E.     Subordinated Claims

         The allowance, classification, and treatment of all Claims under the Plan shall take into
  account and conform to the contractual, legal, and equitable subordination rights relating thereto,
  whether arising under general principles of equitable subordination, section 510(b) of the
  Bankruptcy Code, or otherwise. Under section 510 of the Bankruptcy Code, upon written notice,
  the Debtor the Reorganized Debtor, and the Claimant Trustee reserve the right to re-classify, or
  to seek to subordinate, any Claim in accordance with any contractual, legal, or equitable
  subordination relating thereto, and the treatment afforded any Claim under the Plan that becomes
  a subordinated Claim at any time shall be modified to reflect such subordination.

  F.     Means for Implementation of the Plan

         1.      Summary

          The Plan will be implemented through (i) the Claimant Trust, (ii) the Litigation Sub-
  Trust, and (iii) the Reorganized Debtor.

          On the Effective Date, all Class A Limited Partnership Interests, including the Class A
  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
  Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in
  the Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-
  chartered limited liability company wholly-owned by the Claimant Trust. The Claimant Trust,
  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized
  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized
  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as
  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited
  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current
  Limited Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be
  managed consistent with the terms of the Reorganized Limited Partnership Agreement by New
  GP LLC. The sole managing member of New GP LLC will be the Claimant Trust, and the
  Claimant Trustee will be the sole officer of New GP LLC on the Effective Date.

         Following the Effective Date, the Claimant Trust will administer the Claimant Trust
  Assets pursuant to the Plan and the Claimant Trust Agreement, and the Litigation Trustee will
  pursue, if applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust
  Agreement and the Plan. The Reorganized Debtor will administer the Reorganized Debtor
  Assets and, if needed, with the utilization of a Sub-Servicer, which administration will include,
  among other things, managing the wind down of the Managed Funds.

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          Although the Reorganized Debtor will manage the wind down of the Managed Funds, it
  is currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume
  or assume and assign the contracts between the Debtor and certain Related Entities pursuant to
  which the Debtor provides shared services and sub-advisory services to those Related Entities.
  The Debtor believes that the continued provision of the services under such contracts will not be
  cost effective.

          The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
  Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
  with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds
  of the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as
  set forth in the Plan and the Claimant Trust Agreement.

          2.       The Claimant Trust11

                   (a)     Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

           On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
  Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
  the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
  Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
  transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its
  rights, title, and interest in and to all of the Claimant Trust Assets, and in accordance with section
  1141 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant
  Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
  Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust
  Agreement, and such transfer shall be exempt from any stamp, real estate transfer, mortgage
  from any stamp, transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets,
  excluding the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect
  to the Estate Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
  6012(b)(3), as well as the representative of the Estate appointed pursuant to section
  1123(b)(3)(B) of the Bankruptcy Code with respect to the Claimant Trust Assets. The Claimant
  Trustee shall also be responsible for resolving all Claims and Equity Interests in Class 8 through
  Class 11, under the supervision of the Claimant Trust Oversight Committee.

          On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
  Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
  Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably
  transfer and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be
  governed by the Claimant Trust Agreement and administered by the Claimant Trustee. The
  powers, rights, and responsibilities of the Claimant Trustee shall be specified in the Claimant

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    In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and
  the Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust
  Agreement, as applicable, shall control.


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  Trust Agreement and shall include the authority and responsibility to, among other things, take
  the actions set forth in Article IV of the Plan, subject to any required reporting to the Claimant
  Trust Oversight Committee as may be set forth in the Claimant Trust Agreement. The Claimant
  Trust shall hold and distribute the Claimant Trust Assets (including the proceeds from the Estate
  Claims, if any) in accordance with the provisions of the Plan and the Claimant Trust Agreement;
  provided that the Claimant Trust Oversight Committee may direct the Claimant Trust to reserve
  Cash from distributions as necessary to fund the Claimant Trust and Litigation Sub-Trust. Other
  rights and duties of the Claimant Trustee and the Claimant Trust Beneficiaries shall be as set
  forth in the Claimant Trust Agreement. After the Effective Date, neither the Debtor nor the
  Reorganized Debtor shall have any interest in the Claimant Trust Assets.

          The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
  administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
  Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
  and responsibility to, among other things, take the actions set forth in Article IV of the Plan,
  subject to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The
  Litigation Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in
  accordance with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall
  distribute the proceeds therefrom to the Claimant Trust for distribution. Other rights and duties
  of the Litigation Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

                 (a)     Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
  Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
  Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be
  overseen by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust
  Agreement and the Litigation Sub-Trust Agreement, as applicable.

          The Claimant Trust Oversight Committee will initially consist of five members. Four of
  the five members will be representatives of the members of the Committee: (i) the Redeemer
  Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The
  fifth member will be an independent, natural Person chosen by the Committee and reasonably
  acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
  replaced as set forth in the Claimant Trust Agreement. The identity of the members of the
  Claimant Trust Oversight Committee will be disclosed in the Plan Supplement.

          As set forth in the Claimant Trust Agreement, in no event will any member of the
  Claimant Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine,
  or otherwise be involved in any matters related to such member’s Claim.

          The independent member(s) of the Claimant Trust Oversight Committee may be entitled
  to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
  the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
  set forth in the Claimant Trust Agreement.



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                (b)     Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
  the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the
  oversight of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and
  holding the limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole
  member and manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its
  capacity as the sole member and manager of New GP LLC, overseeing the management and
  monetization of the Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited
  Partnership Agreement; and (v) administering the Disputed Claims Reserve and serving as
  Distribution Agent with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile
  and object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited
  Partnership Interests, and Class A Limited Partnership Interests, as provided for in the Plan and
  the Claimant Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries
  in accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
  engage in the conduct of a trade or business.

          The purpose of the Reorganized Debtor is discussed at greater length in Article IV.C of
  the Plan.

                (c)     Purpose of the Litigation Sub-Trust.

          The Litigation Sub-Trust shall be established for the purpose of investigating,
  prosecuting, settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be
  distributed by the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant
  Trust Beneficiaries pursuant to the terms of the Claimant Trust Agreement.

                (d)     Claimant Trust Agreement and Litigation Sub-Trust Agreement.

         The Claimant Trust Agreement generally will provide for, among other things:
                       the payment of the Claimant Trust Expenses;
                       the payment of other reasonable expenses of the Claimant Trust;
                        the retention of employees, counsel, accountants, financial advisors, or
  other professionals and the payment of their reasonable compensation;
                        the investment of Cash by the Claimant Trustee within certain limitations,
  including those specified in the Plan;
                       the orderly monetization of the Claimant Trust Assets;
                       litigation of any Causes of Action, which may include the prosecution,
  settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
  oversight by the Claimant Trust Oversight Committee;
                        the resolution of Claims and Equity Interests in Class 8 through Class 11,
  subject to reporting and oversight by the Claimant Trust Oversight Committee;

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                     the administration of the Disputed Claims Reserve and distributions to be
  made therefrom; and
                       the management of the Reorganized Debtor, including the utilization of a
  Sub-Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
  be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust
  Agreement. The Claimant Trustee may establish a reserve for the payment of Claimant Trust
  Expenses and shall periodically replenish such reserve, as necessary.

          In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
  Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
  Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
  Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
  to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
  (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
  objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
  without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
  Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
  the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
  resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
  of the Litigation Trustee. In all circumstances, the Claimant Trustee shall act in the best interests
  of the Claimant Trust Beneficiaries and with the same fiduciary duties as a chapter 7 trustee.

         The Litigation Sub-Trust Agreement generally will provide for, among other things:
                        the payment of other reasonable expenses of the Litigation Sub-Trust;
                       the retention of employees, counsel, accountants, financial advisors, or
  other professionals and the payment of their reasonable compensation; and
                       the investigation and prosecution of Estate Claims, which may include the
  prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to
  reporting and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable,
  may each employ, without further order of the Bankruptcy Court, employees and other
  professionals (including those previously retained by the Debtor and the Committee) to assist in
  carrying out the Trustees’ duties hereunder and may compensate and reimburse the reasonable
  expenses of these professionals without further Order of the Bankruptcy Court from the Claimant
  Trust Assets in accordance with the Plan and the Claimant Trust Agreement.

          The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
  reasonable and customary provisions that allow for indemnification by the Claimant Trust in
  favor of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee.
  Any such indemnification shall be the sole responsibility of the Claimant Trust and payable
  solely from the Claimant Trust Assets.



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                (e)     Compensation and Duties of Trustees.

        The salient terms of each Trustee’s employment, including such Trustee’s duties and
  compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
  Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
  amount consistent with that of similar functionaries in similar types of bankruptcy cases.

                (f)     Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
  of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
  Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
  and Reorganized Debtor’s documents, information, and work product relating to the Claimant
  Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall
  reasonably cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their
  prosecution of Causes of Action and in providing the Claimant Trustee and Litigation Trustee
  with copies of documents and information in the Debtor’s possession, custody, or control on the
  Effective Date that either Trustee indicates relates to the Estate Claims or other Causes of
  Action.

         The Debtor and Reorganized Debtor shall preserve all records, documents or work
  product (including all electronic records, documents, or work product) related to the Claims and
  Causes of Action, including Estate Claims, until the earlier of (a) the dissolution of the
  Reorganized Debtor or (b) termination of the Claimant Trust and Litigation Sub-Trust.

                (g)     United States Federal Income Tax Treatment of the Claimant Trust.

          Unless the IRS requires otherwise, for all United States federal income tax purposes, the
  parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a
  transfer of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims
  Reserve, if the Claimant Trustee makes the election described in Section 7 below) directly to the
  applicable Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust
  Beneficiaries to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant
  Trust Interests. Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for
  United States federal income tax purposes as the grantors and owners of their respective share of
  the Claimant Trust Assets. The foregoing treatment shall also apply, to the extent permitted by
  applicable law, for state and local income tax purposes.

                (h)     Tax Reporting.

          The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
  Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
  may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
  Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal
  income tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

          The Claimant Trustee shall be responsible for payment, out of the Claimant Trust Assets,
  of any taxes imposed on the Claimant Trust or its assets.

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          The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
  as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
  and such valuation shall be used consistently for all federal income tax purposes.

         The Claimant Trustee shall distribute such tax information to the applicable Claimant
  Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

                 (i)     Claimant Trust Assets.

          The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
  institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
  Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without
  any further order of the Bankruptcy Court and the Claimant Trustee shall have the exclusive
  right, on behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust
  Assets, except as otherwise provided in the Plan or in the Claimant Trust Agreement, without
  any further order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the
  Litigation Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon,
  settle, compromise, release, or withdraw any and all Estate Claims included in the Claimant
  Trust Assets without any further order of the Bankruptcy Court.

          From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3)
  and (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
  representative of the Estate with respect to any and all Claimant Trust Assets, including the
  Causes of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a)
  commence, pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action
  in any court or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust
  Assets.

                 (j)     Claimant Trust Expenses.

         From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
  business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
  professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
  professionals retained by such parties and entities from the Claimant Trust Assets, except as
  otherwise provided in the Claimant Trust Agreement.

                 (k)     Trust Distributions to Claimant Trust Beneficiaries.

          The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant
  Trust Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof,
  provided that such Trust Distributions or use is otherwise permitted under the terms of the Plan,
  the Claimant Trust Agreement, and applicable law.

                 (l)     Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
  invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
  the terms of the Claimant Trust Agreement; provided, however, that such investments are

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  investments permitted to be made by a “liquidating trust” within the meaning of Treasury
  Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines,
  rulings or other controlling authorities.

                 (m)     Dissolution of the Claimant Trust and Litigation Sub-Trust.

          The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
  dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the
  pursuit of Estate Claims is not likely to yield sufficient additional proceeds to justify further
  pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of
  Action (other than Estate Claims) is not likely to yield sufficient additional proceeds to justify
  further pursuit of such Causes of Action, (c) the Clamant Trustee determines that the pursuit of
  sales of other Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify
  further pursuit of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and
  Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all
  Distributions required to be made by the Claimant Trustee to the Claimant Trust Beneficiaries
  under the Plan have been made, but in no event shall the Claimant Trust be dissolved later than
  three years from the Effective Date unless the Bankruptcy Court, upon motion made within the
  six-month period before such third anniversary (and, in the event of further extension, by order
  of the Bankruptcy Court, upon motion made at least six months before the end of the preceding
  extension), determines that a fixed period extension (not to exceed two years, together with any
  prior extensions, without a favorable letter ruling from the Internal Revenue Service or an
  opinion of counsel that any further extension would not adversely affect the status of the
  Claimant Trust as a liquidating trust for federal income tax purposes) is necessary to facilitate or
  complete the recovery on, and liquidation of, the Claimant Trust Assets; provided, however, that
  each extension must be approved, upon a finding that the extension is necessary to facilitate or
  complete the recovery on, and liquidation of the Claimant Trust Assets, by the Bankruptcy Court
  within 6 months of the beginning of the extended term and no extension, together with any prior
  extensions, shall exceed three years without a favorable letter ruling from the Internal Revenue
  Service or an opinion of counsel that any further extension would not adversely affect the status
  of the Claimant Trust as a liquidating trust for federal income tax purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
  any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
  will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the
  Holders of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

         3.      The Reorganized Debtor

                 (a)     Corporate Existence

         The Debtor will continue to exist after the Effective Date, with all of the powers of
  partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
  Limited Partnership Agreement.




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                 (b)    Cancellation of Equity Interests and Release

          On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
  Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
  canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of,
  or based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
  obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s
  formation documents, including the Limited Partnership Agreement.

                 (c)    Issuance of New Partnership Interests

          On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
  new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
  New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
  the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
  The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
  of the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner,
  and New GP LLC, as general partner, will execute the Reorganized Limited Partnership
  Agreement and receive partnership interests in the Reorganized Debtor consistent with the terms
  of the Reorganized Limited Partnership Agreement.

                 (d)    Management of the Reorganized Debtor

           Subject to and consistent with the terms of the Reorganized Limited Partnership
  Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
  initial officers and employees of the Reorganized Debtor shall be selected by the Claimant
  Trustee. The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to
  or in lieu of the retention of officers and employees.

           As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will
  receive a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited
  liability company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New
  GP LLC (and any taxable income attributable to it) will be subject to corporate income taxation
  on a standalone basis, which may reduce the return to Claimants.

                 (e)    Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided in the Plan or the Confirmation Order, on or after the
  Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
  of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the
  Bankruptcy Code except with respect to such Liens, Claims, charges and other encumbrances
  that are specifically preserved under the Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
  for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
  the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to
  the Reorganized Debtor Assets.


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                 (f)     Purpose of the Reorganized Debtor

         Except as may be otherwise provided in the Plan or the Confirmation Order, the
  Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall
  include, for the avoidance of doubt, serving as the investment manager of the Managed Funds)
  and may use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any
  Claims with respect to the Reorganized Debtor Assets without supervision or approval by the
  Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The
  Reorganized Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

          Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
  after the Effective Date for Professionals’ fees, disbursements, expenses or related support
  services (including reasonable fees relating to the preparation of Professional fee applications) in
  the ordinary course of business and without application or notice to, or order of, the Bankruptcy
  Court

                 (g)   Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                  Reorganized Debtor Assets

          Any proceeds received by the Reorganized Debtor will be distributed to the Claimant
  Trust, as limited partner, and New GP LLC, as general partner, in the manner set forth in the
  Reorganized Limited Partnership Agreement. As set forth in the Reorganized Limited
  Partnership Agreement, the Reorganized Debtor may, from time to time distribute Reorganized
  Debtor Assets to the Claimant Trust either in Cash or in-kind, including to institute the wind-
  down and dissolution of the Reorganized Debtor. Any assets distributed to the Claimant Trust
  will be (i) deemed transferred in all respects as forth in Article IV.B.1 of the Plan, (ii) deemed
  Claimant Trust Assets, and (iii) administered as Claimant Trust Assets.

         4.      Company Action

          Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take
  any and all actions to execute, deliver, File or record such contracts, instruments, releases and
  other agreements or documents and take such actions as may be necessary or appropriate to
  effectuate and implement the provisions of the Plan, the Claimant Trust Agreement, the
  Reorganized Limited Partnership Agreement, or the New GP LLC Documents, as applicable, in
  the name of and on behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable,
  and in each case without further notice to or order of the Bankruptcy Court, act or action under
  applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, officers, or directors of the Debtor or the
  Reorganized Debtor, as applicable, or by any other Person.

          Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
  to the Plan that would otherwise require approval of the stockholders, partners, directors,
  managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
  the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
  after the Effective Date (as appropriate) pursuant to applicable law and without any requirement


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  of further action by the stockholders, partners, directors, managers or members of such Persons,
  or the need for any approvals, authorizations, actions or consents of any Person.

          All matters provided for in the Plan involving the legal or corporate structure of the
  Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate
  action required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in
  connection with the Plan, will be deemed to have occurred and will be in full force and effect in
  all respects, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, partners, directors, managers, or members of
  the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person.
  On the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
  applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
  transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
  consents, securities, certificates, resolutions and instruments contemplated by or described in the
  Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
  Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
  Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing
  actions.

         5.      Release of Liens, Claims and Equity Interests

          Except as otherwise provided in the Plan or in any contract, instrument, release or other
  agreement or document entered into or delivered in connection with the Plan, from and after the
  Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
  Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
  property of the Estate will be fully released, terminated, extinguished and discharged, in each
  case without further notice to or order of the Bankruptcy Court, act or action under applicable
  law, regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any
  Entity holding such Liens or Equity Interests extinguished pursuant to the prior sentence will,
  pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor,
  the Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
  release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
  the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
  doubt, this section is in addition to, and shall not be read to limit in any respects, Article IV.C.2
  of the Plan.

         6.      Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under the Plan and except as
  otherwise set forth in the Plan, on the Effective Date, all agreements, instruments, Securities and
  other documents evidencing any prepetition Claim or Equity Interest and any rights of any
  Holder in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The
  holders of or parties to such cancelled instruments, Securities, and other documentation will have
  no rights arising from or related to such instruments, Securities, or other documentation or the

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  cancellation thereof, except the rights provided for pursuant to the Plan, and the obligations of
  the Debtor thereunder or in any way related thereto will be fully released, terminated,
  extinguished and discharged, in each case without further notice to or order of the Bankruptcy
  Court, act or action under applicable law, regulation, order, or rule or any requirement of further
  action, vote or other approval or authorization by any Person. For the avoidance of doubt, this
  section is in addition to, and shall not be read to limit in any respects, Article IV.C.2 of the Plan.

         7.      Cancellation of Existing Instruments Governing Security Interests

  Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
  promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver
  to the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or
  other property of the Debtor held by such Holder, together with any termination statements,
  instruments of satisfaction, or releases of all security interests with respect to its Allowed Class 1
  or Allowed Class 2 Claim that may be reasonably required to terminate any related financing
  statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or
  documents.

         8.      Control Provisions

          To the extent that there is any inconsistency between the Plan as it relates to the Claimant
  Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
  Partnership Agreement, the Plan shall control.

         9.      Treatment of Vacant Classes

          Any Claim or Equity Interest in a Class considered vacant under Article III.C of the Plan
  shall receive no Plan Distributions.

         10.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any
  documents filed with the Plan Supplement, and any amendments, restatements, supplements, or
  other modifications to such documents, and any consents, waivers, or other deviations under or
  from any such documents, shall be incorporated herein by this reference (including to the
  applicable definitions in Article I of the Plan) and fully enforceable as if stated in full herein.

         11.     Highland Capital Management, L.P. Retirement Plan and Trust

          The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
  single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
  the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
  members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
  1301(a)(13), (14) with respect to the Pension Plan.

         Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
  Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal

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  Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
  standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
  premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
  in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
  Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
  the Reorganized Debtor and each of its controlled group members will be responsible for the
  liabilities imposed by Title IV of ERISA.

          Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
  Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order,
  or the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
  Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
  responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
  regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
  enforcing such liability or responsibility against any person or entity as a result of any of the
  provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves
  the right to contest any such liability or responsibility.

  A.     Treatment of Executory Contracts and Unexpired Leases

         1.      Assumption, Assignment, or Rejection of Executory Contracts and Unexpired
                 Leases

           Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or
  rejected by the Debtor pursuant to a Final Order of the Bankruptcy Court entered prior to the
  Effective Date; (ii) previously expired or terminated pursuant to its own terms or by agreement
  of the parties thereto; (iii) is the subject of a motion to assume filed by the Debtor on or before
  the Confirmation Date; (iv) contains a change of control or similar provision that would be
  triggered by the Chapter 11 Case (unless such provision has been irrevocably waived); or (v) is
  specifically designated as a contract or lease to be assumed in the Plan Supplement, on the
  Effective Date, each Executory Contract and Unexpired Lease shall be deemed rejected pursuant
  to section 365 of the Bankruptcy Code, without the need for any further notice to or action,
  order, or approval of the Bankruptcy Court, unless such Executory Contract or Unexpired Lease
  is listed in the Plan Supplement.

          At any time on or prior to the Effective Date, the Debtor may (i) amend the Plan
  Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
  or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as
  determined by the Debtor in consultation with the Committee, or the Reorganized Debtor, as
  applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
  above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
  provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
  Executory Contract or Unexpired Lease shall include all modifications, amendments,
  supplements, restatements, or other agreements related thereto, and all rights related thereto.
  Modifications, amendments, supplements, and restatements to prepetition Executory Contracts

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  and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall
  not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
  validity, priority, or amount of any Claims that may arise in connection therewith. To the extent
  applicable, no change of control (or similar provision) will be deemed to occur under any such
  Executory Contract or Unexpired Lease.

           If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
  Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that
  such counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed
  pursuant to the Plan are severable agreements that are not integrated with those Executory
  Contracts and/or Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking
  to contest this finding with respect to their Executory Contracts and/or Unexpired Leases must
  file a timely objection to the Plan on the grounds that their agreements are integrated and not
  severable, and any such dispute shall be resolved by the Bankruptcy Court at the Confirmation
  Hearing (to the extent not resolved by the parties prior to the Confirmation Hearing).

          Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
  certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
  headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
  accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),
  as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
  Unexpired Nonresidential Real Property Lease [D.I. 1122].

         2.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
  Effective Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
  asserting a Rejection Claim shall File a proof of claim within thirty days of the Effective Date.
  Any Rejection Claims that are not timely Filed pursuant to the Plan shall be forever disallowed
  and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
  objection to any Rejection Claim.

         Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
  accordance with Article III of the Plan.

         3.      Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
                 Leases

          Any monetary amounts by which any Executory Contract or Unexpired Lease to be
  assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
  Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the
  default amount in Cash as and when due in the ordinary course or on such other terms as the
  parties to such Executory Contracts may otherwise agree. The Debtor may serve a notice on the
  Committee and parties to Executory Contracts or Unexpired Leases to be assumed or assigned
  reflecting the Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory
  Contract or Unexpired Lease in connection with the Plan and setting forth the proposed cure
  amount (if any).

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         If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
  the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
  performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
  Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
  assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
  Code will be made following the entry of a Final Order or orders resolving the dispute and
  approving the assumption or assignment.

          Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
  Plan or otherwise and full payment of any applicable cure amounts pursuant to Article V.C of the
  Plan shall result in the full release and satisfaction of any cure amounts, Claims, or defaults,
  whether monetary or nonmonetary, including defaults of provisions restricting the change in
  control or ownership interest composition or other bankruptcy-related defaults, arising under any
  assumed or assigned Executory Contract or Unexpired Lease at any time prior to the effective
  date of assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts
  or Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including
  pursuant to the Confirmation Order, and for which any cure amounts have been fully paid
  pursuant to Article V.C of the Plan, shall be deemed disallowed and expunged as of the Effective
  Date without the need for any objection thereto or any further notice to or action, order, or
  approval of the Bankruptcy Court.

  B.     Provisions Governing Distributions

         1.      Dates of Distributions

          Except as otherwise provided in the Plan, on the Effective Date or as soon as reasonably
  practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
  Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity
  Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or
  Equity Interest against the Debtor shall receive the full amount of the distributions that the Plan
  provides for Allowed Claims or Allowed Equity Interests in the applicable Class and in the
  manner provided herein. If any payment or act under the Plan is required to be made or
  performed on a date that is not on a Business Day, then the making of such payment or the
  performance of such act may be completed on the next succeeding Business Day, but shall be
  deemed to have been completed as of the required date. If and to the extent there are Disputed
  Claims or Equity Interests, distributions on account of any such Disputed Claims or Equity
  Interests shall be made pursuant to the provisions provided in the Plan. Except as otherwise
  provided in the Plan, Holders of Claims and Equity Interests shall not be entitled to interest,
  dividends or accruals on the distributions provided for therein, regardless of whether
  distributions are delivered on or at any time after the Effective Date.

          Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be
  deemed fixed and adjusted pursuant to the Plan and none of the Debtor, the Reorganized Debtor,
  or the Claimant Trust will have liability on account of any Claims or Equity Interests except as
  set forth in the Plan and in the Confirmation Order. All payments and all distributions made by
  the Distribution Agent under the Plan shall be in full and final satisfaction, settlement and release
  of all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

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          At the close of business on the Distribution Record Date, the transfer ledgers for the
  Claims against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall
  be no further changes in the record holders of such Claims and Equity Interests. The Debtor, the
  Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective
  agents, successors, and assigns shall have no obligation to recognize the transfer of any Claims
  against the Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date
  and shall be entitled instead to recognize and deal for all purposes hereunder with only those
  record holders stated on the transfer ledgers as of the close of business on the Distribution
  Record Date irrespective of the number of distributions to be made under the Plan to such
  Persons or the date of such distributions.

         2.      Distribution Agent

         Except as provided herein, all distributions under the Plan shall be made by the Claimant
  Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
  Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
  Distribution Agent with respect to Claims in Class 1 through Class 7.

         The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
  Distribution Agent, shall not be required to give any bond or surety or other security for the
  performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
  Court.

         The Distribution Agent shall be empowered to (a) effect all actions and execute all
  agreements, instruments, and other documents necessary to perform its duties under the Plan;
  (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
  respect to its responsibilities; and (d) exercise such other powers as may be vested in the
  Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
  Distribution Agent to be necessary and proper to implement the provisions of the Plan.

          The Distribution Agent shall not have any obligation to make a particular distribution to a
  specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

         3.      Cash Distributions

         Distributions of Cash may be made by wire transfer from a domestic bank, except that
  Cash payments made to foreign creditors may be made in such funds and by such means as the
  Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

         4.      Disputed Claims Reserve

         On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
  maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts
  on account of any Disputed Claims.

         As used above, “Disputed Claims Reserve” means the appropriate reserve(s) or
  account(s) to be established on the Initial Distribution Date and maintained by the Claimant


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  Trustee for distributions on account of Disputed Claims that may subsequently become an
  Allowed Claim.

          “Disputed Claims Reserve Amount” means, for purposes of determining the Disputed
  Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a Disputed
  Claim at the time any distributions of Cash are made to the Holders of Allowed Claims. The
  amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall be:
  (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b) the
  amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized
  Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
  disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
  Court, including an order estimating the Disputed Claim.

         HarbourVest and Mr. Daugherty have objected to the mechanisms for calculating the
  amount of the Disputed Claims Reserve with respect to the HarbourVest Claim and the
  Daugherty Claim, respectively, and intend to press their objections at the hearing for
  confirmation of the Plan.

         5.      Distributions from the Disputed Claims Reserve

          The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
  Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
  pursuant to the terms of the Plan, within 30 days of the date on which such Disputed Claim
  becomes an Allowed Claim pursuant to the terms of the Plan, the Claimant Trustee shall
  distribute from the Disputed Claims Reserve to the Holder thereof any prior distributions, in
  Cash, that would have been made to such Allowed Claim if it had been Allowed as of the
  Effective Date. For the avoidance of doubt, each Holder of a Disputed Claim that subsequently
  becomes an Allowed Claim will also receive its Pro Rata share of the Claimant Trust Interests.
  If, upon the resolution of all Disputed Claims any Cash remains in the Disputed Claims Reserve,
  such Cash shall be transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

         6.      Rounding of Payments

          Whenever the Plan would otherwise call for, with respect to a particular Person, payment
  of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such
  fraction to the nearest whole dollar (up or down), with half dollars being rounded down. To the
  extent that Cash to be distributed under the Plan remains undistributed as a result of the
  aforementioned rounding, such Cash or stock shall be treated as “Unclaimed Property” under the
  Plan.

         7.      De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under the Plan, none of the Debtor,
  the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
  Distributions with a value of less than $100, unless a written request therefor is received by the
  Distribution Agent from the relevant recipient at the addresses set forth in Article VI.I of the
  Plan within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes
  an Allowed Claim. De minimis distributions for which no such request is timely received shall
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  revert to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim
  on account of missed distributions) shall be automatically deemed satisfied, discharged and
  forever barred, notwithstanding any federal or state escheat laws to the contrary.

         8.      Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in the Plan,
  all distributions shall be made pursuant to the terms of the Plan and the Confirmation Order.
  Except as otherwise provided in the Plan, distributions to any Holder of an Allowed Claim shall,
  to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
  determined for U.S. federal income tax purposes and then, to the extent the consideration
  exceeds such amount, to the remainder of such Claim comprising accrued but unpaid interest, if
  any (but solely to the extent that interest is an allowable portion of such Allowed Claim).

         9.      General Distribution Procedures

          The Distribution Agent shall make all distributions of Cash or other property required
  under the Plan, unless the Plan specifically provides otherwise. All Cash and other property held
  by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
  distribution under the Plan shall not be subject to any claim by any Person.

         10.     Address for Delivery of Distributions

          Distributions to Holders of Allowed Claims, to the extent provided for under the Plan,
  shall be made (1) at the addresses set forth in any written notices of address change delivered to
  the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed
  by such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3)
  at the addresses in the Debtor’s books and records.

          If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
  the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
  the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

         11.     Undeliverable Distributions and Unclaimed Property

          If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
  Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such
  Holder, and Distribution Agent shall not have any obligation to make any further distribution to
  the Holder, unless and until the Distribution Agent is notified in writing of such Holder’s then
  current address.

          Any Entity that fails to claim any Cash within six months from the date upon which a
  distribution is first made to such Entity shall forfeit all rights to any distribution under the Plan
  and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
  purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
  whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
  any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.


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         12.     Withholding Taxes

          In connection with the Plan, to the extent applicable, the Distribution Agent shall comply
  with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
  and all distributions made pursuant to the Plan shall be subject to such withholding and reporting
  requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
  withholding taxes from any Cash payments made with respect to Allowed Claims, as
  appropriate. As a condition to receiving any distribution under the Plan, the Distribution Agent
  may require that the Holder of an Allowed Claim entitled to receive a distribution pursuant to the
  Plan provide such Holder’s taxpayer identification number and such other information and
  certification as may be deemed necessary for the Distribution Agent to comply with applicable
  tax reporting and withholding laws. If a Holder fails to comply with such a request within one
  year, such distribution shall be deemed an unclaimed distribution. Any amounts withheld
  pursuant hereto shall be deemed to have been distributed to and received by the applicable
  recipient for all purposes of the Plan.

         13.     Setoffs

          The Distribution Agent may, to the extent permitted under applicable law, set off against
  any Allowed Claim and any distributions to be made pursuant to the Plan on account of such
  Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
  Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed
  Claim that are not otherwise waived, released or compromised in accordance with the Plan;
  provided, however, that neither such a setoff nor the allowance of any Claim hereunder shall
  constitute a waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of
  any such claims, rights and causes of action that the Debtor, the Reorganized Debtor, or
  Claimant Trustee possesses against such Holder. Any Holder of an Allowed Claim subject to
  such setoff reserves the right to challenge any such setoff in the Bankruptcy Court or any other
  court with jurisdiction with respect to such challenge.

         14.     Surrender of Cancelled Instruments or Securities

         As a condition precedent to receiving any distribution pursuant to the Plan on account of
  an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
  Article IV of the Plan, the Holder of such Claim will tender the applicable negotiable
  instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
  negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
  have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.

         15.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
  Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
  mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required
  by the Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the
  Distribution Agent of such loss, theft, mutilation, or destruction; and (ii) such security or
  indemnity as may be required by the Distribution Agent to hold such party harmless from any

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  damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed
  Claim or Equity Interest. Upon compliance with Article VI.O of the Plan as determined by the
  Distribution Agent, by a Holder of a Claim evidenced by a security or note, such Holder will, for
  all purposes under the Plan, be deemed to have surrendered such security or note to the
  Distribution Agent.

  C.     Procedures for Resolving Contingent, Unliquidated and Disputed Claims

         1.     Filing of Proofs of Claim

         Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
  unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
  required to file a Proof of Claim on or prior to the Bar Date.

         2.     Disputed Claims

          Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
  applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
  Claim or Disputed Equity Interest or any other appropriate motion or adversary proceeding with
  respect thereto, which shall be litigated to Final Order or, at the discretion of the Reorganized
  Debtor or Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without
  further order of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation
  Order, the Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or
  withdraw any objections to, any Disputed Claim or Disputed Equity Interests following the
  Effective Date without further notice to creditors (other than the Entity holding such Disputed
  Claim or Disputed Equity Interest) or authorization of the Bankruptcy Court, in which event such
  Claim or Equity Interest shall be deemed to be an Allowed Claim or Equity Interest in the
  amount compromised for purposes of the Plan.

         3.     Procedures Regarding Disputed Claims or Disputed Equity Interests

          No payment or other distribution or treatment shall be made on account of a Disputed
  Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity
  Interest becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim
  or Equity Interest, as applicable, is determined by order of the Bankruptcy Court or by
  stipulation between the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of
  the Claim or Equity Interest.

         4.     Allowance of Claims and Equity Interests

          Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
  Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
  distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

                        Allowance of Claims

         After the Effective Date and subject to the other provisions of the Plan, the Reorganized
  Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and

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  defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
  Except as expressly provided in the Plan or in any order entered in the Chapter 11 Case prior to
  the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
  Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
  Interest is deemed Allowed under the Plan or the Bankruptcy Code or the Bankruptcy Court has
  entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
  allowing such Claim or Equity Interest.

                         Estimation

           Subject to the other provisions of the Plan, the Debtor, prior to the Effective Date, and the
  Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
  time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
  Interest pursuant to applicable law and in accordance with the Plan and (b) any contingent or
  unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of
  the Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157
  and 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or
  unliquidated Claim, including during the litigation concerning any objection to any Claim or
  Equity Interest or during the pendency of any appeal relating to any such objection. All of the
  aforementioned objection, estimation and resolution procedures are cumulative and not exclusive
  of one another. Claims or Equity Interests may be estimated and subsequently compromised,
  settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court. The rights
  and objections of all parties are reserved in connection with any such estimation proceeding.

                         Disallowance of Claims

          Any Claims or Equity Interests held by Entities from which property is recoverable under
  sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
  avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
  Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and
  holders of such Claims or Interests may not receive any distributions on account of such Claims
  or Interests until such time as such Causes of Action against that Entity have been settled or a
  Bankruptcy Court Order with respect thereto has been entered and all sums due, if any, to the
  Reorganized Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or
  paid to the Reorganized Debtor or the Claimant Trust, as applicable.

       EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
  DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,
  ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
  DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
  WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
  THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
  RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
  LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL
  ORDER.



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  D.     Effectiveness of the Plan

         1.      Conditions Precedent to the Effective Date

          The Effective Date of the Plan will be conditioned upon the satisfaction or waiver by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
  Article VIII.B of the Plan of the following:

             the Plan and the Plan Documents, including the Claimant Trust Agreement and the
              Reorganized Limited Partnership Agreement, and all schedules, documents,
              supplements and exhibits to the Plan shall have been Filed in form and substance
              reasonably acceptable to the Debtor and the Committee.

             The Confirmation Order shall have been entered, not subject to stay pending appeal,
              and shall be in form and substance reasonably acceptable to the Debtor and the
              Committee. The Confirmation Order shall provide that, among other things, (i) the
              Debtor, the Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee are
              authorized to take all actions necessary or appropriate to effectuate and consummate
              the Plan, including, without limitation, (a) entering into, implementing, effectuating,
              and consummating the contracts, instruments, releases, and other agreements or
              documents created in connection with or described in the Plan, (b) assuming the
              Executory Contracts and Unexpired Leases set forth in the Plan Supplement, (c)
              making all distributions and issuances as required under the Plan; and (d) entering
              into any transactions as set forth in the Plan Documents; (ii) the provisions of the
              Confirmation Order and the Plan are nonseverable and mutually dependent; (iii) the
              implementation of the Plan in accordance with its terms is authorized; (iv) pursuant to
              section 1146 of the Bankruptcy Code, the delivery of any deed or other instrument or
              transfer order, in furtherance of, or in connection with the Plan, including any deeds,
              bills of sale, or assignments executed in connection with any disposition or transfer of
              Assets contemplated under the Plan, shall not be subject to any Stamp or Similar Tax;
              and (v) the vesting of the Claimant Trust Assets in the Claimant Trust and the
              Reorganized Debtor Assets in the Reorganized Debtor, in each case as of the
              Effective Date free and clear of liens and claims to the fullest extent permissible
              under applicable law pursuant to section 1141(c) of the Bankruptcy Code except with
              respect to such Liens, Claims, charges and other encumbrances that are specifically
              preserved under the Plan upon the Effective Date.

             All documents and agreements necessary to implement the Plan, including without
              limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust
              Agreement, and the New GP LLC Documents, in each case in form and substance
              reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
              for delivery, and (b) been effected by, executed by, or otherwise deemed binding
              upon, all Entities party thereto and shall be in full force and effect. All conditions
              precedent to such documents and agreements shall have been satisfied or waived
              pursuant to the terms of such documents or agreements.


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             All authorizations, consents, actions, documents, approvals (including any
              governmental approvals), certificates and agreements necessary to implement the
              Plan, including, without limitation, the Reorganized Limited Partnership Agreement,
              the Claimant Trust Agreement, and the New GP LLC Documents, shall have been
              obtained, effected or executed and delivered to the required parties and, to the extent
              required, filed with the applicable governmental units in accordance with applicable
              laws and any applicable waiting periods shall have expired without any action being
              taken or threatened by any competent authority that would restrain or prevent
              effectiveness or consummation of the Restructuring.

             The Professional Fee Reserve shall be funded pursuant to the Plan in an amount
              determined by the Debtor in good faith.

         2.      Waiver of Conditions

          The conditions to effectiveness of the Plan set forth in Article VIII of the Plan (other than
  that the Confirmation Order shall have been entered) may be waived in whole or in part by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee), without notice, leave or order of the Bankruptcy Court or any formal action
  other than proceeding to confirm or effectuate the Plan. The failure to satisfy or waive a
  condition to the Effective Date may be asserted by the Debtor regardless of the circumstances
  giving rise to the failure of such condition to be satisfied. The failure of the Debtor to exercise
  any of the foregoing rights will not be deemed a waiver of any other rights, and each right will be
  deemed an ongoing right that may be asserted at any time by the Debtor, the Reorganized
  Debtor, or the Claimant Trust, as applicable.

         3.      Effect of Non-Occurrence of Conditions to Effectiveness

         Unless waived as set forth in Article VIII.B of the Plan, if the Effective Date of the Plan
  does not occur within twenty calendar days of entry of the Confirmation Order, the Debtor may
  withdraw the Plan and, if withdrawn, the Plan shall be of no further force or effect.

         4.      Dissolution of the Committee

          On the Effective Date, the Committee will dissolve, and the members of the Committee
  and the Committee’s Professionals will cease to have any role arising from or relating to the
  Chapter 11 Case, except in connection with final fee applications of Professionals for services
  rendered prior to the Effective Date (including the right to object thereto). The Professionals
  retained by the Committee and the members thereof will not be entitled to assert any fee claims
  for any services rendered to the Committee or expenses incurred in the service of the Committee
  after the Effective Date, except for reasonable fees for services rendered, and actual and
  necessary costs incurred, in connection with any applications for allowance of Professional Fees
  pending on the Effective Date or filed and served after the Effective Date pursuant to the Plan.
  Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or Committee’s
  Professionals to represent either of the Trustees or to be compensated or reimbursed per the Plan
  and the Claimant Trust Agreement in connection with such representation.


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  E.     Exculpation, Injunction, and Related Provisions

         1.      General

          Notwithstanding anything contained in the Plan to the contrary, the allowance,
  classification and treatment of all Allowed Claims and Equity Interests and their respective
  distributions and treatments under the Plan shall take into account the relative priority and rights
  of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
  equitable subordination rights relating thereto whether arising under general principles of
  equitable subordination, section 510 of the Bankruptcy Code, or otherwise.

         For purposes of the following provisions:

             “Exculpated Parties” means, collectively, (i) the Debtor and its successors and
              assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii)
              the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee, (vi)
              the members of the Committee (in their official capacities), (vii) the Professionals
              retained by the Debtor and the Committee in the Chapter 11 Case, (viii) the
              CEO/CRO; and (ix) the Related Persons of each of the parties listed in (iv) through
              (viii); provided, however, that, for the avoidance of doubt, none of James Dondero,
              Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and managed
              entities), the Charitable Donor Advised Fund, L.P. (and any of its subsidiaries,
              including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
              (and any of its subsidiaries, members, and managed entities), Highland Capital
              Management Fund Advisors, L.P. (and any of its subsidiaries and managed entities),
              NexBank, SSB (and any of its subsidiaries), the Hunter Mountain Investment Trust
              (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee
              acting for the trust), or Grant Scott is included in the term “Exculpated Party.”

             “Released Parties” means, collectively, (i) the Independent Directors; (ii) Strand
              (solely from the date of the appointment of the Independent Directors through the
              Effective Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the
              Committee (in their official capacities), (vi) the Professionals retained by the Debtor
              and the Committee in the Chapter 11 Case; and (vii) the Employees.

             “Protected Parties” means, collectively, (i) the Debtor and its successors and assigns,
              direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
              Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors,
              (vi) the Committee, (vii) the members of the Committee (in their official capacities),
              (viii) the Claimant Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi)
              the Litigation Trustee, (xii) the members of the Claimant Trust Oversight Committee
              (in their official capacities), (xiii) New GP LLC, (xiv) the Professionals retained by
              the Debtor and the Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi)
              the Related Persons of each of the parties listed in (iv) through (xv); provided,
              however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
              NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the
              Charitable Donor Advised Fund, L.P. (and any of its subsidiaries, including CLO

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              Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd. (and any of its
              subsidiaries, members, and managed entities), NexBank, SSB (and any of its
              subsidiaries), Highland Capital Management Fund Advisors, L.P. (and any of its
              subsidiaries and managed entities), the Hunter Mountain Investment Trust (or any
              trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
              the trust), or Grant Scott is included in the term “Protected Party.”

         2. Discharge of Claims

          To the fullest extent provided under section 1141(d)(1)(A) and other applicable
  provisions of the Bankruptcy Code, except as otherwise expressly provided by the Plan or the
  Confirmation Order, all consideration distributed under the Plan will be in exchange for, and in
  complete satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of
  any kind or nature whatsoever against the Debtor or any of its Assets or properties, and
  regardless of whether any property will have been distributed or retained pursuant to the Plan on
  account of such Claims or Equity Interests. Except as otherwise expressly provided by the Plan
  or the Confirmation Order, upon the Effective Date, the Debtor and its Estate will be deemed
  discharged and released under and to the fullest extent provided under section 1141(d)(1)(A) and
  other applicable provisions of the Bankruptcy Code from any and all Claims and Equity Interests
  of any kind or nature whatsoever, including, but not limited to, demands and liabilities that arose
  before the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or
  502(i) of the Bankruptcy Code.

         3.      Exculpation

          Subject in all respects to Article XII.D of the Plan, to the maximum extent permitted by
  applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
  exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
  Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in
  connection with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
  negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
  confirmation of, the Plan; (iii) the funding or consummation of the Plan (including the Plan
  Supplement) or any related agreements, instruments, or other documents, the solicitation of votes
  on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be issued
  pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan
  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any
  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);
  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated
  Party arising out of or related to acts or omissions that constitute bad faith, fraud, gross
  negligence, criminal misconduct, or willful misconduct or (b) Strand or any Employee other than
  with respect to actions taken by such Entities from the date of appointment of the Independent
  Directors through the Effective Date. This exculpation shall be in addition to, and not in
  limitation of, all other releases, indemnities, exculpations, any other applicable law or rules, or
  any other provisions of the Plan, including Article IV.C.2 of the Plan, protecting such Exculpated
  Parties from liability.



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         4.      Releases by the Debtor

          On and after the Effective Date, each Released Party is deemed to be, hereby
  conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by
  the Debtor and the Estate, in each case on behalf of themselves and their respective successors,
  assigns, and representatives, including, but not limited to, the Claimant Trust and the Litigation
  Sub-Trust from any and all Causes of Action, including any derivative claims, asserted on behalf
  of the Debtor, whether known or unknown, foreseen or unforeseen, matured or unmatured,
  existing or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtor or the
  Estate would have been legally entitled to assert in their own right (whether individually or
  collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor or other
  Person.

          Notwithstanding anything contained herein to the contrary, the foregoing release does not
  release: (i) any obligations of any party under the Plan or any document, instrument, or
  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee
  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect
  to any confidentiality provisions or covenants restricting competition in favor of the Debtor
  under any employment agreement with a current or former employee of the Debtor, (iv) any
  Avoidance Actions, or (v) any Causes of Action arising from willful misconduct, criminal
  misconduct, actual fraud, or gross negligence of such applicable Released Party as determined by
  Final Order of the Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to Article
  IX.D of the Plan (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
  Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
  (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
  Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any
  Employee, including a Senior Employee, shall be deemed null and void and of no force and
  effect (1) if there is more than one member of the Claimant Trust Oversight Committee who does
  not represent entities holding a Disputed or Allowed Claim (the “Independent Members”), the
  Claimant Trustee and the Independent Members by majority vote determine or (2) if there is only
  one Independent Member, the Independent Member after discussion with the Claimant Trustee,
  determines (in each case after discussing with the full Claimant Trust Oversight Committee) that
  such Employee (regardless of whether the Employee is then currently employed by the Debtor,
  the Reorganized Debtor, or the Claimant Trustee):

             sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
              attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation
              Sub-Trust, or any of their respective employees or agents, or any Released Party on or
              in connection with any claim or cause of action arising prior to the Effective Date,

             has taken any action that, impairs or harms the value of the Claimant Trust Assets or
              the Reorganized Debtor Assets, or

             (x) upon the request of the Claimant Trustee, has failed to provide reasonable
              assistance in good faith to the Claimant Trustee or the Reorganized Debtor with

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              respect to (1) the monetization of the Claimant Trust Assets or Reorganized Debtor
              Assets, as applicable, or (2) the resolution of Claims, or (y) has taken any action that
              impedes or frustrates the Claimant Trustee or the Reorganized Debtor with respect to
              any of the foregoing.

  Provided, however, that the release provided pursuant to Article IX.D of the Plan will vest and
  the Employee will be indefeasibly released pursuant to Article IX.D of the Plan if such
  Employee’s release has not been deemed null and void and of no force and effect on or prior to
  the date that is the date of dissolution of the Claimant Trust pursuant to the Claimant Trust
  Agreement.

          By executing the Senior Employee Stipulation embodying this release, each Senior
  Employee acknowledges and agrees, without limitation, to the terms of this release and the
  tolling agreement contained in the Senior Employee Stipulation.

         The provisions of this release and the execution of a Senior Employee Stipulation will not
  in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
  Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought
  against the Employee by a third party, or (iii) assisting other persons in defending themselves
  from any Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims
  brought by the Litigation Trustee and not collection or other actions brought by the Claimant
  Trustee).

          In addition to the obligations set forth in Article IX.D of the Plan, as additional
  consideration for the foregoing releases, the Senior Employees will waive their rights to certain
  deferred compensation owed to them by the Debtor. As of the date hereof, the total deferred
  compensation owed to the Senior Employees was approximately $3.9 million, which will be
  reduced by approximately $2.2 million to approximately $1.7 million. That reduction is
  composed of a reduction of (i) approximately $560,000 in the aggregate in order to qualify as
  Convenience Claims, (ii) approximately $510,000 in the aggregate to reflect the Convenience
  Claims treatment of 85% (and may be lower depending on the number of Convenience Claims),
  and (iii) of approximately $1.15 million in the aggregate to reflect an additional reduction of
  40%.

          As of the date of this Disclosure Statement, the Debtor has not identified any Causes of
  Action against any Released Parties. However, as set forth above, during the Chapter 11 Case,
  the Committee was granted sole standing to investigate and pursue the Estate Claims, which may
  include Causes of Action against certain of the Released Parties. As of the date of this
  Disclosure Statement, the Committee has not identified any Estate Claims against any Released
  Parties. The Debtor currently believes that there are no material Estate Claims or other Causes
  of Action against any Released Party.

         5.      Preservation of Rights of Action

                         Maintenance of Causes of Action

         Except as otherwise provided in the Plan, after the Effective Date, the Reorganized
  Debtor or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as
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  appropriate, any and all Causes of Action included in the Reorganized Debtor Assets or Claimant
  Trust Assets, as applicable, whether existing as of the Petition Date or thereafter arising, in any
  court or other tribunal including, without limitation, in an adversary proceeding Filed in the
  Chapter 11 Case and, as the successors in interest to the Debtor and the Estate, may, and will
  have the exclusive right to, enforce, sue on, settle, compromise, transfer or assign (or decline to
  do any of the foregoing) any or all of the Causes of Action without notice to or approval from the
  Bankruptcy Court.

                         Preservation of All Causes of Action Not Expressly Settled or Released

          Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
  is expressly waived, relinquished, released, compromised or settled in the Plan or any Final
  Order (including, without limitation, the Confirmation Order), such Cause of Action is expressly
  reserved for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable
  (including, without limitation, Causes of Action not specifically identified or of which the
  Debtor may presently be unaware or that may arise or exist by reason of additional facts or
  circumstances unknown to the Debtor at this time or facts or circumstances that may change or
  be different from those the Debtor now believes to exist) and, therefore, no preclusion doctrine,
  including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,
  claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such
  Causes of Action as a consequence of the confirmation, effectiveness, or consummation of the
  Plan based on the Disclosure Statement, the Plan or the Confirmation Order, except where such
  Causes of Action have been expressly released in the Plan or any other Final Order (including,
  without limitation, the Confirmation Order). In addition, the right of the Reorganized Debtor or
  the Claimant Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a
  plaintiff, defendant or an interested party, against any Entity, including, without limitation, the
  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

         6.      Injunction

          Upon entry of the Confirmation Order, all holders of Claims and Equity Interests and
  other parties in interest, along with their respective Related Persons, shall be enjoined from
  taking any actions to interfere with the implementation or consummation of the Plan.

          Except as expressly provided in the Plan, the Confirmation Order, or a separate order of
  the Bankruptcy Court, all Entities who have held, hold, or may hold Claims against or Equity
  Interests in the Debtor (whether proof of such Claims or Equity Interests has been filed or not
  and whether or not such Entities vote in favor of, against or abstain from voting on the Plan or
  are presumed to have accepted or deemed to have rejected the Plan) and other parties in interest,
  along with their respective Related Persons, are permanently enjoined, on and after the Effective
  Date, with respect to such Claims and Equity Interests, from (i) commencing, conducting, or
  continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
  (including any proceeding in a judicial, arbitral, administrative or other forum) against or
  affecting the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant Trust
  or the property of any of the Debtor, the Independent Directors, the Reorganized Debtor, or the
  Claimant Trust, (ii) enforcing, levying, attaching (including any prejudgment attachment),
  collecting, or otherwise recovering by any manner or means, whether directly or indirectly, any

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  judgment, award, decree, or order against the Debtor, the Independent Directors, the
  Reorganized Debtor, or the Claimant Trust or the property of any of the Debtor, the Independent
  Directors, the Reorganized Debtor, or the Claimant Trust, (iii) creating, perfecting, or otherwise
  enforcing in any manner, directly or indirectly, any encumbrance of any kind against the Debtor,
  the Independent Directors, the Reorganized Debtor, or the Claimant Trust or the property of any
  of the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant Trust, (iv)
  asserting any right of setoff, directly or indirectly, against any obligation due from the Debtor,
  the Independent Directors, the Reorganized Debtor, or the Claimant Trust or against property or
  interests in property of any of the Debtor, the Independent Directors, the Reorganized Debtor, or
  the Claimant Trust; and (v) acting or proceeding in any manner, in any place whatsoever, that
  does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to any successors of the Debtor, the
  Reorganized Debtor, and the Claimant Trust and their respective property and interests in
  property.

          Subject in all respects to Article XII. D of the Plan, no Entity may commence or
  pursue a claim or cause of action of any kind against any Protected Party that arose from
  or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of the
  Plan or property to be distributed under the Plan, the wind down of the business of the
  Debtor or Reorganized Debtor, the administration of the Claimant Trust, or the
  transactions in furtherance of the foregoing without the Bankruptcy Court (i) first
  determining, after notice, that such claim or cause of action represents a colorable claim of
  bad faith, criminal misconduct, willful misconduct, fraud, or gross negligence against a
  Protected Party and (ii) specifically authorizing such Entity to bring such claim against any
  such Protected Party; provided, however, the foregoing will not apply to Strand or any
  Employee other than with respect to actions taken by such Entities from the date of
  appointment of the Independent Directors through the Effective Date. As set forth in
  Article XI of the Plan, the Bankruptcy Court will have sole jurisdiction to adjudicate any
  such claim for which approval of the Bankruptcy Court to commence or pursue has been
  granted.

         7.      Term of Injunctions or Stays

          Unless otherwise provided in the Plan, the Confirmation Order, or in a Final Order of the
  Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Case
  under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
  Confirmation Date, shall remain in full force and effect until the later of the Effective Date and
  the date indicated in the order providing for such injunction or stay.

         8.      Continuance of January 9 Order

         Unless otherwise provided in the Plan, the Confirmation Order, or in a Final Order of the
  Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
  Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
  and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on


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  January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date until
  the dissolution of each of the Claimant Trust and the Litigation Trust.

  F.     Article XII.D of the Plan

          Article XII.D of the Plan provides that, notwithstanding anything in the Plan to the
  contrary, nothing in the Plan will affect or otherwise limit or release any non-Debtor Entity’s
  (including any Exculpated Party’s) duties or obligations, including any contractual and
  indemnification obligations, to the Debtor, the Reorganized Debtor, or any other Entity whether
  arising under contract, statute, or otherwise.

  G.     Binding Nature of Plan

          On the Effective Date, and effective as of the Effective Date, the Plan, including, without
  limitation, the provisions in Article IX of the Plan, will bind, and will be deemed binding upon,
  all Holders of Claims against and Equity Interests in the Debtor and such Holder’s respective
  successors and assigns, to the maximum extent permitted by applicable law, notwithstanding
  whether or not such Holder will receive or retain any property or interest in property under the
  Plan. All Claims and Debts shall be fixed and adjusted pursuant to the Plan. The Plan shall also
  bind any taxing authority, recorder of deeds, or similar official for any county, state,
  Governmental Unit or parish in which any instrument related to the Plan or related to any
  transaction contemplated thereby is to be recorded with respect to nay taxes of the kind specified
  in Bankruptcy Code section 1146(a)

  H.     Statutory Requirements for Confirmation of the Plan

          At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan
  satisfies the requirements of section 1129 of the Bankruptcy Code. The Debtor believes that: (i)
  the Plan satisfies or will satisfy all of the statutory requirements of chapter 11 of the Bankruptcy
  Code; (ii) the Debtor has complied or will have complied with all of the requirements of chapter
  11 of the Bankruptcy Code; and (iii) the Plan has been proposed in good faith. Specifically, the
  Debtor believes that the Plan satisfies or will satisfy the applicable confirmation requirements of
  section 1129 of the Bankruptcy Code set forth below.

                        The Plan complies with the applicable provisions of the Bankruptcy Code;

                        The Debtor has complied and will comply with the applicable provisions
                         of the Bankruptcy Code;

                        The Plan has been proposed in good faith and not by any means forbidden
                         by law;

                        Any payment made or promised under the Plan for services or for costs
                         and expenses in, or in connection with, the Debtor’s bankruptcy case, or in
                         connection with the Plan and incident to the case, has been or will be
                         disclosed to the Bankruptcy Court, and any such payment: (i) made
                         before the confirmation of the Plan is reasonable; or (ii) is subject to the


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                        approval of the Bankruptcy Court as reasonable if it is to be fixed after
                        confirmation of the Plan;

                       Each Class of Claims or Equity Interests that is entitled to vote on the Plan
                        will have accepted the Plan, or the Plan can be confirmed without the
                        approval of such voting Class pursuant to section 1129(b) of the
                        Bankruptcy Code;

                       Except to the extent that the Holder of a particular Claim will agree to a
                        different treatment of its Claim, the Plan provides that Administrative
                        Expense Claims and Priority Claims will be paid in full in Cash on the
                        Effective Date, or as soon thereafter as is reasonably practicable;

                       Confirmation of the Plan will not likely be followed by the liquidation or
                        the need for further financial reorganization of the Debtor or any successor
                        thereto under the Plan;

                       The Debtor has paid or will pay all fees payable under section 1930 of title
                        28, and the Plan provides for the payment of all such fees on the Effective
                        Date; and

                       The Plan provides for the continuation after the Effective Date of payment
                        of all retiree benefits, if applicable.

         1.      Best Interests of Creditors Test

          Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires
  that the bankruptcy court find, as a condition to confirmation of a chapter 11 plan, that each
  holder of a claim or equity interest in each impaired class: (i) has accepted the plan; or (ii)
  among other things, will receive or retain under the plan property of a value, as of the effective
  date of the plan, that is not less than the amount that such Person would receive if the debtor
  were liquidated under chapter 7 of the Bankruptcy Code. To make these findings, the
  Bankruptcy Court must: (a) estimate the net Cash proceeds (the “Liquidation Proceeds”) that a
  chapter 7 trustee would generate if the Debtor’s Chapter 11 Case were converted to a chapter 7
  case on the Effective Date and the assets of such Debtor’s Estate were liquidated; (b) determine
  the distribution (the “Liquidation Distribution”) that each non-accepting Holder of a Claim or
  Equity Interest would receive from the Liquidation Proceeds under the priority scheme dictated
  in chapter 7; and (c) compare each Holder’s Liquidation Distribution to the distribution under the
  Plan that such Holder would receive if the Plan were confirmed and consummated.

         2.      Liquidation Analysis

          Any liquidation analysis, including the estimation of Liquidation Proceeds and
  Liquidation Distributions, with respect to the Debtor (the “Liquidation Analysis”) is subject to
  numerous assumptions and there can be no guarantee that the Liquidation Analysis will be
  accurate. No order or finding has been entered by the Bankruptcy Court estimating or otherwise
  fixing the amount of Claims and Equity Interests at the projected amounts of Allowed Claims

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  and Equity Interests set forth in the Liquidation Analysis. In preparing the Liquidation Analysis,
  the Debtor has projected an amount of Allowed Claims and Equity Interests that represents its
  best estimate of the chapter 7 liquidation dividend to Holders of Allowed Claims and Equity
  Interests. The estimate of the amount of Allowed Claims and Equity Interests set forth in the
  Liquidation Analysis should not be relied on for any other purpose, including, without limitation,
  any determination of the value of any Plan Distribution to be made on account of Allowed
  Claims and Equity Interests under the Plan and Disclosure Statement.

         The full Liquidation Analysis is attached hereto as Exhibit C.

           Furthermore, any chapter 7 trustee appointed in a chapter 7 liquidation would have to
  confront all of the issues described in this Disclosure Statement, including the prepetition
  litigation claims. This process would be significantly time-consuming and costly, and reduce
  any recoveries available to the Debtor’s Estate. The Debtor believes that liquidation under
  chapter 7 would result in (i) smaller distributions being made to creditors than those provided for
  in the Plan because of the additional administrative expenses involved in the appointment of a
  trustee and attorneys and other professionals to assist such trustee, (ii) additional expenses and
  claims, some of which would be entitled to priority, which would be generated during the
  liquidation and from the rejection of executory contracts in connection with the cessation of the
  Debtor’s operations, and (iii) the failure to realize greater value from all of the Debtor’s assets.

         Therefore, the Debtor believes that confirmation of the Plan will provide each Holder of a
  Claim with a greater recovery than such Holder would receive pursuant to the liquidation of the
  Debtor under chapter 7 of the Bankruptcy Code.

         3.      Feasibility

          Section 1129(a)(11) of the Bankruptcy Code requires that the bankruptcy court find that
  confirmation is not likely to be followed by the liquidation, or the need for further financial
  reorganization of the Debtor, or any successor to the Debtor, unless the plan contemplates such
  liquidation or reorganization. For purposes of demonstrating that the Plan meets this
  “feasibility” standard, the Debtor has analyzed the ability of the Claimant Trust and the
  Reorganized Debtor to meet their obligations under the Plan and to retain sufficient liquidity and
  capital resources to conduct their business. A copy of the financial projections prepared by the
  Debtor is attached hereto as Exhibit C.

          The Debtor believes that the Plan meets the feasibility requirement set forth in section
  1129(a)(11) of the Bankruptcy Code. In connection with the development of the Plan and for the
  purposes of determining whether the Plan satisfies this feasibility standard, the Debtor analyzed
  their ability to satisfy their financial obligations while maintaining sufficient liquidity and capital
  resources. The Debtor believes that its available Cash and any additional proceeds from the
  Debtor’s Assets will be sufficient to allow the Debtor, the Reorganized Debtor, and the Claimant
  Trust, as applicable, to make all payments required to be made under the Plan. Accordingly, the
  Debtor believes that the Plan is feasible.




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         4.      Valuation

         In order to provide information and full disclosure to parties in interest regarding the
  Debtor’s assets, the Debtor estimates that its value and the total value of its Assets, as of
  September 30, 2020, was approximately $328.3 million.

         5.      Acceptance by Impaired Classes

          The Bankruptcy Code requires, as a condition to confirmation, that, except as described
  in the following section, each class of claims or equity interests that is impaired under a plan,
  accepts the plan. A class that is not “impaired” under a plan is deemed to have accepted the plan
  and, therefore, solicitation of acceptances with respect to such class is not required. A class is
  “impaired” unless the plan: (i) leaves unaltered the legal, equitable, and contractual rights to
  which such claim or interest entitles the holder of such claim or interest; or (ii) notwithstanding
  any contractual provision or applicable law that entitles the holder of such claim or interest to
  demand or receive accelerated payment of such claim or interest after the occurrence of a
  default— (a) cures any such default that occurred before or after the commencement of the
  Chapter 11 Case, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
  Code or of a kind that section 365(b)(2) expressly does not require to be cured; (b) reinstates the
  maturity of such claim or interest as such maturity existed before such default; (c) compensates
  the holder of such claim or interest for any damages incurred as a result of any reasonable
  reliance by such holder on such contractual provision or such applicable law; (d) if such claim or
  such interest arises from any failure to perform a nonmonetary obligation, other than a default
  arising from failure to operate a nonresidential real property lease subject to section
  365(b)(1)(A), compensates the holder of such claim or such interest (other than the debtor or an
  insider) for any actual pecuniary loss incurred by such holder as a result of such failure; and (e)
  does not otherwise alter the legal, equitable, or contractual rights to which such claim or interest
  entitles the holder of such claim or interest.

          Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of
  impaired claims as acceptance by holders of at least two-thirds in dollar amount and more than
  one-half in number of claims in that class, but for that purpose counts only those who actually
  vote to accept or to reject the plan and are not insiders. Section 1126(d) of the Bankruptcy Code
  defines acceptance of a plan by a class of equity interests as acceptance by holders of at least
  two-thirds in amount of the allowed interests of such class. Thus, a class of claims will have
  voted to accept the plan only if two-thirds in amount and a majority in number actually voting
  cast their ballots in favor of acceptance. Section 1126(d) of the Bankruptcy Code, except as
  otherwise provided in section 1126(e) of the Bankruptcy Code, defines acceptance of a plan by a
  class of impaired equity interests as acceptance by holders of at least two-thirds in amount of
  equity interests in that class actually voting to accept or to reject the plan.

          Pursuant to section 1129 of the Bankruptcy Code, the Holders of Claims or Equity
  Interests in any voting class must accept the Plan for the Plan to be confirmed without
  application of the “fair and equitable test” to such Class, and without considering whether the
  Plan “discriminates unfairly” with respect to such Class, as both standards are described herein.



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         6.      Confirmation Without Acceptance by Impaired Classes

          Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan
  even if less than all impaired classes entitled to vote on the plan have accepted it, provided that
  the plan has been accepted by at least one impaired class of claims. Pursuant to section 1129(b)
  of the Bankruptcy Code, notwithstanding an impaired Class’s rejection or deemed rejection of
  the Plan, the Plan will be confirmed, at the Debtor’s request, in a procedure commonly known as
  “cram down,” so long as the Plan does not “discriminate unfairly” and is “fair and equitable”
  with respect to each Class of Claims or Equity Interests that is impaired under, and has not
  accepted, the Plan.

         7.      No Unfair Discrimination

          This test applies to classes of claims or equity interests that are of equal priority and are
  receiving different treatment under the Plan. The test does not require that the treatment be the
  same or equivalent, but that such treatment be “fair.” In general, bankruptcy courts consider
  whether a plan discriminates unfairly in its treatment of classes of claims of equal rank (e.g.,
  classes of the same legal character). Bankruptcy courts will take into account a number of
  factors in determining whether a plan discriminates unfairly and, accordingly, a plan could treat
  two classes of unsecured creditors differently without unfairly discriminating against either class.

         8.      Fair and Equitable Test

         This test applies to classes of different priority and status (e.g., secured versus unsecured)
  and includes the general requirement that no class of claims receive more than 100% of the
  amount of the allowed claims in such class. As to the dissenting class, the test sets different
  standards depending on the type of claims or equity interests in such class:

          The condition that a plan be “fair and equitable” to a non-accepting Class of Secured
  Claims includes the requirements that: (a) the Holders of such Secured Claims retain the liens
  securing such Claims to the extent of the Allowed amount of the Claims, whether the property
  subject to the liens is retained by the debtor or transferred to another entity under the Plan; and
  (b) each Holder of a Secured Claim in the Class receives deferred Cash payments totaling at least
  the Allowed amount of such Claim with a present value, as of the Effective Date of the Plan, at
  least equivalent to the value of the secured claimant’s interest in the debtor’s property subject to
  the liens.

          The condition that a plan be “fair and equitable” with respect to a non-accepting Class of
  unsecured Claims includes the requirement that either: (a) the plan provides that each Holder of a
  Claim of such Class receive or retain on account of such Claim property of a value, as of the
  Effective Date of the plan, equal to the allowed amount of such Claim; or (b) the Holder of any
  Claim or Equity Interest that is junior to the Claims of such Class will not receive or retain under
  the plan on account of such junior Claim or Equity Interest any property.

          The condition that a plan be “fair and equitable” to a non accepting Class of Equity
  Interests includes the requirements that either: (a) the plan provides that each Holder of an
  Equity Interest in that Class receives or retains under the plan, on account of that Equity Interest,
  property of a value, as of the Effective Date of the plan, equal to the greater of (i) the allowed
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  amount of any fixed liquidation preference to which such Holder is entitled, (ii) any fixed
  redemption price to which such Holder is entitled, or (iii) the value of such interest; or (b) if the
  Class does not receive such an amount as required under (a), no Class of Equity Interests junior
  to the non-accepting Class may receive a distribution under the plan.

        To the extent that any class of Claims or Class of Equity Interests rejects the Plan, the
  Debtor reserves the right to seek (a) confirmation of the Plan under section 1129(b) of the
  Bankruptcy Code and/or (b) modify the Plan in accordance with Article XIII.C of the Plan.

          The Debtor believes that the Plan and the treatment of all Classes of Claims and Equity
  Interests under the Plan satisfy the foregoing requirements for non-consensual confirmation of
  the Plan.

                                             ARTICLE IV.
                                             RISK FACTORS

   ALL HOLDERS OF CLAIMS AND EQUITY INTERESTS SHOULD READ AND
  CONSIDER CAREFULLY THE RISK FACTORS SET FORTH HEREIN, AS WELL
  AS ALL OTHER INFORMATION SET FORTH OR OTHERWISE REFERENCED
    IN THIS DISCLOSURE STATEMENT. THESE FACTORS SHOULD NOT BE
        REGARDED AS CONSTITUTING THE ONLY RISKS PRESENT IN
     CONNECTION WITH THE DEBTOR’S BUSINESS OR THE PLAN AND ITS
                          IMPLEMENTATION.

  A.     Certain Bankruptcy Law and Other Considerations

         1.      Parties in Interest May Object to the Debtor’s Classification of Claims and Equity
                 Interests, or Designation as Unimpaired.

          Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity
  interest in a particular class only if such claim or equity interest is substantially similar to the
  other claims or equity interests in such class. The Debtor believes that the classification of
  Claims and Equity Interests under the Plan complies with the requirements set forth in the
  Bankruptcy Code because the Debtor created Classes of Claims and Equity Interests, each
  encompassing Claims or Equity Interests, as applicable, that are substantially similar to the other
  Claims and Equity Interests in each such Class. Nevertheless, there can be no assurance that the
  Holders of Claims or Equity Interests or the Bankruptcy Court will reach the same conclusion.

         There is also a risk that the Holders of Claims or Equity Interests could object to the
  Debtor’s designation of Claims or Equity Interests as Unimpaired, and the Bankruptcy Court
  could reach the same conclusion.

         2.      The Debtor May Not Be Able to Secure Confirmation of the Plan.

         Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a
  chapter 11 plan and requires, among other things, findings by the bankruptcy court that: (i) such
  plan “does not unfairly discriminate” and is “fair and equitable” with respect to any non-
  accepting classes; (ii) confirmation of such plan is not likely to be followed by a liquidation or a

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  need for further financial reorganization unless such liquidation or reorganization is
  contemplated by the plan; and (c) the value of distributions to Holders of Claims within a
  particular class under such plan will not be less than the value of distributions such holders
  would receive if the debtor was liquidated under chapter 7 of the Bankruptcy Code.

         There can be no assurance that the Bankruptcy Court will confirm the Plan. The
  Bankruptcy Court could decline to confirm the Plan if it found that any of the statutory
  requirements for confirmation had not been met.

          If the Plan is not confirmed by the Bankruptcy Court, there can be no assurance that any
  alternative plan of reorganization or liquidation would be on terms as favorable to Holders of
  Claims as the terms of the Plan. In addition, there can be no assurance that the Debtor will be
  able to successfully develop, prosecute, confirm and consummate an alternative plan that is
  acceptable to the Bankruptcy Court and the Debtor’s creditors.

         3.      The Conditions Precedent to the Effective Date of the Plan May Not Occur.

          As more fully set forth in Article IX of the Plan, the Effective Date of the Plan is subject
  to a number of conditions precedent. If such conditions precedent are not waived or not met, the
  Effective Date will not take place.

         4.      Continued Risk Following Effectiveness.

          Even if the Effective Date of the Plan occurs, the Debtor, the Reorganized Debtor, and
  Claimant Trust will continue to face a number of risks, including certain risks that are beyond its
  control, such as changes in assets, asset values, and increasing expenses. Some of these concerns
  and effects typically become more acute when a case under the Bankruptcy Code continues for a
  protracted period without indication of how or when the case may be completed. As a result of
  these risks and others, there is no guarantee that a chapter 11 plan of liquidation reflecting the
  Plan will achieve the Debtor’s stated goals.

           In addition, at the outset of the Chapter 11 Case, the Bankruptcy Code provides the
  Debtor with the exclusive right to propose the Plan and prohibits creditors and others from
  proposing a plan. The Debtor will have retained the exclusive right to propose the Plan upon
  filing its petition. If the Bankruptcy Court terminates that right, however, or the exclusivity
  period expires, there could be a material adverse effect on the Debtor’s ability to achieve
  confirmation of the Plan in order to achieve the Debtor’s stated goals.

         5.      The Effective Date May Not Occur.

         Although the Debtor believes that the Effective Date may occur quickly after the
  Confirmation Date, there can be no assurance as to such timing or as to whether the Effective
  Date will, in fact, occur.




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         6.      The Chapter 11 Case May Be Converted to Cases Under Chapter 7 of the
                 Bankruptcy Code

           If the Bankruptcy Court finds that it would be in the best interest of creditors and/or the
  debtor in a chapter 11 case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a
  case under chapter 7 of the Bankruptcy Code. In such event, a chapter 7 trustee would be
  appointed or elected to liquidate the debtor’s assets for distribution in accordance with the
  priorities established by the Bankruptcy Code. The Debtor believes that liquidation under
  chapter 7 would result in significantly smaller distributions being made to creditors than those
  provided for in the Plan because of (a) the likelihood that the assets would have to be sold or
  otherwise disposed of in a disorderly fashion over a short period of time, rather than selling the
  assets in an orderly and controlled manner, (b) additional administrative expenses involved in the
  appointment of a chapter 7 trustee, and (c) additional expenses and Claims, some of which would
  be entitled to priority, that would be generated during the liquidation.

         7.      Claims Estimation

         There can be no assurance that the estimated Claim amounts set forth herein are correct,
  and the actual amount of Allowed Claims may differ from the estimates. The estimated amounts
  are subject to certain risks, uncertainties, and assumptions. Should one or more of these risks or
  uncertainties materialize, or should underlying assumptions prove incorrect, the actual amount of
  Allowed Claims may vary from those estimated herein.

         8.      The Financial Information Contained Herein is Based on the Debtor’s Books and
                 Records and, Unless Otherwise Stated, No Audit was Performed.

          The financial information contained in this Disclosure Statement has not been
  audited. In preparing this Disclosure Statement, the Debtor relied on financial data derived from
  their books and records that was available at the time of such preparation. Although the Debtor
  has used its reasonable business judgment to ensure the accuracy of the financial information
  provided in this Disclosure Statement and, while the Debtor believes that such financial
  information fairly reflects its financial condition, the Debtor is unable to warrant or represent that
  the financial information contained herein and attached hereto is without inaccuracies.

  B.     Risks Related to Recoveries under the Plan

         1.      The Reorganized Debtor and/or Claimant Trust May Not Be Able to Achieve the
                 Debtor’s Projected Financial Results

          The Reorganized Debtor or Claimant Trust, as applicable, may not be able to achieve
  their projected financial results. The Financial Projections represent the best estimate of the
  Debtor’s future financial performance, which is necessarily based on certain assumptions
  regarding the anticipated future performance of the Reorganized Debtor or Claimant Trust, as
  well as the United States and world economies in general, and the investment industry in which
  the Debtor operates. The Debtor’s Financial Projections include key assumptions on (i) target
  asset monetization values, (ii) timing of asset monetization, and (iii) costs to effectuate the Plan.
  In terms of achieving target asset monetization values, the Debtor faces issues including
  investment assets with cross-ownership across related entities and challenges associated with

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  collecting notes due from affiliates. The Debtor’s Financial Projections anticipate that all
  investment assets will be sold by 2022, which may be at risk due to the semi-liquid or illiquid
  nature of the Debtor’s assets, as well as general market conditions, including the sustained
  impact of COVID-19. Costs are based on estimates and may increase with delays or any other
  unforeseen factor. If the Reorganized Debtor or Claimant Trust do not achieve their projected
  financial results, the recovery for Claimant Trust Beneficiaries may be negatively affected and
  the Claimant Trust may lack sufficient liquidity after the Effective Date.

         2.      Claim Contingencies Could Affect Creditor Recoveries

          The estimated Claims and projected creditor recoveries set forth in this Disclosure
  Statement are based on various assumptions the actual amount of Allowed Claims may differ
  from the estimates. Should one or more of the underlying assumptions ultimately prove
  incorrect, the actual Allowed amounts of Claims may vary materially from the estimated Claims
  contained in this Disclosure Statement. Moreover, the Debtor cannot determine with any
  certainty at this time, the number or amount of Claims that will ultimately be Allowed. Such
  differences may materially and adversely affect, among other things, the percentage recoveries to
  Holders of Allowed Claims under the Plan.

         3.      If Approved, the Debtor Release Could Release Claims Against Potential
                 Defendants of Estate Causes of Action With Respect to Which the Claimant Trust
                 Would Otherwise Have Recourse

          The Claimant Trust Assets will include, among other things, Causes of Action, including
  Estate Claims that will be assigned to the Litigation Sub-Trust. The Committee’s investigation
  of potential Estate Claims is still ongoing. Because the Committee has not concluded its
  investigation as of the date hereof, and such investigation will be transferred to the Litigation
  Trustee, there is no certainty of whether there are viable Estate Claims against any of the
  Released Parties. In the event there are viable Estate Claims against any of the Released Parties,
  such claims cannot be pursued for the ultimate benefit of Claimant Trust Beneficiaries if the
  Debtor Release is approved.

  C.     Investment Risk Disclaimer

         1.      Investment Risks in General.

         The Reorganized Debtor is and will remain a registered investment adviser under the
  Investment Advisers Act of 1940, and the Reorganized Debtor will continue advising the
  Managed Funds. No guarantee or representation is made that the Reorganized Debtor’s or the
  Managed Funds’ investment strategy will be successful, and investment results may vary
  substantially over time.

         2.      General Economic and Market Conditions and Issuer Risk.

        Any investment in securities carries certain market risks. Investments by the
  Reorganized Debtor, the Managed Funds, or the Claimant Trust may decline in value for any
  number of reasons over which none of the Managed Funds, the Reorganized Debtor, the
  Claimant Trust, or the Claimant Trustee may have control, including changes in the overall

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  market and other general economic and market conditions, such as interest rates, availability of
  credit, inflation rates, economic uncertainty, changes in laws, currency exchange rates and
  controls and national, international political circumstances (including wars and security
  operations), and acts of God (including pandemics like COVID-19). The value of the Managed
  Funds or the assets held by the Reorganized Debtor or Claimant Trust may also decline as a
  result of factors pertaining to particular securities held by the Managed Funds, Reorganized
  Debtor, or Claimant Trust, as applicable, such as perception or changes in the issuer’s
  management, the market for the issuer’s products or services, sources of supply, technological
  changes within the issuer’s industry, the availability of additional capital and labor, general
  economic conditions, political conditions, acts of God, and other similar conditions. All of these
  factors may affect the level and volatility of security prices and the liquidity and the value of the
  securities held by the Managed Fund, Reorganized Debtor, or Claimant Trust. Unexpected
  volatility or illiquidity could impair the Managed Funds’, Reorganized Debtor’s, or Claimant
  Trust’s profitability or result in it suffering losses.

  D.     Disclosure Statement Disclaimer

         1.      The Information Contained Herein is for Disclosure Purposes Only.

         The information contained in this Disclosure Statement is for purposes of disclosure in
  connection with the Plan and may not be relied upon for any other purposes.

         2.      This Disclosure Statement was Not Approved by the SEC.

         Neither the SEC nor any state regulatory authority has passed upon the accuracy or
  adequacy of this Disclosure Statement, or the exhibits or the statements contained herein, and
  any representation to the contrary is unlawful.

         3.      This Disclosure Statement Contains Forward-Looking Statements.

          This Disclosure Statement contains “forward-looking statements” within the meaning of
  the Private Securities Litigation Reform Act of 1995. Such statements consist of any statement
  other than a recitation of historical fact and can be identified by the use of forward looking
  terminology such as “may,” “expect,” “anticipate,” “estimate” or “continue” or the negative
  thereof or other variations thereon or comparable terminology. The reader is cautioned that all
  forward-looking statements are necessarily speculative and there are certain risks and
  uncertainties that could cause actual events or results to differ materially from those referred to
  in such forward-looking statements.

         4.      No Legal or Tax Advice is Provided to You by This Disclosure Statement.

         This Disclosure Statement is not legal or tax advice to you. The contents of this
  Disclosure Statement should not be construed as legal, business or tax advice, and are not
  personal to any person or entity. Each Holder of a Claim or an Equity Interest should consult his
  or her own legal counsel and accountant with regard to any legal, tax and other matters
  concerning his or her Claim or Equity Interest. This Disclosure Statement may not be relied
  upon for any purpose other than as a disclosure of certain information to determine how to vote
  on the Plan or object to confirmation of the Plan.

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         5.      No Admissions Are Made by This Disclosure Statement.

          The information and statements contained in this Disclosure Statement will neither (i)
  constitute an admission of any fact or liability by any Entity (including, without limitation, the
  Debtor) nor (ii) be deemed evidence of the tax or other legal effects of the Plan on the Debtor,
  the Reorganized Debtor, the Claimant Trust, Holders of Allowed Claims or Equity Interests, or
  any other parties in interest.

         6.      No Reliance Should Be Placed on Any Failure to Identify Litigation Claims or
                 Projected Objections.

          No reliance should be placed on the fact that a particular litigation claim or projected
  objection to a particular Claim or Equity Interest is, or is not, identified in this Disclosure
  Statement. The Debtor or the Reorganized Debtor or Claimant Trustee, as applicable, may seek
  to investigate, file and prosecute litigation rights and claims against any third parties and may
  object to Claims after the Confirmation Date or Effective Date of the Plan irrespective of
  whether the Disclosure Statement identifies such litigation claims or objections to Claims or
  Equity Interests.

         7.      Nothing Herein Constitutes a Waiver of Any Right to Object to Claims or Equity
                 Interests or Recover Transfers and Assets.

          The Debtor, the Reorganized Debtor, the Claimant Trustee, or any party in interest, as the
  case may be, reserve any and all rights to object to that Holder’s Allowed Claim regardless of
  whether any Claims or Causes of Action of the Debtor or its Estate are specifically or generally
  identified herein.

         8.      The Information Used Herein was Provided by the Debtor and was Relied Upon
                 by the Debtor’s Advisors.

          Counsel to and other advisors retained by the Debtor have relied upon information
  provided by the Debtor in connection with the preparation of this Disclosure Statement.
  Although counsel to and other advisors retained by the Debtor have performed certain limited
  due diligence in connection with the preparation of this Disclosure Statement, they have not
  verified independently the information contained herein.

         9.      The Disclosure Statement May Contain Inaccuracies.

          The statements contained in this Disclosure Statement are made by the Debtor as of the
  date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
  that date does not imply that there has not been a change in the information set forth herein since
  that date. While the Debtor has used its reasonable business judgment to ensure the accuracy of
  all of the information provided in this Disclosure Statement and in the Plan, the Debtor
  nonetheless cannot, and does not, confirm the current accuracy of all statements appearing in this
  Disclosure Statement. Further, the information contained in this Disclosure Statement is as of
  the date of the Disclosure Statement and does not address events that may occur after such date.
  The Debtor may update this Disclosure Statement but is not required to do so.


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         10.     No Representations Made Outside the Disclosure Statement Are Authorized.

          No representations concerning or relating to the Debtor, the Chapter 11 Case, or the Plan
  are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
  Disclosure Statement. You should promptly report unauthorized representations or inducements
  to the counsel to the Debtor and the U.S. Trustee.

                               ARTICLE V.
         ALTERNATIVES TO CONFIRMATION AND EFFECTIVENESS OF THE PLAN

          If no chapter 11 plan can be confirmed, the Chapter 11 Case may be converted to a case
  under chapter 7 of the Bankruptcy Code in which case, a trustee would be elected or appointed to
  liquidate the Debtor’s assets. If the Plan is not confirmed by the Bankruptcy Court, there can be
  no assurance that any alternative plan of reorganization or liquidation would be on terms as
  favorable to Holders of Claims as the terms of the Plan. In addition, there can be no assurance
  that the Debtor will be able to successfully develop, prosecute, confirm and consummate an
  alternative plan that is acceptable to the Bankruptcy Court and the Debtor’s creditors.

                                    ARTICLE VI.
                  U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

          Implementation of the Plan will have federal, state, local or foreign tax consequences to
  the Debtor and Holders of Equity Interests as well as Holders of Claims. No tax opinion or
  ruling has been sought or will be obtained with respect to any tax consequences of the Plan, and
  the following discussion does not constitute and is not intended to constitute either a tax opinion
  or tax advice to any person.

         The following discussion summarizes certain U.S. federal income tax consequences of
  the Plan to the Debtor and to Holders of Claims. This discussion assumes that each Holder of
  Claims is for United States federal income tax purposes:

                       An individual who is a citizen or resident of the United States for federal
                        income tax purposes;

                       a corporation (or other entity treated as a corporation for United States
                        federal income tax purposes) created or organized in or under the laws of
                        the United States, any state thereof or the District of Columbia;

                       any other person that is subject to U.S. federal income taxation on a net
                        income basis.

                       an estate the income of which is subject to United States federal income
                        tax without regard to its source; or

                       a trust (1) that is subject to the primary supervision of a United States
                        court and the control of one or more United States persons or (2) that has a
                        valid election in effect under applicable treasury regulations to be treated
                        as a United States person.
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         This discussion also assumes that each Holder holds the Claims as capital assets under
  Section 1221 of the Internal Revenue Code.

          The summary provides general information only and does not purport to address all of the
  federal income tax consequences that may be applicable to the Debtor or to any particular Holder
  of Claims in light of such Holder’s own individual circumstances. In particular, the summary
  does not address the federal income tax consequences of the Plan to Holders of Claims that may
  be subject to special rules, such as non-U.S. persons, insurance companies, financial institutions,
  regulated investment companies, broker-dealers, persons who acquired Claims as part of a
  straddle, hedge, conversion transaction or other integrated transaction, or persons who acquired
  Claims in connection with the performance of services; persons who hold Claims through a
  partnership or other pass-through entity and tax-exempt organizations. The summary does not
  address foreign, state, local, estate or gift tax consequences of the Plan, nor does it address the
  federal income tax consequences to Holders of Equity Interests.

         This summary is based on the Internal Revenue Code of 1986, as amended (the “Internal
  Revenue Code”), the final, temporary and proposed Treasury regulations promulgated
  thereunder, judicial decisions and administrative rulings and pronouncements of the Internal
  Revenue Service (“IRS”), all as in effect on the date hereof and all of which are subject to
  change (possibly with retroactive effect) by legislation, judicial decision or administrative action.
  Moreover, due to a lack of definitive authority, substantial uncertainties exist with respect to
  various tax consequences of the Plan.

       THE TAX CONSEQUENCES TO THE HOLDERS OF CLAIMS OR EQUITY
  INTERESTS MAY VARY BASED UPON THE INDIVIDUAL CIRCUMSTANCES OF
  EACH HOLDER. MOREOVER, THE TAX CONSEQUENCES OF CERTAIN ASPECTS
  OF THE PLAN ARE UNCERTAIN DUE TO THE LACK OF APPLICABLE LEGAL
  PRECEDENT AND THE POSSIBILITY OF CHANGES IN THE APPLICABLE TAX
  LAW. THERE CAN BE NO ASSURANCE THAT THE IRS WILL NOT CHALLENGE
  ANY OF THE TAX CONSEQUENCES DESCRIBED HEREIN, OR THAT SUCH A
  CHALLENGE, IF ASSERTED, WOULD NOT BE SUSTAINED. ACCORDINGLY,
  EACH HOLDER OF A CLAIM OR EQUITY INTEREST SHOULD CONSULT WITH
  ITS OWN TAX ADVISOR REGARDING THE FOREIGN, FEDERAL, STATE AND
  LOCAL TAX CONSEQUENCES OF THE PLAN.

  A.     Consequences to the Debtor

          It is anticipated that the consummation of the Plan will not result in any federal income
  tax liability to the Debtor. The Debtor is a partnership for federal income tax purposes.
  Therefore, the income and loss of the Debtor is passed-through to the Holders of its Equity
  Interests, and the Debtor does not pay federal income tax.

         1.      Cancellation of Debt

         Generally, the discharge of a debt obligation of a debtor for an amount less than the
  adjusted issue price (in most cases, the amount the debtor received on incurring the obligation,
  with certain adjustments) creates cancellation of indebtedness (“COD”) income that must be
  included in the debtor’s income. Due to the nature of the Impaired Claims, it is anticipated that
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  the Debtor will not recognize any material amount of COD income. If any such COD income is
  recognized, it will be passed-through to the Holders of its Equity Interests, and the Holders of
  such Equity Interest generally will be required to include such amounts in income, unless a
  Holder is entitled to exclude such amounts from income under Section 108 of the Internal
  Revenue Code, based on the Holder’s individual circumstances.

         2.      Transfer of Assets

          Pursuant to the Plan, the Debtor’s assets (including the Claimant Trust Assets and
  Reorganized Debtor Assets) will be transferred directly or indirectly to the Claimant Trust. For
  federal income tax purposes, any such assets transferred to the Claimant Trust will be deemed to
  have been transferred to the Claimant Trust Beneficiaries followed by the transfer by such
  Holders to the Claimant Trust of such assets in exchange for the respective Holders’ beneficial
  interests in the Claimant Trust. The Claimant Trust thereafter will be treated as a grantor trust
  for federal income tax purposes. See U.S. Federal Income Tax Treatment of the Claimant Trust,
  below.

          The Debtor’s transfer of its assets pursuant to the Plan will constitute a taxable
  disposition of such assets. As discussed above, the Debtor is a partnership for federal income tax
  purposes. Any gain or loss recognized as a result of the taxable disposition of such assets will be
  passed through to the Holders of Equity Interests in the Debtor. The Debtor will not be required
  to pay any tax as a result of such disposition.

  B.     U.S. Federal Income Tax Treatment of the Claimant Trust

          It is intended that the Claimant Trust will be treated as a “grantor trust” for U.S. federal
  income tax purposes. In general, a grantor trust is not a separate taxable entity. The IRS, in
  Revenue Procedure 94-45, 1994-2 C.B. 684, set forth the general criteria for obtaining an
  advanced ruling as to the grantor trust status of a liquidating trust under a chapter 11 plan.
  Consistent with the requirements of Revenue Procedure 94-45, the Claimant Trust Agreement
  requires all relevant parties to treat, for U.S. federal income tax purposes, the transfer of the
  Debtor’s assets to the Claimant Trust as (i) a transfer of such assets to the Claimant Trust
  Beneficiaries (to the extent of the value of their respective interests in the applicable Claimant
  Trust Assets) followed by (ii) a transfer of such assets by such beneficiaries to the Claimant
  Trust (to the extent of the value of their respective interests in the applicable Claimant Trust
  Assets), with the beneficiaries being treated as the grantors and owners of the Claimant Trust.

          The Plan and the Claimant Trust Agreement generally provide that the Claimant Trust
  Beneficiaries must value the assets of the Claimant Trust consistently with the values determined
  by the Claimant Trustee for all U.S. federal income tax purposes. As soon as possible after the
  Effective Date, the Claimant Trustee, based upon his good faith determination after consultation
  with his counsel and other advisors, shall inform the beneficiaries in writing as to his estimate of
  the value of the assets transferred to the Claimant Trust and the value of such assets allocable to
  each Class of beneficiaries.

         Consistent with the treatment of the Claimant Trust as a grantor trust, the Claimant Trust
  Agreement will require each beneficiary to report on its U.S. federal income tax return its
  allocable share of the Claimant Trust’s income, gain, loss or deduction that reflects the
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  beneficiary’s interest in the interim and final distributions to be made by the Claimant Trust.
  Furthermore, certain of the assets of the Claimant Trust will be interests in the Reorganized
  Debtor, which will be a partnership for U.S. federal income tax purposes. The income, gain, loss
  or deduction of the Reorganized Debtor will also flow through the Claimant Trust to the
  beneficiaries of the Claimant Trust. Therefore, a beneficiary may incur a federal income tax
  liability with respect to its allocable share of the income of the Claimant Trust (including the
  income of the Reorganized Debtor) whether or not the Claimant Trust has made any distributions
  to such beneficiary. The character of items of income, gain, deduction, and credit to any
  beneficiary and the ability of such beneficiary to benefit from any deduction or losses will
  depend on the particular situation of such beneficiary. The interests of the beneficiaries may shift
  from time to time as the result of the allowance or disallowance of claims that have not been
  allowed at the Effective Date, which could give rise to tax consequences both to the Holders of
  claims that have, and have not been, allowed at the Effective Date. The Claimant Trustee will
  file with the IRS tax returns for the Claimant Trust as a grantor trust pursuant to Treasury
  Regulation Section 1.671-4(a) and will also send to each beneficiary a separate statement setting
  forth such beneficiary’s share of items of Trust income, gain, loss, deduction, or credit. Each
  beneficiary will be required to report such items on its U.S. federal income tax return. Holders
  are urged to consult their tax advisors regarding the appropriate federal income tax treatment of
  distributions from the Claimant Trust.

          The discussion above assumes that the Claimant Trust will be respected as a grantor trust
  for U.S. federal income tax purposes. If the IRS were to challenge successfully such
  classification, the U.S. federal income tax consequences to the Claimant Trust and the
  beneficiaries could differ materially from those discussed herein (including the potential for an
  entity level tax to be imposed on all income of the Claimant Trust).

  C.     Consequences to Holders of Allowed Claims

         1.      Recognized Gain or Loss

          In general, each Holder of an Allowed Claim will recognize gain or loss in an amount
  equal to the difference between (i) the “amount realized” by such Holder in satisfaction of its
  Claim (other than any Claim for accrued but unpaid interest) and (ii) such holder’s adjusted tax
  basis in such Claim (other than any Claim for accrued but unpaid interest). In general, the
  “amount realized” by a Holder will equal the sum of any cash and the aggregate fair market
  value of any property received by such Holder pursuant to the Plan (for example, such Holder’s
  undivided beneficial interest in the assets of the Claimant Trust). A Holder that receives or is
  deemed to receive for U.S. federal income tax purposes a non-cash asset under the Plan in
  respect of its Claim should generally have a tax basis in such asset in an amount equal to the fair
  market value of such asset on the date of its receipt or deemed receipt. See U.S. Federal Income
  Tax Treatment of the Claimant Trust, above for more information regarding the tax treatment of
  the Claimant Trust Interests.

          Where gain or loss is recognized by a Holder, the character of such gain or loss as long-
  term or short-term capital gain or loss or as ordinary income or loss will be determined by a
  number of factors, including the tax status of the Holder, whether the claim constitutes a capital
  asset in the hands of the Holder and how long it has been held, whether the claim was acquired at

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  a market discount, and whether and to what extent the Holder had previously claimed a bad debt
  deduction.

         A Holder who, under the Plan, receives in respect of an Allowed Claim an amount less
  than the Holder's tax basis in the Allowed Claim may be entitled to a deduction for U.S. federal
  income tax purposes. The rules governing the character, timing and amount of such a deduction
  place considerable emphasis on the facts and circumstances of the Holder, the obligor and the
  instrument with respect to which a deduction is claimed. Holders of Allowed Claims, therefore,
  are urged to consult their tax advisors with respect to their ability to take such a deduction.

         2.      Distribution in Discharge of Accrued Unpaid Interest

          Pursuant to the Plan, a distribution received in respect of Allowed Claims will be
  allocated first to the principal amount of such Claims, with any excess allocated to unpaid
  accrued interest. However, there is no assurance that the IRS would respect such allocation for
  federal income tax purposes. In general, to the extent that an amount received (whether cash or
  other property) by a Holder of a claim is received in satisfaction of interest that accrued during
  its holding period, such amount will be taxable to the Holder as interest income if not previously
  included in the Holder’s gross income. Conversely, a Holder generally recognizes a deductible
  loss to the extent that it does not receive payment of interest that has previously been included in
  its income. Holders of Claims are urged to consult their tax advisors regarding the allocation of
  consideration and the deductibility of unpaid interest for tax purposes.

         3.      Information Reporting and Withholding

          All distributions to Holders of Allowed Claims under the Plan are subject to any
  applicable withholding tax requirements. Under federal income tax law, interest, dividends, and
  other reportable payments, may, under certain circumstances, be subject to “backup withholding”
  (currently at a rate of up to 24%). Backup withholding generally applies if the Holder (a) fails to
  furnish its social security number or other taxpayer identification number (“TIN”), (b) furnishes
  an incorrect TIN, (c) fails properly to report interest or dividends, or (d) under certain
  circumstances, fails to provide a certified statement, signed under penalty of perjury, that the
  TIN provided is its correct number and that it is not subject to backup withholding. Backup
  withholding is not an additional tax but merely an advance payment, which may be refunded to
  the extent it results in an overpayment of tax. Certain persons are exempt from backup
  withholding, including, in certain circumstances, corporations and financial institutions.

  D.     Treatment of the Disputed Claims Reserve

         Pursuant to the Plan, the Claimant Trustee may file an election pursuant to Treasury
  Regulation 1.468B-9(c) to treat the Disputed Claims Reserve as a disputed ownership fund, in
  which case the Claimant Trustee will file federal income tax returns and pay taxes for the
  Disputed Claims Reserve as a separate taxable entity. Such taxes will be paid out of the
  Disputed Claims Reserve and therefore may reduce amounts paid to Holders of Allowed Claims
  from the Claimant Trust. If the Claimant Trustee does not make such an election to treat the
  Disputed Claims Reserve as a separate taxable entity, the net income, if any, earned in the
  Disputed Claims Reserve will be taxable to the Holders of Allowed Claims in accordance with


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  the principles discussed above under the heading “U.S. Federal Income Tax Treatment of the
  Claimant Trust”, possibly in advance of any distributions to the Holders.

       AS INDICATED ABOVE, THE FOREGOING IS INTENDED TO BE A
  SUMMARY ONLY AND NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING
  WITH A TAX PROFESSIONAL. THE TAX CONSEQUENCES OF THE PLAN ARE
  COMPLEX AND, IN SOME CASES, UNCERTAIN. ACCORDINGLY, EACH HOLDER
  OF A CLAIM OR EQUITY INTEREST IS STRONGLY URGED TO CONSULT WITH
  HIS OWN TAX ADVISOR REGARDING THE TAX CONSEQUENCES OF THE PLAN.

                                           ARTICLE VII.
                                          RECOMMENDATION

          In the opinion of the Debtor, the Plan is preferable to the alternatives described in this
  Disclosure Statement because it provides for the highest distribution to the Debtor’s creditors
  and interest holders. In addition, any alternative other than confirmation of the Plan could result
  in extensive delays and increased administrative expenses resulting in smaller distributions to
  Holders of Allowed Claims and Equity Interests than that which is proposed under the Plan.
  Accordingly, the Debtor recommends that all Holders of Claims and Equity Interests support
  confirmation of the Plan.




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     Dated: November 24, 2020

                                             Respectfully submitted,

                                             HIGHLAND CAPITAL MANAGEMENT, L.P.


                                             ____________________________
                                             James P. Seery, Jr.
                                             Chief Executive Officer and Chief Restructuring
                                             Officer


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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                               )
  In re:                                                       )   Chapter 11
                                                               )
  HIGHLAND CAPITAL MANAGEMENT, L.P.,1                          )   Case No. 19-34054-sgj11
                                                               )
                                   Debtor.                     )
                                                               )

            FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                        CAPITAL MANAGEMENT, L.P.

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  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
  address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in
  the above-captioned case (the “Debtor”), proposes the following chapter 11 plan of
  reorganization (the “Plan”) for, among other things, the resolution of the outstanding Claims
  against, and Equity Interests in, the Debtor. Unless otherwise noted, capitalized terms used in
  this Plan have the meanings set forth in Article I of this Plan. The Debtor is the proponent of this
  Plan within the meaning of section 1129 of the Bankruptcy Code.

          Reference is made to the Disclosure Statement (as such term is defined herein and
  distributed contemporaneously herewith) for a discussion of the Debtor’s history, business,
  results of operations, historical financial information, projections and assets, and for a summary
  and analysis of this Plan and the treatment provided for herein. There also are other agreements
  and documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or
  the Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan
  Documents are incorporated into and are a part of this Plan as if set forth in full herein. Subject
  to the other provisions of this Plan, and in accordance with the requirements set forth in
  section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to
  alter, amend, modify, revoke, or withdraw this Plan prior to the Effective Date.

          If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
  this Plan may be revoked.

                                    ARTICLE I.
                   RULES OF INTERPRETATION, COMPUTATION OF TIME,
                         GOVERNING LAW AND DEFINED TERMS

  A.     Rules of Interpretation, Computation of Time and Governing Law

          For purposes hereof: (a) in the appropriate context, each term, whether stated in the
  singular or the plural, shall include both the singular and the plural, and pronouns stated in the
  masculine, feminine or neuter gender shall include the masculine, feminine and the neuter
  gender; (b) any reference herein to a contract, lease, instrument, release, indenture or other
  agreement or document being in a particular form or on particular terms and conditions means
  that the referenced document, as previously amended, modified or supplemented, if applicable,
  shall be substantially in that form or substantially on those terms and conditions; (c) any
  reference herein to an existing document or exhibit having been Filed or to be Filed shall mean
  that document or exhibit, as it may thereafter be amended, modified or supplemented in
  accordance with its terms; (d) unless otherwise specified, all references herein to “Articles,”
  “Sections,” “Exhibits” and “Plan Documents” are references to Articles, Sections, Exhibits and
  Plan Documents hereof or hereto; (e) unless otherwise stated, the words “herein,” “hereof,”
  “hereunder” and “hereto” refer to this Plan in its entirety rather than to a particular portion of this
  Plan; (f) captions and headings to Articles and Sections are inserted for convenience of reference
  only and are not intended to be a part of or to affect the interpretation hereof; (g) any reference to
  an Entity as a Holder of a Claim or Equity Interest includes such Entity’s successors and assigns;
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  (h) the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (i) any
  term used in capitalized form herein that is not otherwise defined but that is used in the
  Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
  Bankruptcy Code or the Bankruptcy Rules, as the case may be; and (j) “$” or “dollars” means
  Dollars in lawful currency of the United States of America. The provisions of Bankruptcy
  Rule 9006(a) shall apply in computing any period of time prescribed or allowed herein.

  B.     Defined Terms

        Unless the context otherwise requires, the following terms shall have the following
  meanings when used in capitalized form herein:

              1. “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
  Management GP, LLP.

                 2. “Administrative Expense Claim” means any Claim for costs and expenses of
  administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
  507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
  necessary costs and expenses incurred after the Petition Date and through the Effective Date of
  preserving the Estate and operating the business of the Debtor; and (b) all fees and charges
  assessed against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of
  the United States Code, and that have not already been paid by the Debtor during the Chapter 11
  Case and a Professional Fee Claim.

                 3. “Administrative Expense Claims Bar Date” means, with respect to any
  Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
  the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
  the Effective Date.

                4. “Administrative Expense Claims Objection Deadline” means, with respect to
  any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
  (b) sixty (60) days after the timely Filing of the applicable request for payment of such
  Administrative Expense Claim; provided, however, that the Administrative Expense Claims
  Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
  Trustee.

                 5. “Affiliate” means an “affiliate” as defined in section 101(2) of the Bankruptcy
  Code and also includes any other Entity that directly or indirectly, through one or more
  intermediaries, controls, is controlled by, or is under common control with, such affiliate. For
  the purposes of this definition, the term “control” (including the terms “controlled by” and
  “under common control with”) means the possession, directly or indirectly, of the power to direct
  or cause the direction of the management and policies of a Person, whether through the
  ownership of voting securities, by contract, or otherwise.

                 6. “Allowed” means, with respect to any Claim, except as otherwise provided in
  the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
  Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy
  Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not
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  unliquidated, and not disputed and for which no Proof of Claim has been timely filed; (c) a
  Claim Allowed pursuant to the Plan or an order of the Bankruptcy Court that is not stayed
  pending appeal; or (d) a Claim that is not Disputed (including for which a Proof of Claim has
  been timely filed in a liquidated and noncontingent amount that has not been objected to by the
  Claims Objection Deadline or as to which any such objection has been overruled by Final
  Order); provided, however, that with respect to a Claim described in clauses (a) and (b) above,
  such Claim shall be considered Allowed only if and to the extent that, with respect to such
  Claim, no objection to the allowance thereof has been interposed within the applicable period of
  time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or
  such an objection is so interposed and the Claim shall have been Allowed as set forth above.

                 7. “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of the
  type that has been Allowed.

                  8. “Assets” means all of the rights, titles, and interest of the Debtor, Reorganized
  Debtor, or Claimant Trust, in and to property of whatever type or nature, including, without
  limitation, real, personal, mixed, intellectual, tangible, and intangible property, the Debtor’s
  books and records, and the Causes of Action.

                  9. “Available Cash” means any Cash in excess of the amount needed for the
  Claimant Trust and Reorganized Debtor to maintain business operations as determined in the
  sole discretion of the Claimant Trustee.

                 10. “Avoidance Actions” means any and all avoidance, recovery, subordination or
  other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
  the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
  remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or
  under similar state or federal statutes and common law, including fraudulent transfer laws

                 11. “Ballot” means the form(s) distributed to holders of Impaired Claims or
  Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
  the Plan.

                12. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
  §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

                13. “Bankruptcy Court” means the United States Bankruptcy Court for the
  Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
  Chapter 11 Case.

                  14. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the
  Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
  Northern District of Texas, Dallas Division, in each case as amended from time to time and as
  applicable to the Chapter 11 Case.

                 15. “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
  the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which
  deadlines may be or have been extended for certain Claimants by order of the Bankruptcy Court.
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                16. “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
  Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                 17. “Business Day” means any day, other than a Saturday, Sunday or “legal
  holiday” (as defined in Bankruptcy Rule 9006(a)).

                 18. “Cash” means the legal tender of the United States of America or the
  equivalent thereof.

                  19. “Causes of Action” means any action, claim, cross-claim, third-party claim,
  cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
  obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
  license and franchise of any kind or character whatsoever, in each case whether known,
  unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
  liquidated or unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect,
  choate or inchoate, secured or unsecured, assertable directly or derivatively (including, without
  limitation, under alter ego theories), whether arising before, on, or after the Petition Date, in
  contract or in tort, in law or in equity or pursuant to any other theory of law. For the avoidance
  of doubt, Cause of Action includes, without limitation,: (a) any right of setoff, counterclaim or
  recoupment and any claim for breach of contract or for breach of duties imposed by law or in
  equity; (b) the right to object to Claims or Equity Interests; (c) any claim pursuant to section 362
  or chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress
  and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; (e) any claims
  under any state or foreign law, including, without limitation, any fraudulent transfer or similar
  claims; (f) the Avoidance Actions, and (g) the Estate Claims. The Causes of Action include,
  without limitation, the Causes of Action belonging to the Debtor’s Estate listed on the schedule
  of Causes of Action to be filed with the Plan Supplement.

                  20. “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
  and chief restructuring officer.

                  21. “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
  Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
  transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
  Management, L.P., Case No. 19-34054-sgj-11.

                22. “Claim” means any “claim” against the Debtor as defined in section 101(5) of
  the Bankruptcy Code.

               23. “Claims Objection Deadline” means the date that is 180 days after the
  Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
  Bankruptcy Court upon a motion by the Claimant Trustee.

                24. “Claimant Trust” means the trust established for the benefit of the Claimant
  Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
  Claimant Trust Agreement.


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                25. “Claimant Trust Agreement” means the agreement Filed in the Plan
  Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                  26. “Claimant Trust Assets” means (i) other than the Reorganized Debtor Assets
  (which are expressly excluded from this definition), all other Assets of the Estate, including, but
  not limited to, all Causes of Action, Available Cash, any proceeds realized or received from such
  Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
  from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
  or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
  (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
  that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
  Reorganized Debtor Assets.

                  27. “Claimant Trust Beneficiaries” means the Holders of Allowed General
  Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
  Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
  following the Effective Date, and, only upon certification by the Claimant Trustee that the
  Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
  unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest
  from the Petition Date at the Federal Judgment Rate in accordance with the terms and conditions
  set forth in the Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have
  been resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
  Allowed Class A Limited Partnership Interests.

                 28. “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
  officer and chief restructuring officer, or such other Person identified in the Plan Supplement
  who will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation
  Order, and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance
  with) the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among
  other things, monetizing the Estate’s investment assets, resolving Claims (other than those
  Claims assigned to the Litigation Sub-Trust for resolution), and, as the sole officer of New GP
  LLC, winding down the Reorganized Debtor’s business operations.

                 29. “Claimant Trust Expenses” means all reasonable legal and other reasonable
  professional fees, costs, and expenses incurred by the Trustees on account of administration of
  the Claimant Trust, including any reasonable administrative fees and expenses, reasonable
  attorneys’ fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and
  other expenses.

                 30. “Claimant Trust Interests” means the non-transferable interests in the
  Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan;
  provided, however, Holders of Class A Limited Partnership Interests, Class B Limited
  Partnership Interests, and Class C Limited Partnership Interests will not be deemed to hold
  Claimant Trust Interests unless and until the Contingent Claimant Trust Interests distributed to
  such Holders vest in accordance with the terms of this Plan and the Claimant Trust Agreement.



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                 31. “Claimant Trust Oversight Committee” means the committee of five Persons
  established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s performance
  of its duties and otherwise serve the functions described in this Plan and the Claimant Trust
  Agreement.

               32. “Class” means a category of Holders of Claims or Equity Interests as set forth
  in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                 33. “Class A Limited Partnership Interest” means the Class A Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by The Dugaboy Investment
  Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela Okada –
  Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                  34. “Class B Limited Partnership Interest” means the Class B Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
  Trust.

                35. “Class B/C Limited Partnership Interests” means, collectively, the Class B
  Limited Partnership and Class C Limited Partnership Interests.

                  36. “Class C Limited Partnership Interest” means the Class C Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
  Trust.

                 37. “Committee” means the Official Committee of Unsecured Creditors
  appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
  consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
  (iii) UBS, and (iv) Acis.

                 38. “Confirmation Date” means the date on which the clerk of the Bankruptcy
  Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                 39. “Confirmation Hearing” means the hearing held by the Bankruptcy Court
  pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
  hearing may be adjourned or continued from time to time.

                 40. “Confirmation Order” means the order of the Bankruptcy Court confirming
  this Plan pursuant to section 1129 of the Bankruptcy Code.

                41. “Convenience Claim” means any prepetition, liquidated, and unsecured
  Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
  any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
  doubt, the Reduced Employee Claims will be Convenience Claims.

                42. “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
  available upon the Effective Date for distribution to Holders of Convenience Claims under the
  Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all

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  distributions on account of Convenience Claims have been made will be transferred to the
  Claimant Trust and administered as a Claimant Trust Asset.

                  43. “Convenience Class Election” means the option provided to each Holder of a
  General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
  to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
  Claims.

                  44. “Contingent Claimant Trust Interests” means the contingent Claimant Trust
  Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
  Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in
  accordance with this Plan, the rights of which shall not vest, and consequently convert to
  Claimant Trust Interests, unless and until the Claimant Trustee Files a certification that all
  holders of Allowed General Unsecured Claims have been paid indefeasibly in full, plus, to the
  extent all Allowed unsecured Claims, excluding Subordinated Claims, have been paid in full, all
  accrued and unpaid post-petition interest from the Petition Date at the Federal Judgment Rate
  and all Disputed Claims in Class 8 and Class 9 have been resolved. As set forth in the Claimant
  Trust Agreement, the Contingent Claimant Trust Interests distributed to the Holders of Class A
  Limited Partnership Interests will be subordinated to the Contingent Claimant Trust Interests
  distributed to the Holders of Class B/C Limited Partnership Interests.

                 45. “Debtor” means Highland Capital Management, L.P. in its capacity as debtor
  and debtor in possession in the Chapter 11 Case.

                  46. “Delaware Bankruptcy Court” means the United States Bankruptcy Court for
  the District of Delaware.

                 47. “Disclosure Statement” means that certain Disclosure Statement for Debtor’s
  Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or modified from
  time to time, which describes this Plan, including all exhibits and schedules thereto and
  references therein that relate to this Plan.

                 48. “Disputed” means with respect to any Claim or Equity Interest, any Claim or
  Equity Interest that is not yet Allowed.

                 49. “Disputed Claims Reserve” means the appropriate reserve(s) or account(s) to
  be established on the Initial Distribution Date and maintained by the Claimant Trustee for
  distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

                 50. “Disputed Claims Reserve Amount” means, for purposes of determining the
  Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
  Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
  The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
  be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
  the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or
  Reorganized Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters
  an order disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the
  Bankruptcy Court, including an order estimating the Disputed Claim.
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                51. “Distribution Agent” means the Claimant Trustee, or any party designated by
  the Claimant Trustee to serve as distribution agent under this Plan.

                  52. “Distribution Date” means the date or dates determined by the Reorganized
  Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon
  which the Distribution Agent shall make distributions to holders of Allowed Claims and Interests
  entitled to receive distributions under the Plan.

                 53. “Distribution Record Date” means the date for determining which Holders of
  Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
  the Effective Date or such later date determined by the Bankruptcy Court.

                54. “Effective Date” means the Business Day that this Plan becomes effective as
  provided in ARTICLE VIII hereof.

                 55. “Employees” means the employees of the Debtor set forth in the Plan
  Supplement.

                56. “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
  Code and also includes any Person or any other entity.

                   57. “Equity Interest” means any Equity Security in the Debtor, including, without
  limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of stock or
  limited company interests, the Class A Limited Partnership Interests, the Class B Limited
  Partnership Interests, and the Class C Limited Partnership Interests.

                58. “Equity Security” means an “equity security” as defined in section 101(16) of
  the Bankruptcy Code.

                 59. “Estate” means the bankruptcy estate of the Debtor created by virtue of
  section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

                60. “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
  Final Term Sheet [D.I. 354].

                   61. “Exculpated Parties” means, collectively, (i) the Debtor and its successors and
  assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
  Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee, (vi) the members of
  the Committee (in their official capacities), (vii) the Professionals retained by the Debtor and the
  Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related Persons of each of
  the parties listed in (iv) through (viii); provided, however, that, for the avoidance of doubt, none
  of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and
  managed entities), the Charitable Donor Advised Fund, L.P. (and any of its subsidiaries,
  including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd. (and any of its
  subsidiaries, members, and managed entities), Highland Capital Management Fund Advisors,
  L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
  subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the

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  Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
  term “Exculpated Party.”

                 62. “Executory Contract” means a contract to which the Debtor is a party that is
  subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                 63. “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement (as
  such exhibits are amended, modified or otherwise supplemented from time to time), which are
  incorporated by reference herein.

                64. “Federal Judgment Rate” means the post-judgment interest rate set forth in 28
  U.S.C. § 1961 as of the Effective Date.

                  65. “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
  Court or its authorized designee in the Chapter 11 Case.

                  66. “Final Order” means an order or judgment of the Bankruptcy Court, which is
  in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
  new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
  or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
  any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
  waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or
  the Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
  reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
  been determined by the highest court to which such order was appealed, or certiorari, new trial,
  reargument or rehearing shall have been denied and the time to take any further appeal, petition
  for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
  however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
  or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
  not preclude such order from being a Final Order.

                67. “Frontier Secured Claim” means the loan from Frontier State Bank to the
  Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended
  and Restated Loan Agreement, dated March 29, 2018.

                 68. “General Partner Interest” means the Class A Limited Partnership Interest
  held by Strand, as the Debtor’s general partner.

                 69. “General Unsecured Claim” means any prepetition Claim against the Debtor
  that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
  Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

                70. “Governmental Unit” means a “governmental unit” as defined in
  section 101(27) of the Bankruptcy Code.

                 71. “GUC Election” means the option provided to each Holder of a Convenience
  Claim on their Ballot to elect to receive the treatment provided to General Unsecured Claims.

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                72. “Holder” means an Entity holding a Claim against, or Equity Interest in, the
  Debtor.

                73. “Impaired” means, when used in reference to a Claim or Equity Interest, a
  Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
  Code.

                 74. “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
  Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
  additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
  Effective Date.

                 75. “Initial Distribution Date” means, subject to the “Treatment” sections in
  ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
  Date, when distributions under this Plan shall commence to Holders of Allowed Claims and
  Equity Interests.

                  76. “Insurance Policies” means all insurance policies maintained by the Debtor as
  of the Petition Date.

                77. “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC, arising
  under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between the
  Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
  brokerage account created by such Prime Brokerage Customer Agreement.

                  78. “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
  and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
  security interest or other encumbrance of any kind, or any other type of preferential arrangement
  that has the practical effect of creating a security interest, in respect of such asset.

               79. “Limited Partnership Agreement” means that certain Fourth Amended and
  Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
  December 24, 2015, as amended.

                 80. “Litigation Sub-Trust” means the sub-trust established within the Claimant
  Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
  in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
  Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
  Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

                81. “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
  Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                  82. “Litigation Trustee” means the trustee appointed by the Committee and
  reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
  settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
  conditions set forth in the Litigation Sub-Trust Agreement.

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                83. “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
  Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
  Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

                84. “New Frontier Note” means that promissory note to be provided to the
  Allowed Holders of Class 2 Claims under this Plan and any other documents or security
  agreements securing the obligations thereunder.

               85. “New GP LLC” means a limited liability company incorporated in the State of
  Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
  Reorganized Debtor on the Effective Date.

                86. “New GP LLC Documents” means the charter, operating agreement, and other
  formational documents of New GP LLC.

                87. “Ordinary Course Professionals Order” means that certain Order Pursuant to
  Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
  Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
  [D.I. 176].

               88. “Other Unsecured Claim” means any Secured Claim other than the Jefferies
  Secured Claim and the Frontier Secured Claim.

                  89. “Person” means a “person” as defined in section 101(41) of the Bankruptcy
  Code and also includes any natural person, individual, corporation, company, general or limited
  partnership, limited liability company, unincorporated organization firm, trust, estate, business
  trust, association, joint stock company, joint venture, government, governmental agency,
  Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
  whether acting in an individual, fiduciary or other capacity.

                90. “Petition Date” means October 16, 2019.

                 91. “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
  Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,
  and schedules thereto, either in its present form or as the same may be altered, amended,
  modified or otherwise supplemented from time to time.

                92. “Plan Distribution” means the payment or distribution of consideration to
  Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                 93. “Plan Documents” means any of the documents, other than this Plan, but
  including, without limitation, the documents to be filed with the Plan Supplement, to be
  executed, delivered, assumed, or performed in connection with the occurrence of the Effective
  Date, and as may be modified consistent with the terms hereof with the consent of the
  Committee.

               94. “Plan Supplement” means the ancillary documents necessary for the
  implementation and effectuation of the Plan, including, without limitation, (i) the form of
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  Claimant Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of
  Reorganized Limited Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable),
  (v) the identity of the initial members of the Claimant Trust Oversight Committee, (vi) the form
  of Litigation Sub-Trust Agreement; (vii) the schedule of retained Causes of Action; (viii) the
  New Frontier Note, (ix) the schedule of Employees; (x) the form of Senior Employee
  Stipulation,; and (xi) the schedule of Executory Contracts and Unexpired Leases to be assumed
  pursuant to this Plan, which, in each case, will be in form and substance reasonably acceptable to
  the Debtor and the Committee.

                 95. “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
  section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to
  priority under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
  Administrative Claim.

                 96. “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
  Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
  Equity Interests in such Class.

                 97. “Professional” means (a) any Entity employed in the Chapter 11 Case
  pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
  seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
  pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy
  Code.

                  98. “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
  363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
  compensation for services rendered or reimbursement of costs, expenses or other charges
  incurred after the Petition Date and prior to and including the Effective Date.

                99. “Professional Fee Claims Bar Date” means with respect to Professional Fee
  Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
  approved by order of the Bankruptcy Court.

                100. “Professional Fee Claims Objection Deadline” means, with respect to any
  Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
  payment of such Professional Fee Claim.

               101. “Professional Fee Reserve” means the reserve established and funded by
  the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid
  Allowed Professional Fee Claims.

                 102. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
  against the Debtor in the Chapter 11 Case.

                 103. “Priority Tax Claim” means any Claim of a Governmental Unit of the
  kind specified in section 507(a)(8) of the Bankruptcy Code.


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                  104. “Protected Parties” means, collectively, (i) the Debtor and its successors
  and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
  Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
  Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
  Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
  members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
  LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
  (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through
  (xv); provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
  NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
  Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
  entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
  entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
  Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain
  Investment Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any
  trustee acting for the trust), or Grant Scott is included in the term “Protected Party.”

                 105. “PTO Claims” means any Claim for paid time off in favor of any Debtor
  employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
  507(a)(4) of the Bankruptcy Code.

                 106.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                   107. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
  leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
  of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
  notwithstanding any contractual provision or applicable law that entitles the Holder of such
  Claim or Equity Interest to demand or receive accelerated payment of such Claim or Equity
  Interest after the occurrence of a default: (i) curing any such default that occurred before or after
  the Petition Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
  Code or of a kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be
  cured; (ii) reinstating the maturity of such Claim or Equity Interest as such maturity existed
  before such default; (iii) compensating the Holder of such Claim or Equity Interest for any
  damages incurred as a result of any reasonable reliance by such Holder on such contractual
  provision or such applicable law; (iv) if such Claim or Equity Interest arises from any failure to
  perform a nonmonetary obligation, other than a default arising from failure to operate a non-
  residential real property lease subject to section 365(b)(1)(A) of the Bankruptcy Code,
  compensating the Holder of such Claim or Equity Interest (other than any Debtor or an insider of
  any Debtor) for any actual pecuniary loss incurred by such Holder as a result of such failure; and
  (v) not otherwise altering the legal, equitable, or contractual rights to which such Claim entitles
  the Holder of such Claim.

                  108. “Rejection Claim” means any Claim for monetary damages as a result of
  the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                109. “Related Entity” means, without duplication, (a) James Dondero, (b) Mark
  Okada, (c) Grant Scott, (d) Hunter Covitz, (e) any entity or person that was an insider of the
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  Debtor on the Petition Date under Section 101(31) of the Bankruptcy Code, including any non-
  statutory insider, (f) any entity that, after the Effective Date, is controlled directly or indirectly by
  James Dondero, including, without limitation, The Dugaboy Investment Trust, (g) the Hunter
  Mountain Investment Trust and any of its direct or indirect parents, and (h) the Charitable Donor
  Advised Fund, L.P., and any of its direct or indirect subsidiaries.

                 110. “Related Persons” means, with respect to any Person, such Person’s
  predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
  respective present and former officers, directors, employees, managers, managing members,
  members, financial advisors, attorneys, accountants, investment bankers, consultants,
  professionals, advisors, shareholders, principals, partners, employees, subsidiaries, divisions,
  management companies, and other representatives, in each case solely in their capacity as such.

                  111. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
  Strand (solely from the date of the appointment of the Independent Directors through the
  Effective Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in
  their official capacities), (vi) the Professionals retained by the Debtor and the Committee in the
  Chapter 11 Case; and (vii) the Employees.

                 112. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
  Plan on and after the Effective Date.

                  113. “Reorganized Debtor Assets” means any limited and general partnership
  interests held by the Debtor, the management of the Managed Funds and those Causes of Action
  (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
  capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
  Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
  but does not include the underlying portfolio assets held by the Managed Funds.

                 114. “Reorganized Limited Partnership Agreement” means that certain Fifth
  Amended and Restated Agreement of Limited Partnership of Highland Capital Management,
  L.P., by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner,
  Filed with the Plan Supplement.

                 115. “Restructuring” means the restructuring of the Debtor, the principal terms
  of which are set forth in this Plan and the Disclosure Statement.

                 116. “Retained Employee Claim” means any Claim filed by a current employee
  of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                 117. “Schedules” means the schedules of Assets and liabilities, statements of
  financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
  supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  118. “Secured” means, when referring to a Claim: (a) secured by a Lien on
  property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
  enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is
  subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the
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  creditor’s interest in the interest of the Debtor’s Estate in such property or to the extent of the
  amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
  Bankruptcy Code or (b) Allowed pursuant to the Plan as a Secured Claim.

                119. “Security” or “security” means any security as such term is defined in
  section 101(49) of the Bankruptcy Code.

               120.      “Senior Employees” means the senior employees of the Debtor Filed in the
  Plan Supplement.

               121. “Senior Employee Stipulation” means the agreements filed in the Plan
  Supplement between each Senior Employee and the Debtor.

                 122. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
  property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
  transaction privilege tax (including, without limitation, such taxes on prime contracting and
  owner-builder sales), privilege taxes (including, without limitation, privilege taxes on
  construction contracting with regard to speculative builders and owner builders), and other
  similar taxes imposed or assessed by any Governmental Unit.

                 123.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                 124.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                 125. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
  service or sub-service the Reorganized Debtor Assets.

                 126. “Sub-Servicer Agreement” means the agreement that may be entered into
  providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                127. “Subordinated Claim” means any Claim that (i) is or may be subordinated
  to the Convenience Claims and General Unsecured Claims pursuant to 11 U.S.C. § 510 or Final
  Order of the Bankruptcy Court or (ii) arises from a Class A Limited Partnership Interest or a
  Class B/C Limited Partnership Interest.

                 128. “Subordinated Claimant Trust Interests” means the Claimant Trust
  Interests to be distributed to Holders of Allowed Subordinated Claims under the Plan, which
  such interests shall be subordinated in right and priority to the Claimant Trust Interests
  distributed to Holders of Allowed General Unsecured Claims as provided in the Claimant Trust
  Agreement.

                129. “Trust Distribution” means the transfer of Cash or other property by the
  Claimant Trustee to the Claimant Trust Beneficiaries.

                 130.    “Trustees” means, collectively, the Claimant Trustee and Litigation
  Trustee.



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                131.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
  Branch.

                 132. “Unexpired Lease” means a lease to which the Debtor is a party that is
  subject to assumption or rejection under section 365 of the Bankruptcy Code.

                  133. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
  that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                 134. “Voting Deadline” means the date and time by which all Ballots to accept
  or reject the Plan must be received in order to be counted under the under the Order of the
  Bankruptcy Court approving the Disclosure Statement as containing adequate information
  pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
  acceptances of the Plan.

                135.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

  A.     Administrative Expense Claims

          On the later of the Effective Date or the date on which an Administrative Expense Claim
  becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
  thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional
  Fee Claims) will receive, in full satisfaction, settlement, discharge and release of, and in
  exchange for, such Allowed Administrative Expense Claim either (i) payment in full in
  Available Cash for the unpaid portion of such Allowed Administrative Expense Claim; or
  (ii) such other less favorable treatment as agreed to in writing by the Debtor or the Reorganized
  Debtor, as applicable, and such Holder; provided, however, that Administrative Expense Claims
  incurred by the Debtor in the ordinary course of business may be paid in the ordinary course of
  business in the discretion of the Debtor in accordance with such applicable terms and conditions
  relating thereto without further notice to or order of the Bankruptcy Court. All statutory fees
  payable under 28 U.S.C. § 1930(a) shall be paid as such fees become due.

         If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
  the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File,
  on or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
  Reorganized Debtor, as applicable, and such other Entities who are designated by the
  Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court, an
  application for allowance and payment of such Administrative Expense Claim.

          Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
  must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
  asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
  Deadline.


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  B.     Professional Fee Claims

           Professionals or other Entities asserting a Professional Fee Claim for services rendered
  through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
  503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
  granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in
  full to the extent provided in such order.

          Professionals or other Entities asserting a Professional Fee Claim for services rendered on
  or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
  serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
  designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
  order of the Bankruptcy Court, an application for final allowance of such Professional Fee
  Claim.

          Objections to any Professional Fee Claim must be Filed and served on the Debtor or
  Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
  Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
  will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
  Days of entry of the order approving such Allowed Professional Fee Claim.

          On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
  The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
  Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant
  Trust shall fund the Professional Fee Reserve on the Effective Date in an estimated amount
  determined by the Debtor in good faith prior to the Confirmation Date and that approximates the
  total projected amount of unpaid Professional Fee Claims on the Effective Date. Following the
  payment of all Allowed Professional Fee Claims, any excess funds in the Professional Fee
  Reserve shall be released to the Claimant Trust to be used for other purposes consistent with the
  Plan and the Claimant Trust Agreement.

  C.     Priority Tax Claims

          On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
  such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
  on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
  Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
  and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
  an amount equal to the amount of such Allowed Priority Tax Claim, or (b) such other less
  favorable treatment as agreed to in writing by the Debtor and such Holder. Payment of statutory
  fees due pursuant to 28 U.S.C. § 1930(a)(6) will be made at all appropriate times until the entry
  of a final decree; provided, however, that the Debtor may prepay any or all such Claims at any
  time, without premium or penalty.




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                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                        CLASSIFIED CLAIMS AND EQUITY INTERESTS

  A.      Summary

          All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
  Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of
  the Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
  classified.

          The categories of Claims and Equity Interests listed below classify Claims and Equity
  Interests for all purposes including, without limitation, confirmation and distribution pursuant to
  the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
  a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim
  or Equity Interest qualifies within the description of that Class and will be deemed classified in a
  different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
  the description of such different Class. A Claim or Equity Interest is in a particular Class only to
  the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
  released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the
  Effective Date.

  B.      Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class    Claim                                              Status          Voting Rights
  1        Jefferies Secured Claim                            Unimpaired      Deemed to Accept
  2        Frontier Secured Claim                             Impaired        Entitled to Vote
  3        Other Secured Claims                               Unimpaired      Deemed to Accept
  4        Priority Non-Tax Claim                             Unimpaired      Deemed to Accept
  5        Retained Employee Claim                            Unimpaired      Deemed to Accept
  6        PTO Claims                                         Unimpaired      Deemed to Accept
  7        Convenience Claims                                 Impaired        Entitled to Vote
  8        General Unsecured Claims                           Impaired        Entitled to Vote
  9        Subordinated Claims                                Impaired        Entitled to Vote
  10       Class B/C Limited Partnership Interests            Impaired        Entitled to Vote
  11       Class A Limited Partnership Interests              Impaired        Entitled to Vote

  C.      Elimination of Vacant Classes

          Any Class that, as of the commencement of the Confirmation Hearing, does not have at
  least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
  voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of


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  voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
  satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

  D.     Impaired/Voting Classes

         Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
  Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
  accept or reject the Plan.

  E.     Unimpaired/Non-Voting Classes

         Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
  Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

  F.     Impaired/Non-Voting Classes

         There are no Classes under the Plan that will not receive or retain any property and no
  Classes are deemed to reject the Plan.

  G.     Cramdown

          If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
  accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
  Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
  Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
  class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
  hearing, determine such controversy on or before the Confirmation Date.

  H.     Classification and Treatment of Claims and Equity Interests

         1.      Class 1 – Jefferies Secured Claim

                        Classification: Class 1 consists of the Jefferies Secured Claim.

                        Treatment: On or as soon as reasonably practicable after the Effective
                         Date, each Holder of an Allowed Class 1 Claim will receive in full
                         satisfaction, settlement, discharge and release of, and in exchange for,
                         such Allowed Class 1 Claim, at the election of the Debtor: (A) Cash equal
                         to the amount of such Allowed Class 1 Claim; (B) such other less
                         favorable treatment as to which the Debtor and the Holder of such
                         Allowed Class 1 Claim will have agreed upon in writing; or (C) such other
                         treatment rendering such Claim Unimpaired. Each Holder of an Allowed
                         Class 1 Claim will retain the Liens securing its Allowed Class 1 Claim as
                         of the Effective Date until full and final payment of such Allowed Class 1
                         Claim is made as provided herein.

                        Impairment and Voting: Class 1 is Unimpaired, and the Holders of
                         Class 1 Claims are conclusively deemed to have accepted this Plan
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                     pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
                     Holders of Class 1 Claims are not entitled to vote to accept or reject this
                     Plan and will not be solicited.

        2.    Class 2 – Frontier Secured Claim

                    Classification: Class 2 consists of the Frontier Secured Claim.

                    Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 2 Claim will receive in full
                     satisfaction, settlement, discharge and release of, and in exchange for,
                     such Allowed Class 2 Claim: (A) Cash in an amount equal to all accrued
                     but unpaid interest on the Frontier Claim through and including the
                     Effective Date and (B) the New Frontier Note. The Holder of an Allowed
                     Class 2 Claim will retain the Liens securing its Allowed Class 2 Claim as
                     of the Effective Date until full and final payment of such Allowed Class 2
                     Claim is made as provided herein.

                    Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                     Claims are entitled to vote to accept or reject this Plan.

        3.    Class 3 – Other Secured Claims

                    Classification: Class 3 consists of the Other Secured Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 3 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 3
                     Claim becomes an Allowed Class 3 Claim, each Holder of an Allowed
                     Class 3 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 3 Claim, at the option
                     of the Debtor, or following the Effective Date, the Reorganized Debtor or
                     Claimant Trustee, as applicable, (i) Cash equal to such Allowed Other
                     Secured Claim, (ii) the collateral securing its Allowed Other Secured
                     Claim, plus postpetition interest to the extent required under Bankruptcy
                     Code Section 506(b), or (iii) such other treatment rendering such Claim
                     Unimpaired.

                    Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class
                     3 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        4.    Class 4 – Priority Non-Tax Claims

                    Classification: Class 4 consists of the Priority Non-Tax Claims.

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                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 4 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 4
                     Claim becomes an Allowed Class 4 Claim, each Holder of an Allowed
                     Class 4 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 4 Claim Cash equal to
                     the amount of such Allowed Class 4 Claim.

                    Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class
                     4 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        5.    Class 5 – Retained Employee Claims

                    Classification: Class 5 consists of the Retained Employee Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the Effective Date, each Allowed Class 5 Claim will be Reinstated.

                    Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class
                     5 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        6.    Class 6 – PTO Claims

                    Classification: Class 6 consists of the PTO Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 6 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 6
                     Claim becomes an Allowed Class 6 Claim, each Holder of an Allowed
                     Class 6 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 6 Claim Cash equal to
                     the amount of such Allowed Class 6 Claim.

                    Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class
                     6 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.




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        7.    Class 7 – Convenience Claims

                    Classification: Class 7 consists of the Convenience Claims.

                    Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 7 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 7
                     Claim becomes an Allowed Class 7 Claim, each Holder of an Allowed
                     Class 7 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Class 7 Claim (1) the
                     treatment provided to Allowed Holders of Class 8 General Unsecured
                     Claims if the Holder of such Class 7 Claim makes the GUC Election or (2)
                     an amount in Cash equal to the lesser of (a) 85% of the Allowed amount
                     of such Holder’s Class 7 Claim or (b) such Holder’s Pro Rata share of the
                     Convenience Claims Cash Pool.

                    Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                     Claims are entitled to vote to accept or reject this Plan.

        8.    Class 8 – General Unsecured Claims

                    Classification: Class 8 consists of the General Unsecured Claims.

                    Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 8 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive (i) its Pro Rata share of the Claimant Trust Interests, (ii) such other
                     less favorable treatment as to which such Holder and the Claimant Trustee
                     shall have agreed upon in writing, or (iii) the treatment provided to
                     Allowed Holders of Class 7 Convenience Claims if the Holder of such
                     Class 8 General Unsecured Claim is eligible and makes a valid
                     Convenience Class Election.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any General
                     Unsecured Claim, except with respect to any General Unsecured Claim
                     Allowed by Final Order of the Bankruptcy Court.

                    Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                     Claims are entitled to vote to accept or reject this Plan.

        9.    Class 9 – Subordinated Claims

                    Classification: Class 9 consists of the Subordinated Claims.

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                    Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 9 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive either (i) the treatment provided to Allowed Class 8 Claims or (ii)
                     if such Allowed Class 9 Claim is subordinated to the Convenience Claims
                     and General Unsecured Claims pursuant to 11 U.S.C. § 510 or Final Order
                     of the Bankruptcy Court, its Pro Rata share of the Subordinated Claimant
                     Trust Interests or (ii) such other less favorable treatment as to which such
                     Holder and the Claimant Trustee shall have agreed upon in writing.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any Subordinated
                     Claim, except with respect to any Subordinated Claim Allowed by Final
                     Order of the Bankruptcy Court.

                    Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                     Claims are entitled to vote to accept or reject this Plan.

        10.   Class 10 – Class B/C Limited Partnership Interests

                    Classification: Class 10 consists of the Class B/C Limited Partnership
                     Interests.

                    Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 10 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                     (ii) such other less favorable treatment as to which such Holder and the
                     Claimant Trustee shall have agreed upon in writing.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any Class B/C
                     Limited Partnership Interest Claim, except with respect to any Class B/C
                     Limited Partnership Interest Claim Allowed by Final Order of the
                     Bankruptcy Court.

                    Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                     Claims are entitled to vote to accept or reject this Plan.




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         11.     Class 11 – Class A Limited Partnership Interests

                       Classification:   Class 11 consists of the Class A Limited Partnership
                        Interests.

                       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 11 Claim, in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Claim shall
                        receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                        (ii) such other less favorable treatment as to which such Holder and the
                        Claimant Trustee shall have agreed upon in writing.

                        Notwithstanding anything to the contrary herein, after the Effective Date
                        and subject to the other provisions of this Plan, the Debtor, the
                        Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                        will retain any and all rights and defenses under bankruptcy or
                        nonbankruptcy law that the Debtor had with respect to any Class A
                        Limited Partnership Interest, except with respect to any Class A Limited
                        Partnership Interest Allowed by Final Order of the Bankruptcy Court.

                       Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                        Claims are entitled to vote to accept or reject this Plan.

  I.     Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
  rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
  legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

  J.     Subordinated Claims

         The allowance, classification, and treatment of all Claims under the Plan shall take into
  account and conform to the contractual, legal, and equitable subordination rights relating thereto,
  whether arising under general principles of equitable subordination, section 510(b) of the
  Bankruptcy Code, or otherwise. Under section 510 of the Bankruptcy Code, upon written notice,
  the Debtor the Reorganized Debtor, and the Claimant Trustee reserve the right to re-classify, or
  to seek to subordinate, any Claim in accordance with any contractual, legal, or equitable
  subordination relating thereto, and the treatment afforded any Claim under the Plan that becomes
  a subordinated Claim at any time shall be modified to reflect such subordination.

                                    ARTICLE IV.
                        MEANS FOR IMPLEMENTATION OF THIS PLAN

  A.     Summary

        As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
  Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

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          On the Effective Date, all Class A Limited Partnership Interests, including the Class A
  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
  Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in
  the Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-
  chartered limited liability company wholly-owned by the Claimant Trust. The Claimant Trust,
  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized
  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized
  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as
  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited
  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current
  Limited Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be
  managed consistent with the terms of the Reorganized Limited Partnership Agreement by New
  GP LLC. The sole managing member of New GP LLC will be the Claimant Trust, and the
  Claimant Trustee will be the sole officer of New GP LLC on the Effective Date.

         Following the Effective Date, the Claimant Trust will administer the Claimant Trust
  Assets pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will
  pursue, if applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust
  Agreement and the Plan. The Reorganized Debtor will administer the Reorganized Debtor
  Assets and, if needed, with the utilization of a Sub-Servicer, which administration will include,
  among other things, managing the wind down of the Managed Funds.

          Although the Reorganized Debtor will manage the wind down of the Managed Funds, it
  is currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume
  or assume and assign the contracts between the Debtor and certain Related Entities pursuant to
  which the Debtor provides shared services and sub-advisory services to those Related Entities.
  The Debtor believes that the continued provision of the services under such contracts will not be
  cost effective.

          The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
  Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
  with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds
  of the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as
  set forth in this Plan and the Claimant Trust Agreement.

  B.      The Claimant Trust2

          1.               Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
  Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
  the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
  Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
  transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its
  2
    In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and
  the Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust
  Agreement, as applicable, shall control.
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  rights, title, and interest in and to all of the Claimant Trust Assets, and in accordance with section
  1141 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant
  Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
  Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust
  Agreement, and such transfer shall be exempt from any stamp, real estate transfer, mortgage
  from any stamp, transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets,
  excluding the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect
  to the Estate Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
  6012(b)(3), as well as the representative of the Estate appointed pursuant to section
  1123(b)(3)(B) of the Bankruptcy Code with respect to the Claimant Trust Assets. The Claimant
  Trustee shall also be responsible for resolving all Claims and Equity Interests in Class 8 through
  Class 11, under the supervision of the Claimant Trust Oversight Committee.

          On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
  Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
  Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably
  transfer and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be
  governed by the Claimant Trust Agreement and administered by the Claimant Trustee. The
  powers, rights, and responsibilities of the Claimant Trustee shall be specified in the Claimant
  Trust Agreement and shall include the authority and responsibility to, among other things, take
  the actions set forth in this ARTICLE IV, subject to any required reporting to the Claimant Trust
  Oversight Committee as may be set forth in the Claimant Trust Agreement. The Claimant Trust
  shall hold and distribute the Claimant Trust Assets (including the proceeds from the Estate
  Claims, if any) in accordance with the provisions of the Plan and the Claimant Trust Agreement;
  provided that the Claimant Trust Oversight Committee may direct the Claimant Trust to reserve
  Cash from distributions as necessary to fund the Claimant Trust and Litigation Sub-Trust. Other
  rights and duties of the Claimant Trustee and the Claimant Trust Beneficiaries shall be as set
  forth in the Claimant Trust Agreement. After the Effective Date, neither the Debtor nor the
  Reorganized Debtor shall have any interest in the Claimant Trust Assets.

          The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
  administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
  Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
  and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
  to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The
  Litigation Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in
  accordance with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall
  distribute the proceeds therefrom to the Claimant Trust for distribution. Other rights and duties
  of the Litigation Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

         2.              Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
  Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
  Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be
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  overseen by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust
  Agreement and the Litigation Sub-Trust Agreement, as applicable.

          The Claimant Trust Oversight Committee will initially consist of five members. Four of
  the five members will be representatives of the members of the Committee: (i) the Redeemer
  Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The
  fifth member will be an independent, natural Person chosen by the Committee and reasonably
  acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
  replaced as set forth in the Claimant Trust Agreement. The identity of the members of the
  Claimant Trust Oversight Committee will be disclosed in the Plan Supplement.

          As set forth in the Claimant Trust Agreement, in no event will any member of the
  Claimant Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine,
  or otherwise be involved in any matters related to such member’s Claim.

          The independent member(s) of the Claimant Trust Oversight Committee may be entitled
  to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
  the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
  set forth in the Claimant Trust Agreement.

         3.             Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
  the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the
  oversight of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and
  holding the limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole
  member and manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its
  capacity as the sole member and manager of New GP LLC, overseeing the management and
  monetization of the Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited
  Partnership Agreement; and (v) administering the Disputed Claims Reserve and serving as
  Distribution Agent with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile
  and object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited
  Partnership Interests, and Class A Limited Partnership Interests, as provided for in this Plan and
  the Claimant Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries
  in accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
  engage in the conduct of a trade or business.

         The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

         4.             Purpose of the Litigation Sub-Trust.

          The Litigation Sub-Trust shall be established for the purpose of investigating,
  prosecuting, settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be
  distributed by the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant
  Trust Beneficiaries pursuant to the terms of the Claimant Trust Agreement.

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         5.              Claimant Trust Agreement and Litigation Sub-Trust Agreement.

         The Claimant Trust Agreement generally will provide for, among other things:

              (i)    the payment of the Claimant Trust Expenses;

              (ii)   the payment of other reasonable expenses of the Claimant Trust;

             (iii)    the retention of employees, counsel, accountants, financial advisors, or other
  professionals and the payment of their reasonable compensation;

             (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
  including those specified in the Plan;

              (v)    the orderly monetization of the Claimant Trust Assets;

             (vi)    litigation of any Causes of Action, which may include the prosecution,
  settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
  oversight by the Claimant Trust Oversight Committee;

              (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
  subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be
  made therefrom; and

             (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
  Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
  be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust
  Agreement. The Claimant Trustee may establish a reserve for the payment of Claimant Trust
  Expenses and shall periodically replenish such reserve, as necessary.

          In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
  Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
  Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
  Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
  to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
  (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
  objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
  without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
  Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
  the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
  resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
  of the Litigation Trustee. In all circumstances, the Claimant Trustee shall act in the best interests
  of the Claimant Trust Beneficiaries and with the same fiduciary duties as a chapter 7 trustee.

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         The Litigation Sub-Trust Agreement generally will provide for, among other things:

              (i)   the payment of other reasonable expenses of the Litigation Sub-Trust;

             (ii)    the retention of employees, counsel, accountants, financial advisors, or other
  professionals and the payment of their reasonable compensation; and

             (iii) the investigation and prosecution of Estate Claims, which may include the
  prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to
  reporting and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable,
  may each employ, without further order of the Bankruptcy Court, employees and other
  professionals (including those previously retained by the Debtor and the Committee) to assist in
  carrying out the Trustees’ duties hereunder and may compensate and reimburse the reasonable
  expenses of these professionals without further Order of the Bankruptcy Court from the Claimant
  Trust Assets in accordance with the Plan and the Claimant Trust Agreement.

          The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
  reasonable and customary provisions that allow for indemnification by the Claimant Trust in
  favor of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee.
  Any such indemnification shall be the sole responsibility of the Claimant Trust and payable
  solely from the Claimant Trust Assets.

         6.             Compensation and Duties of Trustees.

        The salient terms of each Trustee’s employment, including such Trustee’s duties and
  compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
  Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
  amount consistent with that of similar functionaries in similar types of bankruptcy cases.

         7.             Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
  of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
  Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
  and Reorganized Debtor’s documents, information, and work product relating to the Claimant
  Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall
  reasonably cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their
  prosecution of Causes of Action and in providing the Claimant Trustee and Litigation Trustee
  with copies of documents and information in the Debtor’s possession, custody, or control on the
  Effective Date that either Trustee indicates relates to the Estate Claims or other Causes of
  Action.

         The Debtor and Reorganized Debtor shall preserve all records, documents or work
  product (including all electronic records, documents, or work product) related to the Claims and
  Causes of Action, including Estate Claims, until the earlier of (a) the dissolution of the
  Reorganized Debtor or (b) termination of the Claimant Trust and Litigation Sub-Trust.
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         8.              United States Federal Income Tax Treatment of the Claimant Trust.

          Unless the IRS requires otherwise, for all United States federal income tax purposes, the
  parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a
  transfer of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims
  Reserve, if the Claimant Trustee makes the election described in Section 7 below) directly to the
  applicable Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust
  Beneficiaries to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant
  Trust Interests. Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for
  United States federal income tax purposes as the grantors and owners of their respective share of
  the Claimant Trust Assets. The foregoing treatment shall also apply, to the extent permitted by
  applicable law, for state and local income tax purposes.

         9.              Tax Reporting.

          (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the
  Claimant Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The
  Claimant Trustee may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the
  Disputed Claims Reserve as a disputed ownership fund, in which case the Claimant Trustee will
  file federal income tax returns and pay taxes for the Disputed Claims Reserve as a separate
  taxable entity.

          (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
  Assets, of any taxes imposed on the Claimant Trust or its assets.

          (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust
  Assets as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such
  valuation, and such valuation shall be used consistently for all federal income tax purposes.

         (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
  Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

         10.             Claimant Trust Assets.

          The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
  institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
  Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without
  any further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive
  right, on behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust
  Assets, except as otherwise provided in this Plan or in the Claimant Trust Agreement, without
  any further order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the
  Litigation Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon,
  settle, compromise, release, or withdraw any and all Estate Claims included in the Claimant
  Trust Assets without any further order of the Bankruptcy Court.

         From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3)
  and (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
  representative of the Estate with respect to any and all Claimant Trust Assets, including the
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  Causes of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a)
  commence, pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action
  in any court or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust
  Assets.

         11.             Claimant Trust Expenses.

         From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
  business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
  professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
  professionals retained by such parties and entities from the Claimant Trust Assets, except as
  otherwise provided in the Claimant Trust Agreement.

         12.             Trust Distributions to Claimant Trust Beneficiaries.

          The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant
  Trust Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof,
  provided that such Trust Distributions or use is otherwise permitted under the terms of the Plan,
  the Claimant Trust Agreement, and applicable law.

         13.             Cash Investments.

          With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
  invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
  the terms of the Claimant Trust Agreement; provided, however, that such investments are
  investments permitted to be made by a “liquidating trust” within the meaning of Treasury
  Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines,
  rulings or other controlling authorities.

         14.             Dissolution of the Claimant Trust and Litigation Sub-Trust.

          The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
  dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the
  pursuit of Estate Claims is not likely to yield sufficient additional proceeds to justify further
  pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of
  Action (other than Estate Claims) is not likely to yield sufficient additional proceeds to justify
  further pursuit of such Causes of Action, (c) the Clamant Trustee determines that the pursuit of
  sales of other Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify
  further pursuit of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and
  Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all
  Distributions required to be made by the Claimant Trustee to the Claimant Trust Beneficiaries
  under the Plan have been made, but in no event shall the Claimant Trust be dissolved later than
  three years from the Effective Date unless the Bankruptcy Court, upon motion made within the
  six-month period before such third anniversary (and, in the event of further extension, by order
  of the Bankruptcy Court, upon motion made at least six months before the end of the preceding
  extension), determines that a fixed period extension (not to exceed two years, together with any
  prior extensions, without a favorable letter ruling from the Internal Revenue Service or an
  opinion of counsel that any further extension would not adversely affect the status of the
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  Claimant Trust as a liquidating trust for federal income tax purposes) is necessary to facilitate or
  complete the recovery on, and liquidation of, the Claimant Trust Assets; provided, however, that
  each extension must be approved, upon a finding that the extension is necessary to facilitate or
  complete the recovery on, and liquidation of the Claimant Trust Assets, by the Bankruptcy Court
  within 6 months of the beginning of the extended term and no extension, together with any prior
  extensions, shall exceed three years without a favorable letter ruling from the Internal Revenue
  Service or an opinion of counsel that any further extension would not adversely affect the status
  of the Claimant Trust as a liquidating trust for federal income tax purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
  any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
  will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the
  Holders of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

  C.     The Reorganized Debtor

         1.              Corporate Existence

         The Debtor will continue to exist after the Effective Date, with all of the powers of
  partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
  Limited Partnership Agreement.

         2.              Cancellation of Equity Interests and Release

          On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
  Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
  canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of,
  or based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
  obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s
  formation documents, including the Limited Partnership Agreement.

         3.              Issuance of New Partnership Interests

          On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
  new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
  New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
  the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
  The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
  of the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner,
  and New GP LLC, as general partner, will execute the Reorganized Limited Partnership
  Agreement and receive partnership interests in the Reorganized Debtor consistent with the terms
  of the Reorganized Limited Partnership Agreement.

         4.              Management of the Reorganized Debtor

          Subject to and consistent with the terms of the Reorganized Limited Partnership
  Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
  initial officers and employees of the Reorganized Debtor shall be selected by the Claimant
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  Trustee. The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to
  or in lieu of the retention of officers and employees.

           As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will
  receive a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited
  liability company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New
  GP LLC (and any taxable income attributable to it) will be subject to corporate income taxation
  on a standalone basis, which may reduce the return to Claimants.

         5.              Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided in this Plan or the Confirmation Order, on or after the
  Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
  of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the
  Bankruptcy Code except with respect to such Liens, Claims, charges and other encumbrances
  that are specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
  for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
  the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to
  the Reorganized Debtor Assets.

         6.              Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
  Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall
  include, for the avoidance of doubt, serving as the investment manager of the Managed Funds)
  and may use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any
  Claims with respect to the Reorganized Debtor Assets without supervision or approval by the
  Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The
  Reorganized Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

          Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
  after the Effective Date for Professionals’ fees, disbursements, expenses or related support
  services (including reasonable fees relating to the preparation of Professional fee applications) in
  the ordinary course of business and without application or notice to, or order of, the Bankruptcy
  Court.

         7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                 Reorganized Debtor Assets

          Any proceeds received by the Reorganized Debtor will be distributed to the Claimant
  Trust, as limited partner, and New GP LLC, as general partner, in the manner set forth in the
  Reorganized Limited Partnership Agreement. As set forth in the Reorganized Limited
  Partnership Agreement, the Reorganized Debtor may, from time to time distribute Reorganized
  Debtor Assets to the Claimant Trust either in Cash or in-kind, including to institute the wind-
  down and dissolution of the Reorganized Debtor. Any assets distributed to the Claimant Trust

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  will be (i) deemed transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant
  Trust Assets, and (iii) administered as Claimant Trust Assets.

  D.     Company Action

          Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take
  any and all actions to execute, deliver, File or record such contracts, instruments, releases and
  other agreements or documents and take such actions as may be necessary or appropriate to
  effectuate and implement the provisions of this Plan, the Claimant Trust Agreement, the
  Reorganized Limited Partnership Agreement, or the New GP LLC Documents, as applicable, in
  the name of and on behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable,
  and in each case without further notice to or order of the Bankruptcy Court, act or action under
  applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, officers, or directors of the Debtor or the
  Reorganized Debtor, as applicable, or by any other Person.

          Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
  to this Plan that would otherwise require approval of the stockholders, partners, directors,
  managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
  the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
  after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
  of further action by the stockholders, partners, directors, managers or members of such Persons,
  or the need for any approvals, authorizations, actions or consents of any Person.

          All matters provided for in this Plan involving the legal or corporate structure of the
  Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate
  action required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in
  connection with this Plan, will be deemed to have occurred and will be in full force and effect in
  all respects, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, partners, directors, managers, or members of
  the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person.
  On the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
  applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
  transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
  consents, securities, certificates, resolutions and instruments contemplated by or described in this
  Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
  Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
  Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing
  actions.

  E.     Release of Liens, Claims and Equity Interests

        Except as otherwise provided in the Plan or in any contract, instrument, release or other
  agreement or document entered into or delivered in connection with the Plan, from and after the

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  Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
  Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
  property of the Estate will be fully released, terminated, extinguished and discharged, in each
  case without further notice to or order of the Bankruptcy Court, act or action under applicable
  law, regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any
  Entity holding such Liens or Equity Interests extinguished pursuant to the prior sentence will,
  pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor,
  the Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
  release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
  the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
  doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE
  IV.C.2.

  F.     Cancellation of Notes, Certificates and Instruments

          Except for the purpose of evidencing a right to a distribution under this Plan and except
  as otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities
  and other documents evidencing any prepetition Claim or Equity Interest and any rights of any
  Holder in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The
  holders of or parties to such cancelled instruments, Securities, and other documentation will have
  no rights arising from or related to such instruments, Securities, or other documentation or the
  cancellation thereof, except the rights provided for pursuant to this Plan, and the obligations of
  the Debtor thereunder or in any way related thereto will be fully released, terminated,
  extinguished and discharged, in each case without further notice to or order of the Bankruptcy
  Court, act or action under applicable law, regulation, order, or rule or any requirement of further
  action, vote or other approval or authorization by any Person. For the avoidance of doubt, this
  section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

  G.     Cancellation of Existing Instruments Governing Security Interests

          Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
  promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver
  to the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or
  other property of the Debtor held by such Holder, together with any termination statements,
  instruments of satisfaction, or releases of all security interests with respect to its Allowed Class 1
  or Allowed Class 2 Claim that may be reasonably required to terminate any related financing
  statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or
  documents.

  H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the
  Claimant Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized
  Limited Partnership Agreement, this Plan shall control.




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  I.     Treatment of Vacant Classes

         Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
  Plan shall receive no Plan Distributions.

  J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any
  documents filed with the Plan Supplement, and any amendments, restatements, supplements, or
  other modifications to such documents, and any consents, waivers, or other deviations under or
  from any such documents, shall be incorporated herein by this reference (including to the
  applicable definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

         The Debtor and the Committee are currently working to finalize the forms of certain of
  the Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
  Committee cannot agree as to the form and content of such Plan Documents, they intend to
  submit the issue to non-binding mediation pursuant to the Order Directing Mediation entered on
  August 3, 2020 [D.I. 912].

  K.     Highland Capital Management, L.P. Retirement Plan and Trust

          The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
  single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
  the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
  members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
  1301(a)(13), (14) with respect to the Pension Plan.

           Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
  Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
  Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
  standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
  premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
  in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
  Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
  the Reorganized Debtor and each of its controlled group members will be responsible for the
  liabilities imposed by Title IV of ERISA.

          Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
  Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order,
  or the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
  Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
  responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
  regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
  enforcing such liability or responsibility against any person or entity as a result of any of the
  provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves
  the right to contest any such liability or responsibility.

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                              ARTICLE V.
          TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

  A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired
         Leases

           Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or
  rejected by the Debtor pursuant to a Final Order of the Bankruptcy Court entered prior to the
  Effective Date; (ii) previously expired or terminated pursuant to its own terms or by agreement
  of the parties thereto; (iii) is the subject of a motion to assume filed by the Debtor on or before
  the Confirmation Date; (iv) contains a change of control or similar provision that would be
  triggered by the Chapter 11 Case (unless such provision has been irrevocably waived); or (v) is
  specifically designated as a contract or lease to be assumed in the Plan Supplement, on the
  Effective Date, each Executory Contract and Unexpired Lease shall be deemed rejected pursuant
  to section 365 of the Bankruptcy Code, without the need for any further notice to or action,
  order, or approval of the Bankruptcy Court, unless such Executory Contract or Unexpired Lease
  is listed in the Plan Supplement.

          At any time on or prior to the Effective Date, the Debtor may (i) amend the Plan
  Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
  or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as
  determined by the Debtor in consultation with the Committee, or the Reorganized Debtor, as
  applicable.

          The Confirmation Order will constitute an order of the Bankruptcy Court approving the
  above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
  provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
  Executory Contract or Unexpired Lease shall include all modifications, amendments,
  supplements, restatements, or other agreements related thereto, and all rights related thereto.
  Modifications, amendments, supplements, and restatements to prepetition Executory Contracts
  and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall
  not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
  validity, priority, or amount of any Claims that may arise in connection therewith. To the extent
  applicable, no change of control (or similar provision) will be deemed to occur under any such
  Executory Contract or Unexpired Lease.

           If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
  Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that
  such counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed
  pursuant to the Plan are severable agreements that are not integrated with those Executory
  Contracts and/or Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking
  to contest this finding with respect to their Executory Contracts and/or Unexpired Leases must
  file a timely objection to the Plan on the grounds that their agreements are integrated and not
  severable, and any such dispute shall be resolved by the Bankruptcy Court at the Confirmation
  Hearing (to the extent not resolved by the parties prior to the Confirmation Hearing).



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          Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
  certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
  headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
  accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),
  as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
  Unexpired Nonresidential Real Property Lease [Docket No. 1122].

  B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
  Effective Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
  asserting a Rejection Claim shall File a proof of claim within thirty days of the Effective Date.
  Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
  and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
  objection to any Rejection Claim.

         Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
  accordance with ARTICLE III of this Plan.

  C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
         Leases

          Any monetary amounts by which any Executory Contract or Unexpired Lease to be
  assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
  Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the
  default amount in Cash as and when due in the ordinary course or on such other terms as the
  parties to such Executory Contracts may otherwise agree. The Debtor may serve a notice on the
  Committee and parties to Executory Contracts or Unexpired Leases to be assumed or assigned
  reflecting the Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory
  Contract or Unexpired Lease in connection with this Plan and setting forth the proposed cure
  amount (if any).

         If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
  the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
  performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
  Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
  assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
  Code will be made following the entry of a Final Order or orders resolving the dispute and
  approving the assumption or assignment.

          Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
  Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE
  V.C shall result in the full release and satisfaction of any cure amounts, Claims, or defaults,
  whether monetary or nonmonetary, including defaults of provisions restricting the change in
  control or ownership interest composition or other bankruptcy-related defaults, arising under any
  assumed or assigned Executory Contract or Unexpired Lease at any time prior to the effective
  date of assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts

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  or Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including
  pursuant to the Confirmation Order, and for which any cure amounts have been fully paid
  pursuant to this ARTICLE V.C, shall be deemed disallowed and expunged as of the Effective
  Date without the need for any objection thereto or any further notice to or action, order, or
  approval of the Bankruptcy Court.

                                      ARTICLE VI.
                           PROVISIONS GOVERNING DISTRIBUTIONS

  A.     Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
  practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
  Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity
  Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or
  Equity Interest against the Debtor shall receive the full amount of the distributions that this Plan
  provides for Allowed Claims or Allowed Equity Interests in the applicable Class and in the
  manner provided herein. If any payment or act under this Plan is required to be made or
  performed on a date that is not on a Business Day, then the making of such payment or the
  performance of such act may be completed on the next succeeding Business Day, but shall be
  deemed to have been completed as of the required date. If and to the extent there are Disputed
  Claims or Equity Interests, distributions on account of any such Disputed Claims or Equity
  Interests shall be made pursuant to the provisions provided in this Plan. Except as otherwise
  provided in this Plan, Holders of Claims and Equity Interests shall not be entitled to interest,
  dividends or accruals on the distributions provided for therein, regardless of whether
  distributions are delivered on or at any time after the Effective Date.

          Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be
  deemed fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor,
  or the Claimant Trust will have liability on account of any Claims or Equity Interests except as
  set forth in this Plan and in the Confirmation Order. All payments and all distributions made by
  the Distribution Agent under this Plan shall be in full and final satisfaction, settlement and
  release of all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

          At the close of business on the Distribution Record Date, the transfer ledgers for the
  Claims against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall
  be no further changes in the record holders of such Claims and Equity Interests. The Debtor, the
  Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective
  agents, successors, and assigns shall have no obligation to recognize the transfer of any Claims
  against the Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date
  and shall be entitled instead to recognize and deal for all purposes hereunder with only those
  record holders stated on the transfer ledgers as of the close of business on the Distribution
  Record Date irrespective of the number of distributions to be made under this Plan to such
  Persons or the date of such distributions.




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  B.     Distribution Agent

         Except as provided herein, all distributions under this Plan shall be made by the Claimant
  Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
  Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
  Distribution Agent with respect to Claims in Class 1 through Class 7.

         The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
  Distribution Agent, shall not be required to give any bond or surety or other security for the
  performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
  Court.

         The Distribution Agent shall be empowered to (a) effect all actions and execute all
  agreements, instruments, and other documents necessary to perform its duties under this Plan;
  (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
  respect to its responsibilities; and (d) exercise such other powers as may be vested in the
  Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
  Distribution Agent to be necessary and proper to implement the provisions hereof.

          The Distribution Agent shall not have any obligation to make a particular distribution to a
  specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

  C.     Cash Distributions

         Distributions of Cash may be made by wire transfer from a domestic bank, except that
  Cash payments made to foreign creditors may be made in such funds and by such means as the
  Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

  D.     Disputed Claims Reserve

         On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
  maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts
  on account of any Disputed Claims.

  E.     Distributions from the Disputed Claims Reserve

          The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
  Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
  pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
  becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall
  distribute from the Disputed Claims Reserve to the Holder thereof any prior distributions, in
  Cash, that would have been made to such Allowed Claim if it had been Allowed as of the
  Effective Date. For the avoidance of doubt, each Holder of a Disputed Claim that subsequently
  becomes an Allowed Claim will also receive its Pro Rata share of the Claimant Trust Interests.
  If, upon the resolution of all Disputed Claims any Cash remains in the Disputed Claims Reserve,
  such Cash shall be transferred to the Claimant Trust and be deemed a Claimant Trust Asset.


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  F.     Rounding of Payments

          Whenever this Plan would otherwise call for, with respect to a particular Person, payment
  of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such
  fraction to the nearest whole dollar (up or down), with half dollars being rounded down. To the
  extent that Cash to be distributed under this Plan remains undistributed as a result of the
  aforementioned rounding, such Cash or stock shall be treated as “Unclaimed Property” under this
  Plan.

  G.     De Minimis Distribution

          Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
  the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
  Distributions with a value of less than $100, unless a written request therefor is received by the
  Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
  within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
  Allowed Claim. De minimis distributions for which no such request is timely received shall
  revert to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim
  on account of missed distributions) shall be automatically deemed satisfied, discharged and
  forever barred, notwithstanding any federal or state escheat laws to the contrary.

  H.     Distributions on Account of Allowed Claims

         Except as otherwise agreed by the Holder of a particular Claim or as provided in this
  Plan, all distributions shall be made pursuant to the terms of this Plan and the Confirmation
  Order. Except as otherwise provided in this Plan, distributions to any Holder of an Allowed
  Claim shall, to the extent applicable, be allocated first to the principal amount of any such
  Allowed Claim, as determined for U.S. federal income tax purposes and then, to the extent the
  consideration exceeds such amount, to the remainder of such Claim comprising accrued but
  unpaid interest, if any (but solely to the extent that interest is an allowable portion of such
  Allowed Claim).

  I.     General Distribution Procedures

          The Distribution Agent shall make all distributions of Cash or other property required
  under this Plan, unless this Plan specifically provides otherwise. All Cash and other property
  held by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
  distribution under this Plan shall not be subject to any claim by any Person.

  J.     Address for Delivery of Distributions

          Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
  shall be made (1) at the addresses set forth in any written notices of address change delivered to
  the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed
  by such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3)
  at the addresses in the Debtor’s books and records.


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          If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
  the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
  the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

  K.     Undeliverable Distributions and Unclaimed Property

          If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
  Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such
  Holder, and Distribution Agent shall not have any obligation to make any further distribution to
  the Holder, unless and until the Distribution Agent is notified in writing of such Holder’s then
  current address.

          Any Entity that fails to claim any Cash within six months from the date upon which a
  distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
  and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
  purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
  whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
  any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

  L.     Withholding Taxes

          In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
  with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
  and all distributions made pursuant to this Plan shall be subject to such withholding and
  reporting requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state
  or local withholding taxes from any Cash payments made with respect to Allowed Claims, as
  appropriate. As a condition to receiving any distribution under this Plan, the Distribution Agent
  may require that the Holder of an Allowed Claim entitled to receive a distribution pursuant to
  this Plan provide such Holder’s taxpayer identification number and such other information and
  certification as may be deemed necessary for the Distribution Agent to comply with applicable
  tax reporting and withholding laws. If a Holder fails to comply with such a request within one
  year, such distribution shall be deemed an unclaimed distribution. Any amounts withheld
  pursuant hereto shall be deemed to have been distributed to and received by the applicable
  recipient for all purposes of this Plan.

  M.     Setoffs

          The Distribution Agent may, to the extent permitted under applicable law, set off against
  any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
  Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
  Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed
  Claim that are not otherwise waived, released or compromised in accordance with this Plan;
  provided, however, that neither such a setoff nor the allowance of any Claim hereunder shall
  constitute a waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of
  any such claims, rights and causes of action that the Debtor, the Reorganized Debtor, or
  Claimant Trustee possesses against such Holder. Any Holder of an Allowed Claim subject to


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  such setoff reserves the right to challenge any such setoff in the Bankruptcy Court or any other
  court with jurisdiction with respect to such challenge.

  N.     Surrender of Cancelled Instruments or Securities

         As a condition precedent to receiving any distribution pursuant to this Plan on account of
  an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
  ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
  instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
  negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
  have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.

  O.     Lost, Stolen, Mutilated or Destroyed Securities

          In addition to any requirements under any applicable agreement and applicable law, any
  Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
  mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required
  by this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the
  Distribution Agent of such loss, theft, mutilation, or destruction; and (ii) such security or
  indemnity as may be required by the Distribution Agent to hold such party harmless from any
  damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed
  Claim or Equity Interest. Upon compliance with ARTICLE VI.O of this Plan as determined by
  the Distribution Agent, by a Holder of a Claim evidenced by a security or note, such Holder will,
  for all purposes under this Plan, be deemed to have surrendered such security or note to the
  Distribution Agent.

                                   ARTICLE VII.
                        PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED AND DISPUTED CLAIMS

  A.     Filing of Proofs of Claim

         Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
  unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
  required to file a Proof of Claim on or prior to the Bar Date.

  B.     Disputed Claims

          Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
  applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
  Claim or Disputed Equity Interest or any other appropriate motion or adversary proceeding with
  respect thereto, which shall be litigated to Final Order or, at the discretion of the Reorganized
  Debtor or Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without
  further order of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation
  Order, the Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or
  withdraw any objections to, any Disputed Claim or Disputed Equity Interests following the
  Effective Date without further notice to creditors (other than the Entity holding such Disputed
  Claim or Disputed Equity Interest) or authorization of the Bankruptcy Court, in which event such
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  Claim or Equity Interest shall be deemed to be an Allowed Claim or Equity Interest in the
  amount compromised for purposes of this Plan.

  C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

          No payment or other distribution or treatment shall be made on account of a Disputed
  Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity
  Interest becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim
  or Equity Interest, as applicable, is determined by order of the Bankruptcy Court or by
  stipulation between the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of
  the Claim or Equity Interest.

  D.     Allowance of Claims and Equity Interests

          Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
  Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
  distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

         1.      Allowance of Claims

          After the Effective Date and subject to the other provisions of this Plan, the Reorganized
  Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
  defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
  Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
  the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
  Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
  Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
  entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
  allowing such Claim or Equity Interest.

         2.      Estimation

           Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and
  the Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at
  any time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
  Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
  unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of
  the Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157
  and 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or
  unliquidated Claim, including during the litigation concerning any objection to any Claim or
  Equity Interest or during the pendency of any appeal relating to any such objection. All of the
  aforementioned objection, estimation and resolution procedures are cumulative and not exclusive
  of one another. Claims or Equity Interests may be estimated and subsequently compromised,
  settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court. The rights
  and objections of all parties are reserved in connection with any such estimation proceeding.



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         3.      Disallowance of Claims

          Any Claims or Equity Interests held by Entities from which property is recoverable under
  sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
  avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
  Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and
  holders of such Claims or Interests may not receive any distributions on account of such Claims
  or Interests until such time as such Causes of Action against that Entity have been settled or a
  Bankruptcy Court Order with respect thereto has been entered and all sums due, if any, to the
  Reorganized Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or
  paid to the Reorganized Debtor or the Claimant Trust, as applicable.

       EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
  DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,
  ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
  DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
  WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
  THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
  RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
  LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL
  ORDER.

                                       ARTICLE VIII.
                                  EFFECTIVENESS OF THIS PLAN

  A.     Conditions Precedent to the Effective Date

         The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
  ARTICLE VIII.B of this Plan of the following:

             This Plan and the Plan Documents, including the Claimant Trust Agreement and the
              Reorganized Limited Partnership Agreement, and all schedules, documents,
              supplements and exhibits to this Plan shall have been Filed in form and substance
              reasonably acceptable to the Debtor and the Committee.

             The Confirmation Order shall have been entered, not subject to stay pending appeal,
              and shall be in form and substance reasonably acceptable to the Debtor and the
              Committee. The Confirmation Order shall provide that, among other things, (i) the
              Debtor, the Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee are
              authorized to take all actions necessary or appropriate to effectuate and consummate
              this Plan, including, without limitation, (a) entering into, implementing, effectuating,
              and consummating the contracts, instruments, releases, and other agreements or
              documents created in connection with or described in this Plan, (b) assuming the
              Executory Contracts and Unexpired Leases set forth in the Plan Supplement, (c)
              making all distributions and issuances as required under this Plan; and (d) entering

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             into any transactions as set forth in the Plan Documents; (ii) the provisions of the
             Confirmation Order and this Plan are nonseverable and mutually dependent; (iii) the
             implementation of this Plan in accordance with its terms is authorized; (iv) pursuant
             to section 1146 of the Bankruptcy Code, the delivery of any deed or other instrument
             or transfer order, in furtherance of, or in connection with this Plan, including any
             deeds, bills of sale, or assignments executed in connection with any disposition or
             transfer of Assets contemplated under this Plan, shall not be subject to any Stamp or
             Similar Tax; and (v) the vesting of the Claimant Trust Assets in the Claimant Trust
             and the Reorganized Debtor Assets in the Reorganized Debtor, in each case as of the
             Effective Date free and clear of liens and claims to the fullest extent permissible
             under applicable law pursuant to section 1141(c) of the Bankruptcy Code except with
             respect to such Liens, Claims, charges and other encumbrances that are specifically
             preserved under this Plan upon the Effective Date.

            All documents and agreements necessary to implement this Plan, including without
             limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust
             Agreement, and the New GP LLC Documents, in each case in form and substance
             reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
             for delivery, and (b) been effected by, executed by, or otherwise deemed binding
             upon, all Entities party thereto and shall be in full force and effect. All conditions
             precedent to such documents and agreements shall have been satisfied or waived
             pursuant to the terms of such documents or agreements.

            All authorizations, consents, actions, documents, approvals (including any
             governmental approvals), certificates and agreements necessary to implement this
             Plan, including, without limitation, the Reorganized Limited Partnership Agreement,
             the Claimant Trust Agreement, and the New GP LLC Documents, shall have been
             obtained, effected or executed and delivered to the required parties and, to the extent
             required, filed with the applicable governmental units in accordance with applicable
             laws and any applicable waiting periods shall have expired without any action being
             taken or threatened by any competent authority that would restrain or prevent
             effectiveness or consummation of the Restructuring.

            The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
             determined by the Debtor in good faith.

  B.     Waiver of Conditions

          The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than
  that the Confirmation Order shall have been entered) may be waived in whole or in part by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee), without notice, leave or order of the Bankruptcy Court or any formal action
  other than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a
  condition to the Effective Date may be asserted by the Debtor regardless of the circumstances
  giving rise to the failure of such condition to be satisfied. The failure of the Debtor to exercise
  any of the foregoing rights will not be deemed a waiver of any other rights, and each right will be
  deemed an ongoing right that may be asserted at any time by the Debtor, the Reorganized
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  Debtor, or the Claimant Trust, as applicable.

  C.     Effect of Non-Occurrence of Conditions to Effectiveness

          Unless waived as set forth in ARTICLE VIII.B, if the Effective Date of this Plan does not
  occur within twenty calendar days of entry of the Confirmation Order, the Debtor may withdraw
  this Plan and, if withdrawn, the Plan shall be of no further force or effect.

  D.     Dissolution of the Committee

          On the Effective Date, the Committee will dissolve, and the members of the Committee
  and the Committee’s Professionals will cease to have any role arising from or relating to the
  Chapter 11 Case, except in connection with final fee applications of Professionals for services
  rendered prior to the Effective Date (including the right to object thereto). The Professionals
  retained by the Committee and the members thereof will not be entitled to assert any fee claims
  for any services rendered to the Committee or expenses incurred in the service of the Committee
  after the Effective Date, except for reasonable fees for services rendered, and actual and
  necessary costs incurred, in connection with any applications for allowance of Professional Fees
  pending on the Effective Date or filed and served after the Effective Date pursuant to the Plan.
  Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or Committee’s
  Professionals to represent either of the Trustees or to be compensated or reimbursed per the Plan
  and the Claimant Trust Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

  A.     General

          Notwithstanding anything contained in the Plan to the contrary, the allowance,
  classification and treatment of all Allowed Claims and Equity Interests and their respective
  distributions and treatments under the Plan shall take into account the relative priority and rights
  of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
  equitable subordination rights relating thereto whether arising under general principles of
  equitable subordination, section 510 of the Bankruptcy Code, or otherwise.

  B.     Discharge of Claims

          To the fullest extent provided under section 1141(d)(1)(A) and other applicable
  provisions of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the
  Confirmation Order, all consideration distributed under this Plan will be in exchange for, and in
  complete satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of
  any kind or nature whatsoever against the Debtor or any of its Assets or properties, and
  regardless of whether any property will have been distributed or retained pursuant to this Plan on
  account of such Claims or Equity Interests. Except as otherwise expressly provided by this Plan
  or the Confirmation Order, upon the Effective Date, the Debtor and its Estate will be deemed
  discharged and released under and to the fullest extent provided under section 1141(d)(1)(A) and
  other applicable provisions of the Bankruptcy Code from any and all Claims and Equity Interests
  of any kind or nature whatsoever, including, but not limited to, demands and liabilities that arose
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  before the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or
  502(i) of the Bankruptcy Code.

  C.     Exculpation

          Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
  by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
  exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
  Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in
  connection with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
  negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
  confirmation of, the Plan; (iii) the funding or consummation of the Plan (including the Plan
  Supplement) or any related agreements, instruments, or other documents, the solicitation of votes
  on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be issued
  pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan
  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any
  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);
  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated
  Party arising out of or related to acts or omissions that constitute bad faith, fraud, gross
  negligence, criminal misconduct, or willful misconduct or (b) Strand or any Employee other than
  with respect to actions taken by such Entities from the date of appointment of the Independent
  Directors through the Effective Date. This exculpation shall be in addition to, and not in
  limitation of, all other releases, indemnities, exculpations, any other applicable law or rules, or
  any other provisions of this Plan, including ARTICLE IV.C.2, protecting such Exculpated
  Parties from liability.

  D.     Releases by the Debtor

          On and after the Effective Date, each Released Party is deemed to be, hereby
  conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by
  the Debtor and the Estate, in each case on behalf of themselves and their respective successors,
  assigns, and representatives, including, but not limited to, the Claimant Trust and the Litigation
  Sub-Trust from any and all Causes of Action, including any derivative claims, asserted on behalf
  of the Debtor, whether known or unknown, foreseen or unforeseen, matured or unmatured,
  existing or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtor or the
  Estate would have been legally entitled to assert in their own right (whether individually or
  collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor or other
  Person.

          Notwithstanding anything contained herein to the contrary, the foregoing release does not
  release: (i) any obligations of any party under the Plan or any document, instrument, or
  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee
  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect
  to any confidentiality provisions or covenants restricting competition in favor of the Debtor
  under any employment agreement with a current or former employee of the Debtor, (iv) any
  Avoidance Actions, or (v) any Causes of Action arising from willful misconduct, criminal


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  misconduct, actual fraud, or gross negligence of such applicable Released Party as determined by
  Final Order of the Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
  ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
  Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
  (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
  Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any
  Employee, including a Senior Employee, shall be deemed null and void and of no force and
  effect (1) if there is more than one member of the Claimant Trust Oversight Committee who does
  not represent entities holding a Disputed or Allowed Claim (the “Independent Members”), the
  Claimant Trustee and the Independent Members by majority vote determine or (2) if there is only
  one Independent Member, the Independent Member after discussion with the Claimant Trustee,
  determines (in each case after discussing with the full Claimant Trust Oversight Committee) that
  such Employee (regardless of whether the Employee is then currently employed by the Debtor,
  the Reorganized Debtor, or the Claimant Trustee):

            sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
             attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation
             Sub-Trust, or any of their respective employees or agents, or any Released Party on or
             in connection with any claim or cause of action arising prior to the Effective Date,

            has taken any action that, impairs or harms the value of the Claimant Trust Assets or
             the Reorganized Debtor Assets, or

            (x) upon the request of the Claimant Trustee, has failed to provide reasonable
             assistance in good faith to the Claimant Trustee or the Reorganized Debtor with
             respect to (1) the monetization of the Claimant Trust Assets or Reorganized Debtor
             Assets, as applicable, or (2) the resolution of Claims, or (y) has taken any action that
             impedes or frustrates the Claimant Trustee or the Reorganized Debtor with respect to
             any of the foregoing.

  Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
  Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
  release has not been deemed null and void and of no force and effect on or prior to the date that
  is the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

          By executing the Senior Employee Stipulation embodying this release, each Senior
  Employee acknowledges and agrees, without limitation, to the terms of this release and the
  tolling agreement contained in the Senior Employee Stipulation.

         The provisions of this release and the execution of a Senior Employee Stipulation will not
  in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
  Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought
  against the Employee by a third party, or (iii) assisting other persons in defending themselves
  from any Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims


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  brought by the Litigation Trustee and not collection or other actions brought by the Claimant
  Trustee).

  E.     Preservation of Rights of Action

         1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized
  Debtor or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as
  appropriate, any and all Causes of Action included in the Reorganized Debtor Assets or Claimant
  Trust Assets, as applicable, whether existing as of the Petition Date or thereafter arising, in any
  court or other tribunal including, without limitation, in an adversary proceeding Filed in the
  Chapter 11 Case and, as the successors in interest to the Debtor and the Estate, may, and will
  have the exclusive right to, enforce, sue on, settle, compromise, transfer or assign (or decline to
  do any of the foregoing) any or all of the Causes of Action without notice to or approval from the
  Bankruptcy Court.

         2.      Preservation of All Causes of Action Not Expressly Settled or Released

          Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
  is expressly waived, relinquished, released, compromised or settled in this Plan or any Final
  Order (including, without limitation, the Confirmation Order), such Cause of Action is expressly
  reserved for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable
  (including, without limitation, Causes of Action not specifically identified or of which the
  Debtor may presently be unaware or that may arise or exist by reason of additional facts or
  circumstances unknown to the Debtor at this time or facts or circumstances that may change or
  be different from those the Debtor now believes to exist) and, therefore, no preclusion doctrine,
  including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,
  claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such
  Causes of Action as a consequence of the confirmation, effectiveness, or consummation of this
  Plan based on the Disclosure Statement, this Plan or the Confirmation Order, except where such
  Causes of Action have been expressly released in this Plan or any other Final Order (including,
  without limitation, the Confirmation Order). In addition, the right of the Reorganized Debtor or
  the Claimant Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a
  plaintiff, defendant or an interested party, against any Entity, including, without limitation, the
  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

  F.     Injunction

          Upon entry of the Confirmation Order, all holders of Claims and Equity Interests and
  other parties in interest, along with their respective Related Persons, shall be enjoined from
  taking any actions to interfere with the implementation or consummation of the Plan.

          Except as expressly provided in the Plan, the Confirmation Order, or a separate order of
  the Bankruptcy Court, all Entities who have held, hold, or may hold Claims against or Equity
  Interests in the Debtor (whether proof of such Claims or Equity Interests has been filed or not
  and whether or not such Entities vote in favor of, against or abstain from voting on the Plan or
  are presumed to have accepted or deemed to have rejected the Plan) and other parties in interest,
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  along with their respective Related Persons, are permanently enjoined, on and after the Effective
  Date, with respect to such Claims and Equity Interests, from (i) commencing, conducting, or
  continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
  (including any proceeding in a judicial, arbitral, administrative or other forum) against or
  affecting the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant Trust
  or the property of any of the Debtor, the Independent Directors, the Reorganized Debtor, or the
  Claimant Trust, (ii) enforcing, levying, attaching (including any prejudgment attachment),
  collecting, or otherwise recovering by any manner or means, whether directly or indirectly, any
  judgment, award, decree, or order against the Debtor, the Independent Directors, the
  Reorganized Debtor, or the Claimant Trust or the property of any of the Debtor, the Independent
  Directors, the Reorganized Debtor, or the Claimant Trust, (iii) creating, perfecting, or otherwise
  enforcing in any manner, directly or indirectly, any encumbrance of any kind against the Debtor,
  the Independent Directors, the Reorganized Debtor, or the Claimant Trust or the property of any
  of the Debtor, the Independent Directors, the Reorganized Debtor, or the Claimant Trust, (iv)
  asserting any right of setoff, directly or indirectly, against any obligation due from the Debtor,
  the Independent Directors, the Reorganized Debtor, or the Claimant Trust or against property or
  interests in property of any of the Debtor, the Independent Directors, the Reorganized Debtor, or
  the Claimant Trust; and (v) acting or proceeding in any manner, in any place whatsoever, that
  does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to any successors of the Debtor, the
  Reorganized Debtor, and the Claimant Trust and their respective property and interests in
  property.

          Subject in all respects to ARTICLE XII.D, no Entity may commence or pursue a
  claim or cause of action of any kind against any Protected Party that arose from or is
  related to the Chapter 11 Case, the negotiation of this Plan, the administration of the Plan
  or property to be distributed under the Plan, the wind down of the business of the Debtor
  or Reorganized Debtor, the administration of the Claimant Trust, or the transactions in
  furtherance of the foregoing without the Bankruptcy Court (i) first determining, after
  notice, that such claim or cause of action represents a colorable claim of bad faith, criminal
  misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and
  (ii) specifically authorizing such Entity to bring such claim against any such Protected
  Party; provided, however, the foregoing will not apply to Strand or any Employee other
  than with respect to actions taken by such Entities from the date of appointment of the
  Independent Directors through the Effective Date. As set forth in ARTICLE XI, the
  Bankruptcy Court will have sole jurisdiction to adjudicate any such claim for which
  approval of the Bankruptcy Court to commence or pursue has been granted.

  G.     Term of Injunctions or Stays

          Unless otherwise provided in this Plan, the Confirmation Order, or in a Final Order of the
  Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Case
  under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
  Confirmation Date, shall remain in full force and effect until the later of the Effective Date and
  the date indicated in the order providing for such injunction or stay.

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  H.     Continuance of January 9 Order

          Unless otherwise provided in this Plan, the Confirmation Order, or in a Final Order of the
  Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
  Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
  and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
  January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date until
  the dissolution of each of the Claimant Trust and the Litigation Trust.

                                         ARTICLE X.
                                    BINDING NATURE OF PLAN

          On the Effective Date, and effective as of the Effective Date, the Plan, including, without
  limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all
  Holders of Claims against and Equity Interests in the Debtor and such Holder’s respective
  successors and assigns, to the maximum extent permitted by applicable law, notwithstanding
  whether or not such Holder will receive or retain any property or interest in property under the
  Plan. All Claims and Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also
  bind any taxing authority, recorder of deeds, or similar official for any county, state,
  Governmental Unit or parish in which any instrument related to the Plan or related to any
  transaction contemplated thereby is to be recorded with respect to nay taxes of the kind specified
  in Bankruptcy Code section 1146(a).

                                       ARTICLE XI.
                                  RETENTION OF JURISDICTION

          Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
  of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
  after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
  respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
  and this Plan as legally permissible, including, without limitation, jurisdiction to:

            allow, disallow, determine, liquidate, classify, estimate or establish the priority,
             secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
             without limitation, the resolution of any request for payment of any Administrative
             Expense Claim and the resolution of any and all objections to the allowance or
             priority of any Claim or Equity Interest;

            grant or deny any applications for allowance of compensation or reimbursement of
             expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
             on or before the Effective Date; provided, however, that, from and after the Effective
             Date, the Reorganized Debtor shall pay Professionals in the ordinary course of
             business for any work performed after the Effective Date subject to the terms of this
             Plan and the Confirmation Order, and such payment shall not be subject to the
             approval of the Bankruptcy Court;



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           resolve any matters related to the assumption, assignment or rejection of any
            Executory Contract or Unexpired Lease to which the Debtor is party or with respect
            to which the Debtor, Reorganized Debtor, or Claimant Trust may be liable and to
            adjudicate and, if necessary, liquidate, any Claims arising therefrom, including,
            without limitation, any dispute regarding whether a contract or lease is or was
            executory or expired;

           make any determination with respect to a claim or cause of action against a Protected
            Party as set forth in ARTICLE IX;

           resolve any claim or cause of action against an Exculpated Party or Protected Party
            arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
            administration of the Plan or property to be distributed under the Plan, the wind down
            of the business of the Debtor or Reorganized Debtor, or the transactions in
            furtherance of the foregoing;

           if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any sale, disposition, assignment or other transfer of the Reorganized
            Debtor Assets or Claimant Trust Assets, including any break-up compensation or
            expense reimbursement that may be requested by a purchaser thereof; provided,
            however, that neither the Reorganized Debtor nor the Claimant Trustee shall be
            required to seek such authority or approval from the Bankruptcy Court unless
            otherwise specifically required by this Plan or the Confirmation Order;

           if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any borrowing or the incurrence of indebtedness, whether secured or
            unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek
            such authority or approval from the Bankruptcy Court unless otherwise specifically
            required by this Plan or the Confirmation Order;

           resolve any issues related to any matters adjudicated in the Chapter 11 Case;

           ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
            are accomplished pursuant to the provisions of this Plan;

           decide or resolve any motions, adversary proceedings, contested or litigated matters
            and any other Causes of Action (including Estate Claims) that are pending as of the
            Effective Date or that may be commenced in the future, including approval of any
            settlements, compromises, or other resolutions as may be requested by the Debtor, the
            Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
            Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
            Debtor that may be pending on the Effective Date or instituted by the Reorganized
            Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
            that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
            reserve the right to commence actions in all appropriate forums and jurisdictions;

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            enter such orders as may be necessary or appropriate to implement, effectuate, or
             consummate the provisions of this Plan, the Plan Documents, and all other contracts,
             instruments, releases, and other agreements or documents adopted in connection with
             this Plan, the Plan Documents, or the Disclosure Statement;

            resolve any cases, controversies, suits or disputes that may arise in connection with
             the implementation, effectiveness, consummation, interpretation, or enforcement of
             this Plan or any Entity’s obligations incurred in connection with this Plan;

            issue injunctions and enforce them, enter and implement other orders or take such
             other actions as may be necessary or appropriate to restrain interference by any Entity
             with implementation, effectiveness, consummation, or enforcement of this Plan,
             except as otherwise provided in this Plan;

            enforce the terms and conditions of this Plan and the Confirmation Order;

            resolve any cases, controversies, suits or disputes with respect to the release,
             exculpation, indemnification, and other provisions contained herein and enter such
             orders or take such others actions as may be necessary or appropriate to implement or
             enforce all such releases, injunctions and other provisions;

            enter and implement such orders or take such others actions as may be necessary or
             appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
             vacated;

            resolve any other matters that may arise in connection with or relate to this Plan, the
             Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
             instrument, release, indenture or other agreement or document adopted in connection
             with this Plan or the Disclosure Statement; and

            enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                       ARTICLE XII.
                                  MISCELLANEOUS PROVISIONS

  A.     Payment of Statutory Fees and Filing of Reports

          All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
  and all such fees that become due and payable, after the Effective Date shall be paid by the
  Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
  closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
  the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
  After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
  reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
  Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S.
  Trustee until the earliest of the Debtor’s case being closed, dismissed, or converted to a case
  under chapter 7 of the Bankruptcy Code.

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  B.     Modification of Plan

          Effective as of the date hereof and subject to the limitations and rights contained in this
  Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
  Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order
  with the consent of the Committee, such consent not to be unreasonably withheld; and (b) after
  the entry of the Confirmation Order, the Debtor may, after notice and hearing and entry of an
  order of the Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of
  the Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this
  Plan in such manner as may be necessary to carry out the purpose and intent of this Plan.

  C.     Revocation of Plan

          The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
  Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
  revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null
  and void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
  Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
  executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
  order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall:
  (a) constitute a waiver or release of any Claims by or against, or any Equity Interests in, the
  Debtor or any other Entity; (b) prejudice in any manner the rights of the Debtor or any other
  Entity; or (c) constitute an admission, acknowledgement, offer or undertaking of any sort by the
  Debtor or any other Entity.

  D.     Obligations Not Changed

          Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
  otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
  obligations, including any contractual and indemnification obligations, to the Debtor, the
  Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

  E.     Entire Agreement

         Except as otherwise described herein, this Plan supersedes all previous and
  contemporaneous negotiations, promises, covenants, agreements, understandings, and
  representations on such subjects, all of which have become merged and integrated into this Plan.

  F.     Closing of Chapter 11 Case

         The Claimant Trustee shall, after the Effective Date and promptly after the full
  administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
  Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
  Case.




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  G.     Successors and Assigns

          This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
  and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee.
  The rights, benefits, and obligations of any Person or Entity named or referred to in this Plan
  shall be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor,
  or assign of such Person or Entity.

  H.     Reservation of Rights

           Except as expressly set forth herein, this Plan shall have no force or effect unless and
  until the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither
  the filing of this Plan, any statement or provision contained herein, nor the taking of any action
  by the Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to
  this Plan shall be or shall be deemed to be an admission or waiver of any rights of: (1) the
  Debtor, the Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims
  or Equity Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other
  Entity prior to the Effective Date.

          Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
  schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this
  Plan, will constitute an admission by the Debtor that any such contract or lease is or is not an
  executory contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or
  their respective Affiliates has any liability thereunder.

         Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
  diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
  Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
  contract.

         Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
  responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
  applicable, under any executory or non-executory contract or lease.

           If there is a dispute regarding whether a contract or lease is or was executory at the time
  of its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee,
  as applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute
  to alter their treatment of such contract.

  I.     Further Assurances

          The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders
  of Claims and Equity Interests receiving distributions hereunder, and all other Entities shall,
  from time to time, prepare, execute and deliver any agreements or documents and take any other
  actions as may be necessary or advisable to effectuate the provisions and intent of this Plan or
  the Confirmation Order. On or before the Effective Date, the Debtor shall File with the
  Bankruptcy Court all agreements and other documents that may be necessary or appropriate to
  effectuate and further evidence the terms and conditions hereof.
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  J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
  Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the
  power to alter and interpret such term or provision to make it valid or enforceable to the
  maximum extent practicable, consistent with the original purpose of the term or provision held to
  be invalid, void, or unenforceable, and such term or provision will then be applicable as altered
  or interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of
  the terms and provisions of this Plan will remain in full force and effect and will in no way be
  affected, impaired, or invalidated by such holding, alteration, or interpretation. The
  Confirmation Order will constitute a judicial determination and will provide that each term and
  provision of this Plan, as it may have been altered or interpreted in accordance with the
  foregoing, is valid and enforceable pursuant to its terms.

  K.     Service of Documents

          All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
  Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
  herein, shall be deemed to have been duly given or made when actually delivered addressed as
  follows:

                 If to the Claimant Trust:

                 Highland Claimant Trust
                 c/o Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.

                 If to the Debtor:

                 Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.

                 with copies to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067
                 Telephone: (310) 277-6910
                 Facsimile: (310) 201-0760
                 Attn: Jeffrey N. Pomerantz, Esq.
                        Ira D. Kharasch, Esq.
                        Gregory V. Demo, Esq.


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                 If to the Reorganized Debtor:

                 Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.
                 with copies to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067
                 Attn: Jeffrey N. Pomerantz, Esq.
                        Ira D. Kharasch, Esq.
                        Gregory V. Demo, Esq.

  L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
         Bankruptcy Code

          To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
  Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
  or governmental assessment in the United States, and the Confirmation Order shall direct the
  appropriate federal, state or local governmental officials or agents or taxing authority to forego
  the collection of any such Stamp or Similar Tax or governmental assessment and to accept for
  filing and recordation instruments or other documents pursuant to such transfers of property
  without the payment of any such Stamp or Similar Tax or governmental assessment. Such
  exemption specifically applies, without limitation, to (i) all actions, agreements and documents
  necessary to evidence and implement the provisions of and the distributions to be made under
  this Plan; (ii) the maintenance or creation of security or any Lien as contemplated by this Plan;
  and (iii) assignments, sales, or transfers executed in connection with any transaction occurring
  under this Plan.

  M.     Governing Law

           Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
   law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise,
   the rights and obligations arising under this Plan shall be governed by, and construed and
   enforced in accordance with, the laws of Texas, without giving effect to the principles of
   conflicts of law of such jurisdiction; provided, however, that corporate governance matters
   relating to the Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as
   applicable, shall be governed by the laws of the state of organization of the Debtor, the
   Reorganized Debtor, New GP LLC, or the Claimant Trustee, as applicable.

  N.     Tax Reporting and Compliance

          The Debtor is hereby authorized to request an expedited determination under
  section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
  ending after the Petition Date through, and including, the Effective Date.

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  O.     Exhibits and Schedules

       All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
  Documents, are incorporated and are a part of this Plan as if set forth in full herein.

  P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
  created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
  Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan
  Document, on the one hand, and of the Confirmation Order, on the other hand, shall be construed
  in a manner consistent with each other so as to effectuate the purposes of each; provided,
  however, that if there is determined to be any inconsistency between any provision of this Plan,
  the Disclosure Statement, and any Plan Document, on the one hand, and any provision of the
  Confirmation Order, on the other hand, that cannot be so reconciled, then, solely to the extent of
  such inconsistency, the provisions of the Confirmation Order shall govern, and any such
  provisions of the Confirmation Order shall be deemed a modification of this Plan, the Disclosure
  Statement, and the Plan Documents, as applicable.

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   Dated: November 24, 2020
                                             Respectfully submitted,

                                             HIGHLAND CAPITAL MANAGEMENT, L.P.

                                                By:
                                                  James P. Seery, Jr.
                                                  Chief Executive Officer and Chief
                                                  Restructuring Officer

  Prepared by:

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          ZAnnable@HaywardFirm.com

  Counsel for the Debtor and Debtor-in-Possession




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                                       EXHIBIT B

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                                     EXHIBIT C

                     LIQUIDATION ANALYSIS/FINANCIAL PROJECTIONS




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Highland Capital Management, L.P.
Disclaimer For Financial Projections




  This document includes financial projections for July 2020 through December 2022 (the “Projections”) for Highland Capital Management, L.P.
“Company”). These Projections have been prepared by DSI with input from management at the Company. The historical information utilized in these
Projections has not been audited or reviewed for accuracy by DSI.
  This Memorandum includes certain statements, estimates and forecasts provided by the Company with respect to the Company’s anticipated future
performance. These estimates and forecasts contain significant elements of subjective judgment and analysis that may or may not prove to be accurate
or correct. There can be no assurance that these statements, estimates and forecasts will be attained and actual outcomes and results may differ
materially from what is estimated or forecast herein.
   These Projections should not be regarded as a representation of DSI that the projected results will be achieved.
   Management may update or supplement these Projections in the future, however, DSI expressly disclaims any obligation to update its report.
   These Projections were not prepared with a view toward compliance with published guidelines of the Securities and Exchange Commission or the
American Institute of Certified Public Accountants regarding historical financial statements, projections or forecasts.




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Highland Capital Management, L.P.
Statement of Assumptions




       A.    Plan effective date is January 31 ,2021.
       B.    All investment assets are sold by December 31, 2022.
       C.    All demand notes are collected in the year 2021.
       D.    All notes receivable with maturity dates beyond 12/31/2022 are sold in Q4 2022; in the
               interim interest income and principal payments are collected as they become due.
       E.    Fixed assets used in daily business operations are sold in February 2021.
       F.    Accrual for employee bonuses as of January 2021 are reversed and not paid.
       G.    All Management advisory or shared service contracts are terminated on their terms by the effective date or shortly thereafter
       H.    Post-effective date, the reorganized Debtor would retain three HCMLP employees as contractors to help monetize the remaining assets.
        I.   Litigation Trustee budget is $6,500,000.
       J.    Unrealized gains or losses are not recorded on a monthly basis; all gains or losses are recorded as realized gains or losses upon sale of asset.
       K.    Plan does not provide for payment of interest to Class 8 holders of general unsecured claims, as set forth in the Plan. If holders of general unsecured claims receive 100%
               of their allowed claims, they would then be entitled to receive interest at the federal judgement rate, prior to any funds being available for claims or
               interest of junior priority.
       L.    Plan assumes zero allowed claims for UBS, IFA, the HarbourVest entities (collectively "HV") and Hunter Mountain Investment Trust ("HM").
      M.     Claim amounts listed in Plan vs. Liquidation schedule are subject to change; claim amounts in Class 8 assume $0 for UBS, IFA, HM and HV.
               Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from Debtor assets
       N.    With the exception of Class 2 - Frontier, Classes 1-7 will be paid in full within 30 days of effective date.
       O.    Class 7 payout limited to 85% of each individual creditor claim or in the aggregate $13.15 million. Plan currently projects Class 7 payout of $9.96 million.
       P.    See below for Class 8 estimated payout schedule; payout is subject to certain assets being monetized by payout date:
                             o By September 30, 2021 - $50,000,000
                             o By March 31, 2022 – additional $50,000,000
                             o By June 30, 2022 – additional $25,000,000
                             o All remaining proceeds are assumed to be paid out on or soon after all remaining assets are monetized.




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Highland Capital Management, L.P.
Plan Analysis Vs. Liquidation Analysis
(US $000's)

                                                                                                                             Plan Analysis                Liquidation Analysis
  Estimated cash on hand at 1/31/2020                                                                                 $                   25,076      $                    25,076
  Estimated proceeds from monetization of assets [1][2]                                                                                 190,445                           149,197
  Estimated expenses through final distribution[1][3]                                                                                    (33,642)                         (36,232)
 Total estimated $ available for distribution                                                                                           181,879                           138,042
 Less: Claims paid in full
  Unclassified [4]                                                                                                                        (1,078)                            (1,078)
  Administrative claims [5]                                                                                                              (10,574)                           (10,574)
  Class 1 - Jefferies Secured Claim                                                                                                          -                                  -
  Class 2 - Frontier Secured Claim [6]                                                                                                    (5,463)                            (5,463)
  Class 3 - Other Secured Claims                                                                                                            (551)                              (551)
  Class 4 – Priority Non-Tax Claims                                                                                                          (16)                               (16)
  Class 5 - Retained Employee Claims                                                                                                         -                                  -
  Class 6 - PTO Claims                                                                                                                       -                                  -
  Class 7 – Convenience Claims [7][8][9]                                                                                                 (10,255)                               -
 Subtotal                                                                                                                                (27,937)                           (17,682)
 Estimated amount remaining for distribution to general unsecured claims                                                                 153,942                           120,359
 Class 8 – General Unsecured Claims [8][10]                                                                                              176,049                           192,258
 Subtotal                                                                                                                                176,049                           192,258
 % Distribution to general unsecured claims                                                                                               87.44%                               62.60%
 Estimated amount remaining for distribution                                                                                                  -                                  -
 Class 9 – Subordinated Claims                                                                                              no distribution                  no distribution
 Class 10 – Class B/C Limited Partnership Interests                                                                         no distribution                  no distribution
 Class 11 – Class A Limited Partnership Interest                                                                            no distribution                  no distribution

 Footnotes:
 [1] Assumes chapter 7 Trustee will not be able to achieve same sales proceeds as Claimant Trustee
   Assumes Chapter 7 Trustee engages new professionals to help liquidate assets
 [2] Sale of investment assets, sale of fixed assets, collection of accounts receivable and interest receivable
 [3] Estimated expenses through final distribution exclude non-cash expenses:
   Depreciation of $462 thousand in 2021
 [4] Unclassified claims include payments for priority tax claims and settlements with previously approved by the Bankruptcy Court
 [5] Represents $4.7 million in unpaid professional fees and $4.5 million in timing of payments to vendors
 [6] Debtor will pay all unpaid interest estimated at $253 thousand of Frontier on effective date and continue to pay interest quarterly at 5.25% until Frontier's collateral is sold
 [7] Claims payout limited to 85% of each individual creditor claim or limited to a total class payout of $13.15 million
 [8] Class 7 includes $1.1 million estimate for aggregate contract rejections damage and Class 8 includes $1.4 million for contract rejection damages
 [9] Assumes 3 claimants with allowed claims less than $2.5 million opt into Class 7 along with claims of Senior Employees
 [10] Class estimates $0 allowed claim for the following creditors: IFA, HV, HM and UBS; assumes RCP claims offset against HCMLP interest in RCP fund
 Notes:
 All claim amounts are estimated as of November 20, 2020 and subject to change


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Highland Capital Management, L.P.
Balance Sheet
(US $000's)

                                                                        4            7                10                14            17                20                23                27                30                33                36
                                                               Actual       Actual       Forecast --->
                                                               Jun-20       Sep-20           Dec-20            Mar-21        Jun-21            Sep-21            Dec-21            Mar-22            Jun-22            Sep-22            Dec-22
 Assets
   Cash and Cash Equivalents                               $     14,994 $      5,888 $           28,342    $      4,934 $      96,913 $          90,428 $         106,803      $     52,322 $          23,641 $          21,344 $             -
   Other Current Assets                                          13,182       13,651             10,559           9,629         7,746             7,329             5,396             6,054             6,723             7,406               -
   Investment Assets                                            320,912      305,961           261,333          258,042       133,026            81,793            54,159            54,159            54,159            54,159               -
   Net Fixed Assets                                               3,055        2,823              2,592           1,348           -                 -                 -                 -                 -                 -                 -
 TOTAL ASSETS                                              $    352,142 $    328,323 $         302,826     $    273,952 $     237,684 $         179,550 $         166,358      $    112,535 $          84,523 $          82,910 $             -

 Liabilities
   Post-petition Liabilities                               $     26,226 $     19,138 $           19,280    $      2,891 $         -        $        -        $        -        $        -        $        -        $        -        $        -
   Pre-petition Liabilities                                     126,365      126,343           121,950              -             -                 -                 -                 -                 -                 -                 -
   Claims
     Unclassified                                                   -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 1 – Jefferies Secured Claim                              -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 2 - Frontier Secured Claim                               -            -                  -             5,210           -                 -                 -                 -                 -                 -                 -
     Class 3 - Other Secured Claims                                 -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 4 – Priority Non-Tax Claims                              -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 5 – Retained Employee Claims                             -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 6 - PTO Claims                                           -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 7 – Convenience Claims                                   -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 8 – General Unsecured Claims                             -            -                  -           176,049       176,049           126,049           126,049            76,049            51,049            51,049            22,107
     Class 9 – Subordinated Claims                                  -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 10 – Class B/C Limited Partnership Interests             -            -                  -               -             -                 -                 -                 -                 -                 -                 -
     Class 11 – Class A Limited Partnership Interests               -            -                  -               -             -                 -                 -                 -                 -                 -                 -
   Claim Payable                                                126,365      126,343           121,950          181,259       176,049           126,049           126,049            76,049            51,049            51,049            22,107
 TOTAL LIABILITIES                                         $    152,591      145,481           141,230          184,150       176,049           126,049           126,049            76,049            51,049            51,049            22,107

 Partners' Capital                                              199,551      182,842           161,596           89,802        61,635            53,501            40,309            36,486            33,473            31,860           (22,107)
 TOTAL LIABILITIES AND PARTNERS' CAPITAL                   $    352,142 $    328,323 $         302,826     $    273,952 $     237,684 $         179,550 $         166,358      $    112,535 $          84,523 $          82,910 $             -




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Highland Capital Management, L.P.
Profit/Loss
(US $000's)


                                                                                               Actual          Actual         Forecast --->
                                                                                          Jan 2020 to June 3 month ended    3 month ended                     3 month ended    3 month ended    3 month ended    3 month ended
                                                                                             2020 Total      Sept 2020         Dec 2020        Total 2020        Mar 2021         Jun 2021        Sept 2021         Dec 2021          Total 2021
 Revenue
  Management Fees                                                                         $        6,572 $         1,949 $           2,651     $   11,173     $         779 $            -      $         -      $         -      $            779
  Shared Service Fees                                                                              7,672           3,765             3,788         15,225             1,263              -                -                -                 1,263
  Other Income                                                                                     3,126             538               340          4,004               113              -                -                -                   113
 Total revenue                                                                            $       17,370 $         6,252 $           6,779     $   30,401     $       2,154 $            -      $         -      $         -      $          2,154

 Operating Expenses [1]                                                                           13,328           9,171             9,079         31,579             8,428            1,646            1,807            2,655              14,536

 Income/(loss) From Operations                                                            $        4,042 $        (2,918) $          (2,301)   $    (1,177)   $      (6,274) $        (1,646) $        (1,807) $        (2,655)   $        (12,381)

 Professional Fees                                                                                17,522           7,707             7,741         32,971             5,450            5,058            2,048            1,605              14,160

 Other Income/(Expenses) [2]                                                                       2,302           1,518             1,057          4,878           (59,016)            573              423              423              (57,598)

 Operating Gain/(Loss)                                                                    $      (11,178) $       (9,107) $          (8,985)   $   (29,270)   $     (70,741) $        (6,130) $        (3,432) $        (3,837)   $        (84,139)

 Realized and Unrealized Gain/(Loss)
  Other Realized Gains/(Loss)                                                                        -               -                 -               -               (763)             522              -                -                  (241)
  Net Realized Gain/(Loss) on Sale of Investment                                                 (28,418)          1,549           (12,167)        (39,036)            (290)              19           (4,702)          (8,006)            (12,979)
  Net Change in Unrealized Gain/(Loss) of Investments                                            (29,929)         (7,450)              -           (37,380)             -                -                -                -                   -
  Net Realized Gain /(Loss) from Equity Method Investees                                             -               -                 (94)            (94)             -            (22,578)             -             (1,349)            (23,927)
  Net Change in Unrealized Gain /(Loss) from Equity Method Investees                             (80,782)         (1,700)              -           (82,482)             -                -                -                -                   -
 Total Realized and Unrealized Gain/(Loss)                                                $     (139,129) $       (7,601) $        (12,262)    $ (158,992)    $      (1,053) $       (22,037) $        (4,702) $        (9,355)   $        (37,147)

 Net Income                                                                               $     (150,307) $      (16,708) $        (21,247)    $ (188,262)    $     (71,794) $       (28,167) $        (8,134) $       (13,192)   $       (121,287)

 Footnotes:
 [1] Operating expenses include an adjustment in January 2021 to account
    for expenses that have not been accrued or paid prior to effective date.
 [2] Other income and expenses of $61.2 million in January 2021 includes:
   [a] $77.7 million was expensed to record for the increase of
     allowed claims.
   [b] Income of $15.8 million for the accrued, but unpaid payroll liability related to
      the Debtor's deferred bonus programs amount written-off.




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Highland Capital Management, L.P.
Profit/Loss
(US $000's)


                                                                                      Forecast --->
                                                                                    3 month ended     3 month ended   3 month ended   3 month ended
                                                                                       Mar 2022          Jun 2022       Sept 2022        Dec 2022          Total 2022          Plan
 Revenue
  Management Fees                                                                   $           -     $         -     $         -     $         -      $            -      $            779
  Shared Service Fees                                                                           -               -               -               -                   -                 1,263
  Other Income                                                                                  -               -               -               -                   -                   113
 Total revenue                                                                      $           -     $         -     $         -     $         -      $            -      $          2,154

 Operating Expenses                                                                          1,443             643             758            1,088               3,932          18,468

 Income/(loss) From Operations                                                      $        (1,443) $         (643) $         (758) $       (1,088)   $         (3,932)   $     (16,314)

 Professional Fees                                                                           2,788            2,788           1,288           1,288               8,153          22,313

 Other Income/(Expenses)                                                                       408             419             434             184                1,444          (56,154)

 Operating Gain/(Loss)                                                              $        (3,823) $       (3,013) $       (1,613) $       (2,193)   $        (10,641)   $     (94,780)

 Realized and Unrealized Gain/(Loss)
  Other Realized Gains/(Loss)                                                                   -               -               -           (51,775)            (51,775)         (52,016)
  Net Realized Gain/(Loss) on Sale of Investment                                                -               -               -               -                   -            (12,979)
  Net Change in Unrealized Gain/(Loss) of Investments                                           -               -               -               -                   -                -
  Net Realized Gain /(Loss) from Equity Method Investees                                        -               -               -               -                   -            (23,927)
  Net Change in Unrealized Gain /(Loss) from Equity Method Investees                            -               -               -               -                   -                -
 Total Realized and Unrealized Gain/(Loss)                                          $           -     $         -     $         -     $     (51,775)   $        (51,775)   $     (88,922)

 Net Income                                                                         $        (3,823) $       (3,013) $       (1,613) $      (53,967)   $        (62,415)   $    (183,702)




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Highland Capital Management, L.P.
Cash Flow Indirect
(US $000's)


                                                             Forecast ---->
                                                                 Sep-20       Dec-20         Mar-21      Jun-21       Sep-21       Dec-21          Mar-22       Jun-22       Sep-22       Dec-22
 Net (Loss) Income                                            $    (16,708) $   (21,247)   $  (71,794) $   (28,167) $    (8,134) $   (13,192)    $    (3,823) $    (3,013) $    (1,613) $   (53,967)
 Cash Flow from Operating Activity
 (Increase) / Decrease in Cash
   Depreciation and amortization                                      231           231             231          231        -            -               -            -            -             -
   Other realized (gain)/ loss                                        -             -               763         (522)       -            -               -            -            -          51,775
   Investment realized (gain)/ loss                                (1,549)       12,262             290       22,559      4,702        9,355             -            -            -             -
   Unrealized (gain) / loss                                        (9,150)          -               -            -          -            -               -            -            -             -
   (Increase) Decrease in Current Assets                             (470)        3,092             930        1,884        417        1,933            (658)        (669)        (684)        2,010
   Increase (Decrease) in Current Liabilities                      (7,110)       (4,251)        (54,172)      (2,891)       -            -               -            -            -             -
 Net Cash Increase / (Decrease) - Operating Activities            (34,757)       (9,913)       (123,752)      (6,907)     (3,015)      (1,904)        (4,481)      (3,681)      (2,297)         (182)

 Cash Flow From Investing Activities
  Proceeds from Sale of Fixed Assets                                  -             -               250        1,639        -            -               -            -            -             -
  Proceeds from Investment Assets                                  25,650        32,366           3,002      102,457     46,531       18,278             -            -            -           7,780
 Net Cash Increase / (Decrease) - Investing Activities             25,650        32,366           3,252      104,096     46,531       18,278             -            -            -           7,780


 Cash Flow from Financing Activities
  Claims payable                                                      -             -          (73,997)          -           -            -              -            -            -             -
  Claim reclasses/(paid)                                              -             -          181,259        (5,210)    (50,000)         -          (50,000)     (25,000)         -         (28,942)
  Maple Avenue Holdings                                               -             -           (4,975)          -           -            -              -            -            -             -
  Frontier Note                                                       -             -           (5,195)          -           -            -              -            -            -             -
 Net Cash Increase / (Decrease) - Financing Activities                -             -           97,092        (5,210)    (50,000)         -          (50,000)     (25,000)         -         (28,942)

 Net Change in Cash                                           $    (9,107) $     22,454    $    (23,408) $    91,979 $   (6,484) $    16,374     $   (54,481) $   (28,681) $    (2,297) $    (21,344)
 Beginning Cash                                                    14,994         5,888          28,342        4,934     96,913       90,428         106,803       52,322       23,641        21,344
 Ending Cash                                                  $     5,887 $      28,342    $      4,934 $     96,913 $   90,428 $    106,803     $    52,322 $     23,641 $     21,344 $         -




                                                                                                                                                                                            11/13/2020
